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                               Case No. 24-6943

                   UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT
            ____________________________________________________
                         GEORGE JARVIS AUSTIN,

                    Plaintiff/Appellant (Admitted Student)

                                         v.

              GEORGETOWN UNIVERSITY, et. al. Defendants.

               (Federal Tax Identification Number: XX-XXXXXXX)
               ____________________________________________________

            On Appeal from the United States District Court for the
    Northern District of California: Case No. 4:24-cv-00260-CRB (DMR)
     Charles R. Bryer, Judge,(Donna M. Ryu, recused Magistrate Judge)
​       ​     _____________________________________________________

       MR. AUSTIN’S (APPELLANT’S) EXCERPTS OF RECORD
                        VOLUME 6 of 9
              ______________________________________________________


    Mr. George Jarvis Austin,
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3. This excerpt most directly reflected a growing belief that

a. the goals of Reconstruction remained unfulfilled
b. Progressive Era reforms benefited American cities
c. the challenges of the Cold War could be met with conventional weapons
d. internal migration resulting from World War II necessitated desegregation


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Period Era                 1940s, World War II
Topic                      African American History,
                           Military, War




Related Content




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Lifestyles & Social Issues keyboard_arrow_right Sociology & Society


propaganda

 Ask the Chatbot a Question                         more_vert More Actions
Written by Bruce Lannes Smith
Fact-checked by The Editors of Encyclopaedia Britannica
Last Updated: Feb 21, 2025 • Article History




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   When was propaganda first used?
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   Where is propaganda used?
                                                                             expand_more      agitprop • canard • big lie • reactor

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propaganda, dissemination of information—
facts, arguments, rumours, half-truths, or lies
—to influence public opinion. It is often
conveyed through mass media.                                                                                      play_arrow

Propaganda is the more or less systematic
effort to manipulate other people’s beliefs,
                                                                                           Know about fake news propaganda and
attitudes, or actions by means of symbols                                                  how to sort fake news from the real Fake
                                                                                           news: learn what it is and how to cope...(more)
                                                                                                                                  with…
(words, gestures, banners, monuments, music,
                                                                                           See all videos for this article
clothing, insignia, hairstyles, designs on coins
and postage stamps, and so forth).
Deliberateness and a relatively heavy emphasis on manipulation distinguish
propaganda from casual conversation or the free and easy exchange of ideas.
Propagandists have a specified goal or set of goals. To achieve these, they deliberately
select facts, arguments, and displays of symbols and present them in ways they think
will have the most effect. To maximize effect, they may omit or distort pertinent facts


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or simply lie, and they may try to divert the attention of the reactors (the people they
are trying to sway) from everything but their own propaganda.

Comparatively deliberate selectivity and manipulation also distinguish propaganda
from education. Educators try to present various sides of an issue—the grounds for
doubting as well as the grounds for believing the statements they make, and the
disadvantages as well as the advantages of every conceivable course of action.
Education aims to induce reactors to collect and evaluate evidence for themselves and
assists them in learning the techniques for doing so. It must be noted, however, that
some propagandists may look upon themselves as educators and may believe that
they are uttering the purest truth, that they are emphasizing or distorting certain
aspects of the truth only to make a valid message more persuasive, or that the courses
of action that they recommend are in fact the best actions that the reactor could take.
By the same token, the reactor who regards the propagandist’s message as self-
evident truth may think of it as educational; this often seems to be the case with “true
believers”—dogmatic reactors to dogmatic religious, social, or political propaganda.
“Education” for one person may be “propaganda” for another.


Propaganda and related concepts
Connotations of the term propaganda
The word propaganda itself, as used in recent centuries, apparently derives from the
title and work of the Congregatio de Propaganda Fide (Congregation for Propagation
of the Faith), an organization of Roman Catholic cardinals founded in 1622 to carry
on missionary work. To many Roman Catholics the word may therefore have, at least
in missionary or ecclesiastical terms, a highly respectable connotation. But even to
these persons, and certainly to many others, the term is often a pejorative one tending
to connote such things as the discredited atrocity stories and deceptively stated war
aims of World Wars I and II, the operations of the Nazis’ Ministry of Public
Enlightenment and Propaganda, and the broken campaign promises of a thousand
politicians. Also, it is reminiscent of countless instances of false and misleading
advertising (especially in countries using Latin languages, in which propagande
commerciale or some equivalent is a common term for commercial advertising).


                                                                                      zoom_in
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To informed students of the history of                                                      zoom_in
communism, the term propaganda has yet
another connotation, associated with the term
agitation. The two terms were first used by
the Russian theorist of Marxism Georgy
Plekhanov and later elaborated upon by
Vladimir Ilich Lenin in a pamphlet What Is to
Be Done? (1902), in which he defined
“propaganda” as the reasoned use of historical
and scientific arguments to indoctrinate the
educated and enlightened (the attentive and
informed publics, in the language of today’s
social sciences); he defined “agitation” as the
use of slogans, parables, and half-truths to
                                                     Vladimir Lenin Vladimir Lenin, 1918.
exploit the grievances of the uneducated and
the unreasonable. Since he regarded both
strategies as absolutely essential to political victory, he combined them in the term
agitprop. Every unit of historical communist parties had an agitprop section, and to
the communist the use of propaganda in Lenin’s sense was commendable and honest.
Thus, a standard Soviet manual for teachers of social sciences was entitled
Propagandistu politekonomii (For the Propagandist of Political Economy), and a
pocket-sized booklet issued weekly to suggest timely slogans and brief arguments to
be used in speeches and conversations among the masses was called Bloknot
agitatora (The Agitator’s Notebook).


Related terms

Related to the general sense of propaganda is the concept of “propaganda of the
deed.” This denotes taking nonsymbolic action (such as economic or coercive action),
not for its direct effects but for its possible propagandistic effects. Examples of
propaganda of the deed would include staging an atomic “test” or the public torture of
a criminal for its presumable deterrent effect on others, or giving foreign “economic
aid” primarily to influence the recipient’s opinions or actions and without much
intention of building up the recipient’s economy.

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Distinctions are sometimes made between overt propaganda, in which the
propagandists and perhaps their backers are made known to the reactors, and covert
propaganda, in which the sources are secret or disguised. Covert propaganda might
include such things as political advertisements that are unsigned or signed with false
names, clandestine radio stations using false names, and statements by editors,
politicians, or others who have been secretly bribed by governments, political
backers, or business firms. Sophisticated diplomatic negotiation, legal argument,
collective bargaining, commercial advertising, and political campaigns are of course
quite likely to include considerable amounts of both overt and covert propaganda,
accompanied by propaganda of the deed.


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Another term related to propaganda is psychological warfare (sometimes
abbreviated to psychwar), which is the prewar or wartime use of propaganda directed
primarily at confusing or demoralizing enemy populations or troops, putting them off
guard in the face of coming attacks, or inducing them to surrender. The related
concept of political warfare encompasses the use of propaganda, among many other
techniques, during peacetime to intensify social and political divisions and to sow
confusion within the societies of adversary states.

Still another related concept is that of brainwashing. The term usually means
intensive political indoctrination. It may involve long political lectures or discussions,
long compulsory reading assignments, and so forth, sometimes in conjunction with
efforts to reduce the reactor’s resistance by exhausting him either physically through
torture, overwork, or denial of sleep or psychologically through solitary confinement,
threats, emotionally disturbing confrontations with interrogators or defected
comrades, humiliation in front of fellow citizens, and the like. The term
brainwashing was widely used in sensational journalism to refer to such activities
(and to many other activities) as they were allegedly conducted by Maoists in China
and elsewhere.
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Another related word, advertising, has mainly commercial connotations, though it
need not be restricted to this; political candidates, party programs, and positions on
political issues may be “packaged” and “marketed” by advertising firms. The words
promotion and public relations have wider, vaguer connotations and are often used
to avoid the implications of “advertising” or “propaganda.” “Publicity” and
“publicism” often imply merely making a subject known to a public, without
educational, propagandistic, or commercial intent.


Signs, symbols, and media used in contemporary propaganda
Contemporary propagandists with money and imagination can use a very wide range
of signs, symbols, and media to convey their messages. Signs are simply stimuli
—“information bits” capable of stimulating, in some way, the human organism. These
include sounds, such as words, music, or a 21-gun salvo; gestures (a military salute, a
thumbed nose); postures (a weary slump, folded arms, a sit-down, an aristocratic
bearing); structures (a monument, a building); items of clothing (a uniform, a civilian
suit); visual signs (a poster, a flag, a picket sign, a badge, a printed page, a
commemorative postage stamp, a swastika scrawled on a wall); and so on and on.

A symbol is a sign having a particular meaning for a given reactor. Two or more
reactors may of course attach quite different meanings to the same symbol. Thus, to
Nazis the swastika was a symbol of racial superiority and the crushing military might
of the German Volk; to some Asiatic and North American peoples it is a symbol of
universal peace and happiness. Some Christians who find a cross reassuring may find
a hammer and sickle displeasing and may derive no religious satisfaction at all from a
Muslim crescent, a Hindu cow, or a Buddhist lotus.

The contemporary propagandist can employ elaborate social-scientific research
facilities, unknown in previous epochs, to conduct opinion surveys and psychological
interviews in efforts to learn the symbolic meanings of given signs for given reactors
around the world and to discover what signs leave given reactors indifferent because,
to them, these signs are without meaning.

Media are the means—the channels—used to convey signs and symbols to the
intended reactor or reactors. A comprehensive inventory of media used in 20th- and

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21st-century propaganda could cover many pages. Electronic media include e-mail,
blogs, Web- or application (app)-based social networking platforms such as Facebook
and Twitter, and electronic versions of originally printed media such as newspapers,
magazines, and books. Printed media include, in addition to those just mentioned,
letters, handbills, posters, billboards, and handwriting on walls and streets. Among
audiovisual media, the Internet and television may be the most powerful for many
purposes. Both can convey a great many types of signs simultaneously; they can gain
heavy impact from mutually reinforcing gestures, words, postures, and sounds and a
background of symbolically significant leaders, celebrities, historic settings,
architectures, flags, music, placards, maps, uniforms, insignia, cheering or jeering
mobs or studio audiences, and staged assemblies of prestigious or powerful people.
Other audiovisual media include public speakers, movies, theatrical productions,
marching bands, mass demonstrations, picketing, face-to-face conversations between
individuals, and “talking” exhibits at fairs, expositions, and art shows.

The larger the propaganda enterprise, the more important are such mass media as
the Internet and television and also the organizational media—that is, pressure
groups set up under leaders and technicians who are skilled in using many sorts of
signs and media to convey messages to particular reactors. Vast systems of diverse
organizations can be established in the hope of reaching leaders and followers of all
groups (organized and unorganized) in a given area, such as a city, region, nation or
coalition of nations, or the entire world. Pressure organizations are especially
necessary, for example, in closely fought sales campaigns or political elections,
especially in socially heterogeneous areas that have extremely divergent regional
traditions, ethnic and linguistic backgrounds, and educational levels and very
unequal income distributions. Diversities of these sorts make it necessary for
products to be marketed in local terms and for political candidates to appear to be
friends of each of perhaps a dozen or more mutually hostile ethnic groups, of the
educated and the uneducated, and of the very wealthy as well as the poverty-stricken.


Evolution of the theory of propaganda
Early commentators and theories


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The archaeological remains of ancient civilizations indicate that dazzling clothing and
palaces, impressive statues and temples, magic tokens and insignia, and elaborate
legal and religious arguments have been used for thousands of years, presumably to
convince the common people of the purported greatness and supernatural prowess of
kings and priests. Instructive legends and parables, easily memorized proverbs and
lists of commandments—such as the Ten Commandments of Judaism and
Christianity and the Hindu Manu-smriti (Laws of Manu)—and highly selective
chronicles of rulers’ achievements have been used to enlist mass support for
particular social and religious systems. Very probably, much of what was said in
antiquity was sincere, in the sense that the underlying religious and social
assumptions were so fully accepted that the warlords’ spokespersons, the pharaohs’
priests, and their audiences believed all or most of what was communicated and
hence did not deliberate or theorize very much about alternative arguments or means
of persuasion.

The systematic, detached, and deliberate analysis of propaganda—in the West, at
least—may have begun in Athens about 500 BCE, as the study of rhetoric (Greek: “the
technique of orators”). The tricks of using sonorous and solemn language, carefully
gauged humour, artful congeniality, appropriate mixtures of logical and illogical
argument, and flattery of a jury or a mob were formulated from the actual practices of
successful lawyers, demagogues, and politicians. Relatively ethical teachers such as
Isocrates, Plato, and Aristotle compiled rules of rhetoric (1) to make their own
arguments and those of their students more persuasive and (2) to design
counterpropaganda against opponents and also (3) to teach their students how to
detect the logical fallacies and emotional appeals of demagogues.

Early students of rhetoric also examined what contemporary analysts would call the
problem of source credibility—what speakers can say or do to convince their hearers
that they are telling the truth, are well-intentioned, are public-spirited, and so forth.
For example, an Athenian lawyer defending an undersized man on trial for murder
might instruct him to say to a jury: “Is it likely that an undersized man like me, so
often ridiculed for being clumsy with a sword, would have attacked and killed this
very tall war veteran who is famous everywhere for his swordsmanship?” But a tall
and strong defendant might be told to invert the plea: “Would any man of my unusual

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height, who is rather well known to have slain 300 Persians in sword fights, have
allowed himself to be drawn into a quarrel with this puny man—knowing full well that
a jury of reasonable Athenians would be inclined from the start to hold me guilty if
someone killed him?” So well did Greek rhetoricians analyze the arts of legal
sophistry and political demagoguery that their efforts were imitated and further
developed in Rome by such figures as Cicero and Quintilian. Aristotle’s Rhetoric and
similar works by others have, indeed, served as model texts for Western scholars and
students from antiquity to the present day.

There have been similar lines of thought in other major civilizations. The Buddha in
ancient India and Confucius in ancient China, both advocated, much as Plato had, the
use of truthfulness, “good” rhetoric, and “proper” forms of speech and writing as
means of persuading people, by both precept and example, to live the good life. In the
4th century BCE in India, Kautilya, a Brahman believed to have been chief minister to
the emperor Chandragupta, reputedly wrote the Artha-shastra (“The Science of
Material Gain”), a book of advice for rulers that has often been compared with Plato’s
Republic and Niccolò Machiavelli’s much later work The Prince (1513). Kautilya
discussed, in some detail, the use of psychological warfare, both overt and
clandestine, in efforts to disrupt an enemy’s army and capture his capital. Overtly, he
said, the propagandists of a king should proclaim that he can do magic, that God and
the wisest men are on his side, and that all who support his war aims will reap
benefits. Covertly, his agents should infiltrate his enemies’ and potential enemies’
kingdoms, spreading defeatism and misleading news among their people, especially
in capital cities, among leaders, and among the armed forces. In particular, a king
should employ only Brahmans, unquestionably the holiest and wisest of men, as
propagandists and diplomatic negotiators. These morally irreproachable experts
should cultivate the goodwill of their king’s friends, and of friends of his friends, and
also should woo the enemies of his enemies. A king should not hesitate, however, to
break any friendships or alliances that are later found to be disadvantageous.

Similar advice is found in Bingfa (The Art of War) by the Chinese theorist Sunzi, who
wrote at about the same time. “All warfare,” he said, “is based on deception. Hence,
when able to attack, we must seem unable; when using our forces, we must seem
inactive; when we are near, we must make the enemy believe that we are far away;

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when far away, we must make him believe we are near. Hold out baits to entice the
enemy. Feign disorder, and crush him.”

The spread of all complex political systems and religions probably has been very
largely due to a combination of earnest conviction and the deliberate use of
propaganda. This mixture can be detected in the recasting in various times and places
of the legends of the messiah in Christianity and Judaism, of heroes of the Hindu
Mahabharata, of the Buddha, of the ancestral Japanese sun goddess, of the lives of
Muhammad and his relatives, of the Christian saints, of such Marxist heroes as Karl
Marx, Friedrich Engels, Vladimir Ilich Lenin, and Joseph Stalin, and even in the story
of George Washington and the cherry tree.

Scattered and sometimes enlightening comment on political and religious
propaganda has occurred in all major civilizations. In ancient Greece and Rome there
was much writing on election tactics. In 16th-century Italy, Machiavelli discussed,
very much like Kautilya and Sunzi, the uses of calculated piety and duplicity in peace
and war. In Shakespeare’s plays, Mark Antony (in Julius Caesar) and the Duke of
Buckingham (Richard III) display the principles of propaganda and discuss them in
words and concepts that anticipate 20th-century behavioral scientists. They refer to
such propaganda stratagems as the seizure and monopolization of propaganda
initiatives, the displacement of guilt onto others (scapegoating), the presentation of
oneself as morally superior, and theLoad Next Page
                                     coordination  keyboard_arrow_down
                                                           of propaganda with violence and
bribery.




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TRAUMA AND THE LEGACY OF LYNCHING
                                 INTRODUCTION




        LYNCHING IN
        AMERICA:
        CONFRONTING
        THE LEGACY OF
        RACIAL TERROR
        THIRD EDITION




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  INTRODUCTION

  Men and boys pose beneath the body of Lige Daniels, a Black man, shortly after he was lynched on
  August 3, 1920, in Center, Texas. James Allen, ed., et al., Without Sanctuary: Lynching Photography
  in America (Santa Fe, NM: Twin Palms Publishers, 2000), 117-118.




  History, despite its wrenching
  pain,
  Cannot be unlived, but if faced
  With courage, need not be lived
  again.


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           MAYA ANGELOU, ON THE PULSE OF MORNING
                                     INTRODUCTION




           During the period between the Civil War and
           World War II, thousands of African Americans
           were lynched in the United States. Lynchings
           were violent and public acts of torture that
           traumatized Black people throughout the country
           and were largely tolerated by state and federal
           officials. These lynchings were terrorism. “Terror
           lynchings” peaked between 1880 and 1940 and
           claimed the lives of African American men,
           women, and children who were forced to endure
           the fear, humiliation, and barbarity of this
           widespread phenomenon unaided.




Lynching profoundly impacted race relations in this country and shaped the geographic,
political, social, and economic conditions of African Americans in ways that are still
evident today. Terror lynchings fueled the mass migration of millions of Black people
from the South into urban ghettos in the North and West throughout the first half of
the twentieth century. Lynching created a fearful environment where racial
subordination and segregation was maintained with limited resistance for decades.
Most critically, lynching reinforced a legacy of racial inequality that has never been

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adequately addressed in America. The administration of criminal justice in particular is
                                     INTRODUCTION
tangled with the history of lynching in profound and important ways that continue to
contaminate the integrity and fairness of the justice system.




This report begins a necessary conversation to confront the injustice, inequality,
anguish, and suffering that racial terror and violence created. The history of terror
lynching complicates contemporary issues of race, punishment, crime, and justice. Mass
incarceration, excessive penal punishment, disproportionate sentencing of racial
minorities, and police abuse of people of color reveal problems in American society that
were framed in the terror era. The narrative of racial difference that lynching
dramatized continues to haunt us. Avoiding honest conversation about this history has
undermined our ability to build a nation where racial justice can be achieved.




In America, there is a legacy of racial inequality shaped by the enslavement of millions
of Black people. The era of slavery was followed by decades of terrorism and racial
subordination most dramatically evidenced by lynching. The civil rights movement of
the 1950s and 1960s challenged the legality of many of the most racist practices and
structures that sustained racial subordination but the movement was not followed by a
continued commitment to truth and reconciliation. Consequently, this legacy of racial
inequality has persisted, leaving us vulnerable to a range of problems that continue to
reveal racial disparities and injustice. EJI believes it is essential that we begin to discuss
our history of racial injustice more soberly and to understand the implications of our
past in addressing the challenges of the present.




Lynching in America is the second in a series of reports that examines the trajectory of
American history from slavery to mass incarceration. In 2013, EJI published
Slavery in America , which documents the slavery era and its continuing legacy, and
erected three public markers in Montgomery, Alabama, to change the visual landscape



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of a city and state that has romanticized the mid-nineteenth century and ignored the
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devastation and horror created by racialized slavery and the slave trade.




Over the past six years, EJI staff have spent thousands of hours researching and
documenting terror lynchings in the twelve most active lynching states in America:
Alabama, Arkansas, Florida, Georgia, Kentucky, Louisiana, Mississippi, North
Carolina, South Carolina, Tennessee, Texas, and Virginia. We have more recently
supplemented our research by documenting terror lynchings in other states, and found
these acts of violence were most common in eight states: Illinois, Indiana, Kansas,
Maryland, Missouri, Ohio, Oklahoma, and West Virginia.




We distinguish racial terror lynchings—the subject of this report—from hangings and
mob violence that followed some criminal trial process or that were committed against
non-minorities without the threat of terror. Those lynchings were a crude form of
punishment that did not have the features of terror lynchings directed at racial
minorities who were being threatened and menaced in multiple ways.




We also distinguish terror lynchings from racial violence and hate crimes that were
prosecuted as criminal acts. Although criminal prosecution for hate crimes was rare
during the period we examine, such prosecutions ameliorated those acts of violence
and racial animus. The lynchings we document were acts of terrorism because these
murders were carried out with impunity, sometimes in broad daylight, often “on the
courthouse lawn.” i These lynchings were not “frontier justice,” because they generally
took place in communities where there was a functioning criminal justice system that
was deemed too good for African Americans. Terror lynchings were horrific acts of
violence whose perpetrators were never held accountable. Indeed, some public
spectacle lynchings were attended by the entire white community and conducted as
celebratory acts of racial control and domination.



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                                   KEY FINDINGS
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1. Racial terror lynching was much more prevalent than previously reported. EJI
researchers have documented several hundred more lynchings than the number
identified in the most comprehensive work done on lynching to date. The extraordinary
work of E.M. Beck and Stewart E. Tolnay provided an invaluable resource, as did the
research collected at Tuskegee University in Tuskegee, Alabama. These sources are
widely viewed asthe most comprehensive collection of research data on the subject of
lynching in America. EJI conducted extensive analysis of these data as well as
supplemental research and investigation of lynchings in each of the subject states. We
reviewed local newspapers, historical archives, and court records; conducted interviews
with local historians, survivors, and victims’ descendants; and exhaustively examined
contemporaneously published reports in African American newspapers. EJI has
documented 4084 racial terror lynchings in twelve Southern states between the end
of Reconstruction in 1877 and 1950, which is at least 800 more lynchings in these
states than previously reported. EJI has also documented more than 300 racial terror
lynchings in other states during this time period.




2. Some states and counties were particularly terrifying places for African Americans
and had dramatically higher rates of lynching than other states and counties we
reviewed. Mississippi, Florida, Arkansas, and Louisiana had the highest statewide rates
of lynching in the United States. Mississippi, Georgia, and Louisiana had the highest
number of lynchings. Lafayette, Hernando, Taylor, and Baker counties in Florida; Early
County, Georgia; Fulton County, Kentucky; and Lake and Moore Counties in Tennessee
had the highest rates of terror lynchings in America. Phillips County, Arkansas;
Lafourche and Tensas parishes in Louisiana; Leflore and Carroll counties in Mississippi;
and New Hanover County, North Carolina, were sites of mass killings of African
Americans in single-incident violence that mark them as notorious places in the history
of racial terror violence. The largest numbers of lynchings were found in Jefferson
County, Alabama; Orange, Columbia, and Polk counties in Florida; Fulton, Early, and
Brooks counties in Georgia; Caddo, Ouachita, Bossier, Iberia, and Tangipahoa parishes

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in Louisiana; Hinds County, Mississippi; Shelby County, Tennessee; and Anderson
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County, Texas.




3. Racial terror lynching was a tool used to enforce Jim Crow laws and racial
segregation—a tactic for maintaining racial control by victimizing the entire African
American community, not merely punishment of an alleged perpetrator for a crime.
Our research confirms that many victims of terror lynchings were murdered without
being accused of any crime; they were killed for minor social transgressions or for
demanding basic rights and fair treatment.




4. Our conversations with survivors of lynchings show that terror lynching played a key
role in the forced migration of millions of Black Americans out of the South. Thousands
of people fled to the North and West out of fear of being lynched. Parents and spouses
sent away loved ones who suddenly found themselves at risk of being lynched for a
minor social transgression; they characterized these frantic, desperate escapes as
surviving near-lynchings.




5. In all of the subject states, we observed that there is an astonishing absence of any
effort to acknowledge, discuss, or address lynching. Many of the communities where
lynchings took place have gone to great lengths to erect markers and monuments that
memorialize the Civil War, the Confederacy, and historical events during which local
power was violently reclaimed by white Southerners. These communities celebrate and
honor the architects of racial subordination and political leaders known for their belief
in white supremacy. There are very few monuments or memorials that address the
history and legacy of lynching in particular or the struggle for racial equality more
generally. Most communities do not actively or visibly recognize how their race
relations were shaped by terror lynching.




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6. We found that most terror lynchings can best be understood as having the features of
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one or more of the following: (1) lynchings that resulted from a wildly distorted fear of
interracial sex; (2) lynchings in response to casual social transgressions; (3) lynchings
based on allegations of serious violent crime; (4) public spectacle lynchings; (5)
lynchings that escalated into large-scale violence targeting the entire African American
community; and (6) lynchings of sharecroppers, ministers, and community leaders who
resisted mistreatment, which were most common between 1915 and 1940.




7. The decline of lynching in the studied states relied heavily on the increased use of
capital punishment imposed by court order following an often accelerated trial. That
the death penalty’s roots are sunk deep in the legacy of lynching is evidenced by the
fact that public executions to mollify the mob continued after the practice was legally
banned.




The Equal Justice Initiative believes that our nation must fully address our history of
racial terror and the legacy of racial inequality it has created. This report explores the
power of truth and reconciliation or transitional justice to address oppressive histories
by urging communities to honestly and soberly recognize the pain of the past. As has
been powerfully detailed in Sherrilyn A. Ifill's extraordinary work on lynching i , there is
an urgent need to challenge the absence of recognition in the public space on the
subject of lynching. Only when we concretize the experience through discourse,
memorials, monuments, and other acts of reconciliation can we overcome the shadows
cast by these grievous events. We hope you will join our effort to help towns, cities,
and states confront and recover from tragic histories of racial violence and terrorism
and to improve the health of our communities by creating an environment where
there can truly be equal justice for all.




BRYAN STEVENSON , DIRECTOR



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  Enslaved people who have just escaped from a Virginia plantation in 1862 (Library of Congress)




                                                  I




           SECESSION AND
       EMANCIPATION, 1861 - 1865




  When eleven Southern states seceded from the
  Union to form the Confederate States of America,
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           sparking the Civil War in 1861, they made no
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           secret of their ultimate aim: to preserve the
           institution of slavery. As Confederate Vice
           President Alexander H. Stephens explained, the
           ideological “cornerstone” of the new nation they
           sought to form was that “the negro is not equal
           to the white man” and “slavery subordination to
           the superior race is his natural and moral
           condition.” 1




Slavery had been an increasingly divisive political issue for generations, and though
United States President Abraham Lincoln personally opposed slavery, he had rejected
abolitionists’ calls for immediate emancipation. Instead, Lincoln favored a gradual
process of compensated emancipation and voluntary colonization, which would
encourage freed Black people to emigrate to Africa. 2 Once the nation was in the throes
of civil war, Lincoln feared any federal move toward emancipation would alienate
border states that permitted slavery but had not seceded. Lincoln’s cabinet and other
federal officials largely agreed, and shortly after the war’s start, the House of
Representatives passed a resolution emphasizing that the purpose of the war was to
preserve the Union, not to eliminate slavery. 3




As the Civil War dragged on, however, increasing numbers of enslaved African
Americans fled slavery to relocate behind Union lines, and the cause of emancipation
became more militarily and politically expedient. On January 1, 1863, President Lincoln
issued the Emancipation Proclamation, 4 which declared enslaved people residing in the
rebelling Confederate states to be “then, thenceforward, and forever free.” 5


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        The Emancipation Proclamation
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                                        did not apply
        to the roughly 425,000 enslaved people living in
        Tennessee, Delaware, Kentucky, Missouri, and
        Maryland—states that had not seceded or were
        occupied by Union forces.


In most Confederate states where the proclamation did apply, resistance to
emancipation was inevitable and there was almost no federal effort to enforce the grant
of freedom. 6 Southern planters attempted to hide news about Lincoln’s proclamation
from enslaved people, and in many areas where federal troops were not present, slavery
remained the status quo well after 1863. 7 Even as the Confederacy faced increasingly
certain defeat in the war, Southern whites insisted that Lincoln’s wartime executive
order was illegal and that slavery could be formally banned only by a legislature or
court. Many used deception and violence to keep enslaved people from leaving
plantations. 8




Formal nationwide codification of emancipation came in December 1865 with
ratification of the Thirteenth Amendment, which prohibited slavery throughout the
United States “except as punishment for crime.” Several states continued to
symbolically resist into the twentieth century: Delaware did not ratify the Thirteenth
Amendment until 1901; Kentucky ratified in 1976; and Mississippi ratified in 1995. 9




The legal instruments that led to the formal end of racialized chattel slavery in America
did nothing to address the myth of racial hierarchy that sustained slavery, nor did they
establish a national commitment to the alternative ideology of racial equality. Black
people might be free from involuntary labor under the law, but that did not mean
Southern whites recognized them as fully human.


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       White Southern identity    was grounded in a
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       belief that whites are inherently superior to
       African Americans; following the war, whites
       reacted violently to the notion that they would
       now have to treat their former human property
       as equals and pay for their labor. In numerous
       recorded incidents, plantation owners attacked
       Black people simply for claiming their
       freedom.10


At the Civil War’s end, Black autonomy expanded but white supremacy remained deeply
rooted. The failure to unearth those roots would leave Black Americans exposed to
terrorism and racial subordination for more than a century.




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           Formerly enslaved people were beaten and murdered for asserting they were free after the Civil
           War. Without federal troops, freed Black men and women remained subject to violence and
           intimidation for any act or gesture that showed independence or freedom. (Library of Congress.)




                           PRESIDENTIAL RECONSTRUCTION



The federal government’s lackluster commitment to Black civil rights and security
following the Civil War was a disappointing failure that undermined the promise of
freedom. Congress established the Freedmen’s Bureau in March 1865 with a mandate to
provide formerly enslaved people with basic necessities and to oversee their condition
and treatment in the former Confederate states. But Congress appropriated no budget
for the bureau, leaving it to be staffed and funded by President Andrew Johnson’s War
Department. 11




President Johnson, a Unionist former slaveholder from Tennessee, served as vice
president during the Civil War and assumed the presidency after Lincoln’s assassination
in April 1865. Though he initially promised to punish Southern “traitors,” Johnson issued
7000 pardons to secessionists by 1866. He also rescinded orders granting Black farmers
tracts of land confiscated from Confederates. 12 This greatly impeded formerly enslaved

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people’s ability to build their own farms because whites routinely refused to provide
                                       INTRODUCTION
them credit, effectively barring Black people from purchasing land without government
assistance.




        Instead of facilitating Black land ownership,
        Johnson advocated a new practice that soon
        replaced slavery as a primary source of
        Southern agricultural labor: sharecropping.

Under this system, Black laborers worked white-owned land in exchange for a share of
the crop at harvest minus costs for food and lodging, often in the same slave quarters
they had previously inhabited. Because Johnson’s administration required that
landowners pay off their debts to banks first, sharecroppers frequently received no pay
and had no recourse. 13




President Johnson also opposed Black voting rights. During Reconstruction , whites of
diverse political affiliations declared voting a “privilege” rather than a universal right,
and even some whites who had opposed slavery were wary of measures that would lead
to Black voting in the North. 14 Johnson believed Black people were inherently servile
and unintelligent; he feared they would vote as instructed by their former masters,
reestablishing the power of the planter class and relegating poor white farmers to
virtual slavery. 15 Johnson made little effort to disguise his racist views.




        In his 1867 annual message to Congress,
        President Johnson declared that Black
        Americans had “less capacity for government
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        than any other raceINTRODUCTION
                             of people,” that they would
        “relapse into barbarism” if left to their own
        devices, and that giving them the vote would
        result in “a tyranny such as this continent has
        never yet witnessed.16”

Not surprisingly, under President Johnson, federal Reconstruction efforts to support
and enforce Black Americans’ citizenship rights and social and economic freedom went
largely unsupported and unrealized.




Meanwhile, the Johnson administration allowed Southern whites to reestablish white
supremacy and dominate Black people with impunity. Two incidents in 1866 foretold
terrifying days to come for African Americans. On May 1, 1866, in Memphis, Tennessee,
white police officers began firing into a crowd of African American men, women, and
children that had gathered on South Street, and afterward white mobs rampaged
through Black neighborhoods with the intent to “kill every Negro and drive the last one
from the city.”




        Over three days of violence, forty-six African
        Americans were killed (two whites were killed
        by friendly fire); ninety-one houses, four
        churches, and twelve schools were burned to
        the ground; at least five women were raped;
        and many Black people fled the city
        permanently.17

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Less than three months later, in New Orleans, a group of African Americans—many of
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whom had been free before the Civil War—attempted to convene a state constitutional
convention to extend voting rights to Black men and repeal racially discriminatory laws
known as “Black Codes.” When the delegates convened at the Mechanics’ Institute on
July 30, 1866, groups of Black supporters and white opponents clashed in the streets.
The white mob began firing on Black marchers, indiscriminately killing convention
supporters and unaffiliated Black bystanders. Rather than maintain order, white police
officers attacked Black residents with guns, axes, and clubs, arresting many and killing
several. By the time federal troops arrived to suppress the white insurgency, as many as
forty-eight Black people were dead and two hundred had been wounded. 18




                       PROGRESSIVE RECONSTRUCTION



The Memphis and New Orleans attacks, which occurred just before the midterm
elections of 1866, sparked national outrage outside the South and mobilized voters to
support the Republican Party’s progressive platform advocating expansive rights and
protections for African Americans. Republicans won a landslide victory in the 1866
congressional races, gaining a veto-proof majority and control of the legislative
agenda. 19 Senator Charles Sumner of Massachusetts and Representative Thaddeus
Stevens of Pennsylvania then led the progressive caucus in devising an ambitious civil
rights program broader than anything Congress would attempt for another century.




First, Congress passed the Civil Rights Act of 1866, which declared Black Americans full
citizens entitled to equal civil rights. 20 President Johnson vetoed the bill, but Congress
—for the first time in United States history—overrode the veto. 21 Next, the progressive
Republican supermajority quickly passed the Fourteenth Amendment. Intended to
eliminate any doubt about the constitutionality of civil rights, the proposed amendment
established that all persons born in the country, regardless of race, were full citizens of
the United States and the states in which they resided, entitled to the “privileges and
immunities” of citizenship, due process, and the equal protection of the law. 22 If

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ratified, the amendment would supersede the United States Supreme Court’s 1857
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decision in Dred Scott v. Sandford , which held that African Americans were not citizens
and had no standing to sue in federal court. 23




Twenty-eight of the thirty-seven states had to ratify the Fourteenth Amendment in
order for it to be added to the Constitution, but when Southern legislatures first
considered the amendment, ten of the eleven former Confederate states rejected it
overwhelmingly—Louisiana unanimously. 24




        In response, again over President Johnson’s
        veto, Congress passed the Reconstruction Acts
        of 1867, which imposed military rule on the
        South and required that any states seeking
        readmission to the Union had to first ratify the
        Fourteenth Amendment.25 In July 1868, the
        Fourteenth Amendment was officially adopted.


        The Reconstruction Acts of 1867 also granted
        voting rights to African American men while
        disenfranchising former Confederates,
        dramatically altering the political landscape of
        the South and ushering in a period of progress.

In elections for new state governments, Black voter turnout neared 90 percent in many
jurisdictions, 26 and Black voters—who comprised a majority in many districts and a

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statewide majority in Louisiana—elected both white and Black leaders to represent
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them. More than six hundred African Americans, most of them formerly enslaved, were
elected as state legislators during this period. Another eighteen African Americans rose
to serve in state executive positions, including lieutenant governor, secretary of state,
superintendent of education, and treasurer. In Louisiana in 1872, P.B.S. Pinchback
became the first Black governor in America (and would be the last until 1990). The
Reconstruction states sent sixteen Black representatives to the United States Congress,
and Mississippi voters elected the nation’s first Black senators: Hiram Revels and
Blanche Bruce. 27




The newly elected and racially integrated Reconstruction governments took bold action
at the state level, repealing discriminatory laws, rewriting apprenticeship and vagrancy
statutes, outlawing corporal punishment, and sharply reducing the number of capital
offenses. African Americans also won election to law enforcement positions like sheriff
and chief of police, and were empowered to serve on juries. 28




Despite their advances, the racially diverse Reconstruction governments faced
significant challenges. For one, the issue of social equality continued to divide the
Republican Party. Black members and progressive whites advocated the full
eradication of white supremacy, while more conservative whites still supported some
forms of racial hierarchy and separation. Because nearly all Black voters supported the
Republican ticket in every election, the party began to take freedmen’s votes for
granted and shifted its attention toward courting more “moderate” white swing
voters. 29 In addition, the Reconstruction governments faced a “crisis of legitimacy” as
their efforts to attract capital to war-torn Southern state economies raised accusations
of corruption and graft. 30




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        In the midst of this INTRODUCTION
                              growing instability, officials
        struggled to control increasingly violent and
        lawless groups of white supremacists in their
        states. Beginning as disparate “social clubs” of
        former Confederate soldiers, these groups
        morphed into large paramilitary organizations
        that drew thousands of members from all
        sectors of white society.31

Collectively, and with the tacit endorsement of the broader white community, their
members launched a bloody reign of terror that would overthrow Reconstruction and
sustain generations of white rule.




            WHITE BACKLASH: THE KU KLUX KLAN AND THE
                                 REIGN OF TERROR



Racial violence aimed at reestablishing white supremacy was widespread throughout
the former Confederate states following emancipation and the Civil War. In 1866, L.E.
Potts, a white woman living in Paris, Texas, wrote a letter entreating President Andrew
Johnson to do something to curb the widespread violence raining down on local Black
people. 32 She wrote that whites were so angered at the idea of losing their slaves, they
were trying to “persecute them back into slavery” and the result was brutal violence:
“[Black people] are often run down by blood hounds, and shot because they do not do
precisely as the white man says. 33




The post-war period was a time of frequent, extreme, and often undocumented violence
targeting newly emancipated Black people. As historian Leon F. Litwack writes, “[h]ow
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many Black men and women were beaten, flogged, mutilated, and murdered in the first
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years of emancipation will never be known.” 34 Similarly, historian Eric Foner explains,




        The “wave of counterrevolutionary terror that
        swept over large parts of the South between
        1868 and 1871 lacks a counterpart either in the
        American experience or in that of the other
        Western Hemisphere societies that abolished
        slavery in the nineteenth century.”35


Occupation by federal troops restrained this violence but did not eliminate racial
attacks or the commitment to white supremacy that fueled them. The political
movement to restore white dominance in the South following the Civil War was termed
Redemption and its advocates, called Redeemers, were staunchly opposed to
progressive Republicans and Black citizenship rights. 36 This set up a tense conflict.




        As Black people became voters with significant
        political power, especially in states and
        counties where they constituted majorities,
        disputed elections often devolved into bloody
        massacres.


In the face of Black political and economic competition created by emancipation and
progressive Reconstruction, white backlash worked to re-impose white dominance
through violent repression. 37 In 1868, white Democrats angered by growing Black

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support for white Republican candidates in St. Landry Parish, Louisiana, terrorized the
                                   INTRODUCTION
local Black community in two weeks of attacks that left more than a hundred Black
people dead. 38 In 1873, after a very close gubernatorial election, a militia of white
Democrats killed dozens of Black Republicans in what came to be known as the Colfax
Massacre. 39 Similarly, in 1875, a paramilitary group known as the Red Shirts organized in
Mississippi to undermine Black political power by disrupting Republican rallies,
intimidating Black voters with threats of violence and economic reprisal, and
assassinating Black leaders. 40




                  C O L FA X , L O U I S I A N A


Grant Parish in central Louisiana was one of several new parishes (or counties) created
during Reconstruction, and home to the town of Colfax. A sugar and cotton plantation
during slavery, Colfax rapidly transformed into a district controlled by political
progressives in the early Reconstruction era. 41




In 1872, following several years during which white former Confederates in the
Democratic Party worked to undermine elected Black progressive Republican officials,
several Democratic candidates won an election widely recognized as fraudulent. In
response, Black protestors refused to recognize the illegitimate election results and
staged a peaceful occupation of the town courthouse. 42 Several weeks later,
approximately 140 whites surrounded the courthouse and, in the first week of April
1873, engaged in skirmishes with the Black militias that resulted in several deaths.

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On Easter Sunday, 300 whites attacked the courthouse and three whites were killed in
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the assault.




        The outnumbered Black forces waved white
        flags in surrender, but the assault continued;
        numerous unarmed Black men who hid in the
        courthouse or attempted to flee were shot and
        killed.

Approximately fifty African Americans who survived the afternoon assault were taken
prisoner and executed by the white militia later that evening. As many as 150 African
Americans were killed in the massacre, described as “the bloodiest single act of carnage
in all of Reconstruction.” 43




The whites who exacted this violence faced no consequences because the United
States Supreme Court dismissed all federal charges against them.




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                                             The local narrative in Colfax has
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                                             continued to praise the cause of racial
                                                violence and embrace the message of
                                                racial hatred. In 1921, the town erected a
                                                memorial to the three whites who died
                                                during the Colfax Massacre,
                                                memorializing them as “heroes [who] fell
                                                . . . fighting for white supremacy.” In
                                                1950, at the site of the old courthouse,
                                                the state erected a monument that
                                                reads, “On this site occurred the Colfax
                                                Riot in which three white men and 150
                                                negroes were slain. This event on April
                                                13, 1873, marked the end of carpetbag
                                                misrule in the South.” Today, Colfax is a
                                                town of less than 2000 people. Both
                                                markers still stand.




The earliest seeds of violent white resistance to Reconstruction were planted in Pulaski,
Tennessee, in late 1865, when six Confederate veterans formed the Ku Klux Klan. 44 Made
up of well-educated young men of comparative wealth who would go on to prominent
careers in law and state politics, the group was initially informal, with a stated purpose
of “amusement.” 45 The KKK spread quickly and developed a complex hierarchy with
rules as intricate as an army manual. In less than a year, chapters spread throughout
Tennessee and into northern Alabama.




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       Famed ConfederateINTRODUCTION
                           General Nathan Bedford
       Forrest was the Klan’s first leader, or Grand
       Wizard, and today he is immortalized in stone
       monuments in many towns and cities
       throughout the South.46

Far from the small band of extremist outsiders it is now, the Klan drew members from
every echelon of white society in the nineteenth century, including planters, lawyers,
merchants, and ministers. In York County, South Carolina, nearly the entire white male
population joined. 47 The Klan and similar organizations, including the Knights of the
White Camelia and the Pale Faces, were independent and de-centralized but shared
aims and tactics to form a vast network of terrorist cells. By the 1868 presidential
election, those cells were poised to act as a unified military force supporting the cause
of white supremacy throughout the South. 48




Shortly before the 1868 election, progressive Republicans looking to remove President
Andrew Johnson managed to have him impeached by the House of Representatives but
failed to secure his conviction in the Senate. As a result, Johnson remained in office and
the Republican party suffered politically. As a result, former Union General Ulysses S.
Grant—a moderate—won the Republican presidential nomination. 49




       In the general election, Grant faced former New
       York Governor Horatio Seymour, who
       campaigned as the “white man’s candidate.” In
       a March 11, 1868 speech to the New York State
       Democratic Convention, Seymour said that
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        Black people “are in form, color, and character
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        unlike the whites, and [] are, in their present
        condition, an ignorant and degraded race.”50

Seymour also criticized post-war congressional civil rights laws that, by prohibiting
racial discrimination and establishing equal citizenship rights, “abolished the Black man
and made him a white man by legislation.” 51 As white terror groups sought to suppress
the Black vote and deliver the South for Seymour, violent attacks in Alabama,
Louisiana, and Georgia resulted in hundreds of deaths and successfully prevented
Black people from casting a single vote in many counties with significant Black
populations. 52




Despite the campaign of terror, Grant carried most of the Southern states and won the
presidency. The Klan initially retreated and Grand Wizard Nathan Bedford Forrest called
for its dissolution, claiming that its mission had been hijacked by rogue elements—a
refrain that became common among Klan leaders seeking to distance themselves from
the extreme violence they had encouraged. 53 While the Klan partially disbanded as a
unified political organization, a patchwork of local entities continued to seek its goals,
enforcing white supremacist social mores and economic structures through bloodshed
and intimidation.




Varied white groups took up the cause of restoring labor discipline in the absence of
slavery. Vigilantes whipped and lynched Black freedmen who argued with employers,
left the plantations where they were contracted to work, or displayed any economic
success of their own. 54 White terror groups also focused intense energy on imposing
“their own vision of a righteous society,” 55 which usually meant targeting Black men for
perceived sexual transgressions against white women. Charges of rape, while common,
were “routinely fabricated” and often extrapolated from minor violations of the social


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code, such as “paying a compliment” to a white woman, expressing romantic interest in
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a white woman, or cohabitating interracially. 56 White mobs regularly attacked Black
men accused of sexual crimes and historians estimate that at least 400 African
Americans were lynched between 1868 and 1871. 57 Whites also sought retribution for
alleged rapes by targeting entire Black communities with violent, public, and sexualized
attacks, including forcing victims to strip, binding them in compromising positions, and
whipping their genitals; widespread rape of Black women, sometimes in front of their
families; and genital mutilation and castration. 58 Through these acts of violence, white
vigilantes used terror “to revive the privileges of white masculinity over the bodies of
their former slaves.” 59




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          (Thomas Nast/Harper's Weekly, Aug. 8, 1868)




             WAVERING SUPPORT: FEDERAL INDIFFERENCE
                                  AND LEGAL OPPOSITION



By 1870, state Reconstruction governments were nearly powerless to stop the
counterrevolutions surging within their borders. They sorely needed federal aid, and

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initially they got it. President Grant supported progressive Reconstruction and provided
                                       INTRODUCTION
federal troops to enforce it. 60 In addition, Congress passed a series of Enforcement Acts
in 1870 and 1871, and the Ku Klux Klan Act of 1871. 61 These laws authorized individuals to
go to federal court for help when their civil rights were violated and empowered the
federal government to prosecute civil rights violations as crimes. 62




In the Southern states, Reconstruction government officials remained ineffective in
stopping rampant white violence, undermining officials’ legitimacy at home and
frustrating Republicans in the North. 63 In the 1872 election, the Republican Party split
along regional lines and New York publisher Horace Greeley challenged incumbent
President Grant for the presidential nomination. Representing the “liberal reform” wing
of the party, Greeley generally supported civil rights for freedmen but his commitment
to equality was tepid. He referred to African Americans as “an easy, worthless race,” 64
and supported universal amnesty and restored voting rights for former Confederates.
Grant won the nomination and a second term by a landslide, but political division
remained and violence in the South persisted. The rise of a new insurgent group, the
White League, brought more terror, and the larger white community and legal
establishment did nothing to stop it.




        While white mobs attacked Black voters, the
        United States Supreme Court began an assault
        on the legal architecture of Reconstruction.

The Court’s intervention was orchestrated by lawyer John Archibald Campbell, a former
Confederate bitterly opposed to Reconstruction. 65 When Louisiana’s Reconstruction
legislature implemented regulations consolidating New Orleans slaughterhouses into
one location outside the city, Campbell saw an opportunity to undermine the recently
ratified Thirteenth and Fourteenth Amendments. 66 His suit on behalf of a group of


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white butchers argued that the Louisiana law forbidding slaughterhouses within city
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limits interfered with the butchers’ livelihoods in violation of the Thirteenth
Amendment’s ban on slavery and the Fourteenth Amendment’s “privileges and
immunities” clause. Campbell sought to use the amendments as “weapons to bring
about Reconstruction’s ultimate demise.” 67 If he won the case, the courts would extend
the Reconstruction amendments’ protections to the economic interests of whites,
undermining their purpose; if he lost, the amendments’ power would be nearly
destroyed.




Campbell’s case and several others were consolidated into The Slaughterhouse Cases
and considered by a newly activist Supreme Court.




       Prior to 1865, the Court had only twice struck
       down congressional acts as unconstitutional;
       between 1865 and 1872, the Court did so twelve
       times.68

The Slaughterhouse Cases would make thirteen.




The Court’s 1872 decision held that the Fourteenth Amendment protected solely the
"privileges and immunities" conferred by national citizenship—a narrow category of
rights mostly irrelevant to the struggles facing Southern Black people. 69 The Court
reasoned that rights derived from a person’s state citizenship were enforceable only in
state court—a forum dominated by the white ruling class and utterly hostile to claims
by African Americans in the South.




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       Though The Slaughterhouse
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                                       Cases explicitly
       acknowledged that the Reconstruction
       amendments were adopted to protect the
       rights of formerly enslaved people, the decision
       eviscerated their practical impact by drastically
       limiting freedmen’s ability to enforce their
       rights in federal court, the only forum where
       they stood a chance of a fair hearing.


The Fourteenth Amendment was tested again when a United States Attorney in
Louisiana brought federal criminal charges against the white perpetrators of the Colfax
Massacre. Charges were brought under the Enforcement Act, which made it a federal
crime to conspire to deprive a citizen of his constitutional rights and allowed the
federal government to prosecute any crime committed as part of such a conspiracy. The
statute provided that the underlying crime could be punished with the same penalty
prescribed by state law, and federal authorities took the unprecedented step of
charging white defendants with capital offenses—subject to the death penalty—for
murdering Black people. 70 Despite overwhelming evidence, one defendant was
acquitted and jurors failed to reach a verdict against any others.




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           (Charles Harvey Weigall/Harper's Weekly, May 10, 1873)




Before retrial could begin, the defense questioned whether the federal court had
jurisdiction to hear the case at all, for the first time arguing that the Enforcement Act
was unconstitutional as applied to private persons who were not state actors. 71 The
court reserved ruling on that issue and allowed the trial to proceed, and three
defendants were convicted of conspiracy. 72 The judge then ruled that the Enforcement
Act was unconstitutional and dismissed the indictments, initiating an appeal to the
United States Supreme Court.




In United States v. Cruikshank, decided March 27, 1876, the Court held that the
Fourteenth Amendment “prohibits a State from depriving any person of life, liberty, or
property, without due process of law; but this adds nothing to the rights of one citizen
as against another.” 73 In other words, the Court ruled that the Fourteenth Amendment
provided protection only against actions of the State, not against individual violence,
and the power of the federal government was “limited to the enforcement of this
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guaranty.” 74 As a result, the Enforcement Act was a dead letter: African Americans in the
                                       INTRODUCTION
South were to be left at the mercy of white terrorists, so long as the terrorists were
private actors.




The response was immediate. Enforcement Act trials in most of the Southern states had
been halted pending the Supreme Court appeal.




        When Cruikshank was decided, the Justice
        Department dropped 179 Enforcement Act
        prosecutions in Mississippi alone.75 Violence
        continued to spread, and increasingly, attacks
        on African Americans in the South were carried
        out by undisguised men in broad daylight.76




           (State Archives of Florida, Florida Memory)




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                                 II




      BACK TO BRUTALITY:
  RESTORING RACIAL HIERARCHY
     THROUGH TERROR AND
          VIOLENCE




  Racial terrorism and intimidation of African
  Americans became characteristic of Southern
  democracy during the 1870s and prompted little
  action from federal observers. A proposal in
  Congress to discipline Georgia for the violence
  and corruption surrounding its 1870 election
  was defeated by a five-day filibuster in the
  Senate, and Northern support for federal
  intervention on behalf of Black people living in
  the South diminished considerably. 77 In 1872,
  Congress returned full civil rights to Confederate
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                leaders and restored their eligibility to hold
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                public office.




The Amnesty Act was passed over the objection of Congressman Jefferson Long. Born
into slavery in 1836 and elected in 1870 as Georgia’s first Black representative in the
United States Congress, Long became the first Black person to speak on the House floor
when he opposed amnesty.




                                                   Long asked: “Do we, then, really propose
                                                   here today, when the country is not
                                                   ready for it, when those disloyal people
                                                   still hate this government, when loyal
                                                   men dare not carry the ‘stars and stripes’
                                                   through our streets, for if they do they
                                                   will be turned out of employment, to
                                                   relieve from political disability the very
                                                   men who have committed these Kuklux
                                                   outrages? I think that I am doing my duty
                                                   to my constituents and my duty to my
                                                   country when I vote against any such
                                                   proposition...
Jefferson Long (Library of Congress)


                                                   Mr. Speaker, I propose, as a man raised
                                                   as a slave, my mother a slave before me,
                                                   and my ancestry slaves as far back as I
                                                   can trace them... If this House removes
                                                   the disabilities of disloyal men by
                                                   modifying the test-oath, I venture to

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                                               prophesy you will again have trouble
                                       INTRODUCTION
                                               from the very same men who gave you
                                                  trouble before.” 78
Long’s warning went unheeded.




        Even before Reconstruction’s official end,
        Confederate veterans espousing white
        supremacist rhetoric were able to employ
        violent intimidation to regain political control
        over many Southern governments.

In Virginia, former Confederate General James L. Kemper was inaugurated as governor
in 1874 and, that same year, delivered an address to the General Assembly outlining the
racial regime he intended to create:




“Henceforth, let it be understood of all, that the political equality of the races is settled,
and the social equality of the races is a settled impossibility. Let it be understood of all,
that any organized attempt on the part of the weaker and relatively diminishing race to
dominate the domestic governments, is the wildest chimera of political insanity. Let
each race settle down in final resignation to the lot to which the logic of events has
inexorably consigned it.” 79




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           (James Albert Wales/Harper's Weekly, Oct. 31, 1874)




Confederate Colonel James Milton Smith, who became Georgia’s governor in 1872, held
similar sentiments. 80 In an 1876 interview published in the Atlanta Journal Constitution ,
Smith opined on the status of Black people—then approximately 46 percent 81 of his
constituents:

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“Well, the loss of the slaves was a severe blow to the south. Still we should be just as
                                      INTRODUCTION
well off without them were the negro race less indolent and unreliable . . . They are
constitutionally an idle, thriftless race, always depending on the whites for everything,
and it will take a century of education before they can be brought up to the standard
that will make them in any degree useful members of the community.” 82




Things were not much better outside the South, as the Supreme Court continued to
chip away at federal Reconstruction laws. In 1875, Congress passed Senator Charles
Sumner’s Civil Rights Act, which mandated desegregation and imposed criminal
penalties for racial discrimination in jury selection. 83 But the Cruikshank decision left
little legal basis to enforce desegregation provisions, and in 1883, the Supreme Court
declared the law unconstitutional. 84 The next decade, in Plessy v. Ferguson , the Court
would uphold racial segregation as fully consistent with the Fourteenth Amendment and
create the doctrine of “separate but equal.” 85




Executive action also waned during this time, as Southern racial violence became an
increasingly divisive issue and politically-weakened President Grant became more
reluctant to intervene. When Mississippi Governor Adelbert Ames requested federal
troops to suppress intense violence during state elections, Grant sent an exasperated
letter encouraging Ames to broker a “peace agreement” between the state militia and
the white mobs, writing that “[t]he whole public are tired out with these annual
autumnal outbreaks in the South.” 86




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           (A.B. Frost/Harper's Weekly, October 21, 1876)




Without federal protection, Black voters were targeted in brutal attacks on election day
in Mississippi and throughout the South. The presidential election of 1876 resulted in a
deadlock between Republican Rutherford B. Hayes and Democrat Samuel J. Tilden.
Congress and the Supreme Court brokered a “compromise” under which Hayes would
become president if he promised to end Reconstruction. Within two months of taking
office, President Hayes took action to end the federal troops’ role in Southern politics.
In the words of Henry Adams, a Black man living in Louisiana at the time,




       “The whole South—every state in the South—
       had got into the hands of the very men that
       held us as slaves.”87


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On the defeat of Reconstruction, The Nation offered a solemn assessment: “The Negro
                                      INTRODUCTION
will disappear from the field of national politics. Henceforth, the nation, as a nation, will
have nothing more to do with him.” 88 For millions of Black men, women, and children,
that abandonment foretold a grim future.




        “They are to be returned to a condition of
        serfdom,” predicted Governor Ames of
        Mississippi. “An era of second slavery.”89


               AFTER RECONSTRUCTION: UNEQUAL, AGAIN



The presence of federal troops in the South during the Reconstruction era acted as a
penetrable dam holding back some of the violence, political suppression, and racist
rhetoric employed by those intent on restoring white supremacist rule. Their premature
withdrawal unleashed a pent-up wave of violence that easily topped the few remaining
protective structures and left Black people cemented in an inferior economic, social,
and political position.




        Southern state governments set to work
        altering their constitutions to disenfranchise
        Black citizens and codify segregation.

At the 1890 Mississippi Constitutional Convention, where all but one of the delegates
were white, the intentional purging of Black people from the roll of eligible voters was a
top priority. 90 Analyzing the state’s electoral system six years later, the Mississippi
Supreme Court readily acknowledged these motivations:


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                                                         “It is in the highest degree improbable
                                                 INTRODUCTION
                                                         that there was not a consistent,
                                                           controlling directing purpose governing
                                                           the convention by which these schemes
                                                           were elaborated and fixed in the
                                                           constitution. Within the field of
                                                           permissible action under the limitations
                                                           imposed by the federal constitution, the
                                                           convention swept the circle of
                                                           expedients to obstruct the exercise of
                                                           the franchise by the negro race. By
                                                           reason of its previous condition of
                                                           servitude and dependence, this race had
(Thomas Nast/Harper's Weekly, Sept. 5, 1868)
                                                           acquired or accentuated certain
                                                           peculiarities of habit, of temperament,
                                                           and of character, which clearly
                                                           distinguished it as a race from that of the
                                                           whites,—a patient, docile people, but
                                                           careless, landless, and migratory within
                                                           narrow limits, without forethought, and
                                                           its criminal members given rather to
                                                           furtive offenses than to the robust
                                                           crimes of the whites. Restrained by the
                                                           federal constitution from
                                                           discriminating against the negro race,
                                                           the convention discriminated against
                                                           its characteristics and the offenses to
                                                           which its weaker members were
                                                           prone.” 91




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        Alabama rewrote its  constitution in 1901. John
                           INTRODUCTION
        B. Knox, a Calhoun County lawyer and
        president of the constitutional convention,
        opened the proceedings with a statement of
        purpose: “Why it is within the limits imposed
        by the Federal Constitution, to establish white
        supremacy in this state.”92

Now that political power had been regained, legalized racial subordination could and
would be restored. “[I]f we would have white supremacy,” Knox explained, “we must
establish it by law—not by force or fraud.” 93 From 1885 to 1908, all eleven former
Confederate states rewrote their constitutions to include provisions restricting voting
rights with poll taxes, literacy tests, and felon disenfrachisement. 94 Many of these new
constitutions also included segregationist prohibitions against interracial marriage and
integrated public education.




Over the ensuing decades, aided by convict leasing and Jim Crow laws, and emboldened
by the federal government’s disinterest in enforcing the racial equality guaranteed by
the federal Constitution, Southern legislatures institutionalized the racial inequality
enshrined in their state constitutions.




        The South created a system of state and local
        laws and practices that constituted a pervasive
        and deep-rooted racial caste system. The era of
        “second slavery” had officially begun.

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                                   CONVICT LEASING
                                     INTRODUCTION

Convict leasing, the practice of selling the labor of state and local prisoners to private
interests for state profit, utilized the criminal justice system to effectuate the economic
exploitation and political disempowerment of Black people. State legislatures passed
discriminatory criminal laws or “Black Codes,” which created new criminal offenses
such as “vagrancy” and “loitering.” This led to the mass arrest and incarceration of Black
people.




          Relying on language in the Thirteenth
          Amendment that prohibits slavery and
          involuntary servitude “except as punishment
          for crime,” lawmakers empowered white-
          controlled governments to extract Black labor
          in private lease contracts or on state-owned
          farms.95

“While a Black prisoner was a rarity during the slavery era (when slave masters were
individually empowered to administer ‘discipline’ to their human property) the solution
to the free Black population had become criminalization. In turn, the most common fate
facing Black convicts was to be sold into forced labor for the profit of the state.” 96




Beginning as early as 1866 in states like Texas, Mississippi, and Georgia, convict leasing
spread throughout the Southern states and continued through the late nineteenth and
early twentieth centuries. 97 In contrast to white prisoners who were routinely
sentenced to the penitentiary, leased Black convicts faced deplorable, unsafe working
conditions and brutal violence when they attempted to resist or escape bondage. 98

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An 1887 report by the Hinds County,
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Mississippi grand jury recorded that, six
months after 204 convicts were leased to
a man named McDonald, twenty were
dead, nineteen had escaped, and twenty-
three had been returned to the
penitentiary disabled, ill, and near
death. 99 The penitentiary hospital was
filled with sick and dying Black men
whose bodies bore “marks of the most
inhuman and brutal treatment . . . so
poor and emaciated that their bones
almost come through the skin.” 100 Under
                                                   (John L. Spivak)
this grotesquely cruel system that lasted
decades, countless Black men, women,
and children lost their freedom—and
often their lives. “Before convict leasing
officially ended,” writes historian David
Oshinsky, “a generation of Black
prisoners would suffer and die under
conditions far worse than anything they
had ever experienced as slaves.” 101
Convict leasing demonstrated the way in
which the criminal justice system would
become the central institution for
sustaining racial domination and
hierarchy in America. It legitimized
excessive punishment and abuse of
African Americans and terrorized people
of color.
                                          JIM CROW



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Jim Crow laws proscribed the lives and possibilities of Black people throughout the
                                     INTRODUCTION
South. The term “Jim Crow” initially referred to a style of minstrel show in which white
performers caricatured Black life for the entertainment of white audiences. 102




       By 1890, the term was used to describe the
       “subordination and separation of Black people
       in the South, much of it codified and much of it
       still enforced by custom, habit, and
       violence.”103

Under Jim Crow rule, all aspects of life were governed by a strict color line, from the
most central and important—public education was segregated throughout the South
and interracial marriage was criminalized—to the most mundane and tedious.




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In South Carolina,    a 1917 law
          (Elliott Erwitt/Magnum   required that all circuses and other tent events maintain
                                 Photos)
                                          INTRODUCTION
separate entrances and ticket booths for Black and white attendees and imposed a
maximum $500 fine for noncompliance. 104 A 1915 law required that Black and white
employees of cotton textile mills be segregated at every stage of employment and
restricted them from using the same entry/exit, occupying the same stairwell, or using
the same tools. 105 A 1924 law effectively outlawed interracial pool rooms by declaring
that no license would be issued to a billiard room owner who intended his
establishment to be patronized by customers of another race. 106 And a 1910 law
prohibited placing a white child in the permanent custody of a Black adult. 107 Similarly,
Florida law required separation of the races on streetcars; 108 Mississippi law mandated
separate hospital entrances for white and Black patients; 109 North Carolina law
authorized librarians to create separate reading areas for Black patrons; 110 and Alabama
law prohibited white nurses from treating Black male patients. 111




In March 1901, a white woman and Black man were arrested in Atlanta, Georgia, after
two police officers claimed to have seen them talking and walking together on the
street. 112 Interviewed following her arrest, the white woman was indignant—not at the
law, but at the suggestion that she would ever share the company of a Black man in
public. “I stopped and [a police officer] asked why I talked to a negro,” she told the
press. “I told him I was a southern born woman, and his insinuations were an insult. He
then said he would have to arrest me, and I was ridden to police barracks in a patrol
wagon. It is the first ride I have ever taken of the kind, and I have been humiliated and
disgraced. But somebody will suffer for this before it is done with.” 113




        Racial segregation often translated to the total
        exclusion of Black people from public facilities,
        institutions, and opportunities. This separation
        plainly disadvantaged Black people and served

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       as a constant symbol of their inferior position in
                         INTRODUCTION
       Southern society.


“Black southerners were left to brood over the message imparted by the Jim Crow laws
and the spirit in which they were enforced. For all African Americans, Jim Crow was a
daily affront, a reminder of the distinctive place “white folks” had marked out for them—
a confirmation of their inferiority and baseness in the eyes of the dominant population.
The laws made no exception based on class or education; indeed, the laws functioned
on one level to remind African Americans that no matter how educated, wealthy, or
respectable they might be, it did nothing to entitle them to equal treatment with the
poorest and most degraded whites. What the white South insisted upon was not so
much separation of the races as subordination, a system of controls in which whites
prescribed the rules of racial conduct and contact and meted out the punishments.” 114




Though legally emancipated from slavery and endowed with constitutional rights to
participate in society as full citizens, Black people soon learned that those rights
were unenforceable in a white-controlled political system hostile to their exercise.
This message was communicated through an intricate and complex system of racial
subordination built after the Civil War to maintain and reinforce white supremacy in a
world without chattel slavery. Constructed of law and custom, force and fear,
disenfrachisement, convict leasing, and Jim Crow segregation, the system was fragile
and fiercely guarded.




       Over the century that this racial caste system
       reigned, perceived violations of the racial order
       were met with brutal violence targeted at Black


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Americans—and lynching  was the weapon of
                INTRODUCTION
choice.




  (Library of Congress)




                                  III




     LYNCHING IN AMERICA: FROM
       "POPULAR JUSTICE" TO
          RACIAL TERROR




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           Lynching became a vicious tool of racial control
                                       INTRODUCTION
           in America during the late nineteenth and early
           twentieth centuries—but it first emerged as a
           form of vigilante retribution used to enforce
           “popular justice” on the Western frontier. 115 In
           the Western territories in the early nineteenth
           century, the individual desire for revenge was
           high, government was absent or underdeveloped,
           and public support for lynching was
           widespread. 116 Notably, lynching did not initially
           mean killing, and vigilante “regulators” often
           punished “thieves, highwaymen, swindlers, and
           card sharks” 117 with tarring-and-feathering,
           beatings, and floggings.




Beginning in the 1830s and continuing in the decades following the Civil War, lynching
became more synonymous with hanging. The first broadly publicized incident of lethal
lynching occurred in Madison County, Mississippi, in 1835, after a fabricated story of a
planned slave uprising sparked local panic and resulted in the hangings of two white
men and several enslaved Black people. 118 Followed that same year by a notorious
lynching of five gamblers in Vicksburg, Mississippi, these killings marked a change in
American mob violence: “whereas in the era of the American Revolution mobs had rarely
killed their victims, the 1835 riots claimed at least seventy-one lives.” 119




Even as lynchings became more frequently deadly, they differed greatly by region. An
individual subject to a frontier lynching typically was accused of a crime such as murder

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or robbery, given some form of process and trial, and hanged without any additional
                                       INTRODUCTION
torture or foul play. 120 Southern lynchings, on the other hand, were commonly
extrajudicial and employed to defend slavery. 121 Between 1830 and 1860, Southern mobs
killed an estimated 130 white individuals 122 and at least 400 enslaved Black people. Most
were lynched under suspicion of conspiring to mount a slave uprising—a growing but
largely unsubstantiated fear among whites in slaveholding states. 123 In addition,
Southern lynchings of African Americans were distinct from lynchings of whites, and
often featured extreme brutality such as burning, torture, mutilation, and decapitation
of the victim. 124




        Southern lynching took on an even more
        racialized character after the Civil War. The act
        and threat of lynching became “primarily a
        technique of enforcing racial exploitation—
        economic, political, and cultural.”125

Characterized by Southern mob violence intended to reestablish white supremacy and
suppress Black civil rights through political and social terror, 126 the Reconstruction era
was a violent period in which tens of thousands of people were killed in racially- and
politically-motivated massacres, murders, and lynchings. 127 White mobs regularly
targeted African Americans with deadly violence but rarely aimed lethal attacks at white
individuals accused of identical violations of law or custom.




By the end of the nineteenth century, Southern lynching had become a tool of racial
control that terrorized and targeted African Americans. The ratio of Black lynching
victims to white lynching victims was 4 to 1 from 1882 to 1889; increased to more than 6
to 1 between 1890 and 1900; and soared to more than 17 to 1 after 1900. Professor
Stewart Tolnay concluded from this data that “lynching in the South became
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increasingly and exclusively a matter of white mobs murdering African-Americans,” 128 “
                                     INTRODUCTION
a routine and systematic effort to subjugate the African-American minority.” 129




The character of the violence also changed as gruesome public spectacle lynchings
became much more common. At these often festive community gatherings, large crowds
of whites watched and participated in the Black victims’ prolonged torture, mutilation,
dismemberment, and burning at the stake. 130 Such brutally violent methods of
execution had almost never been applied to whites in America. Indeed, public spectacle
lynchings drew from and perpetuated the belief that Africans were subhuman—a myth
that had been used to justify centuries of enslavement, and now fueled and purportedly
justified terrorism aimed at newly-emancipated African American communities. 131 A
report published in 1905 explained that




        “Lynching has been resorted to by whites not
        merely to wreak vengeance, but to terrorize
        and restrain this lawless element in the Negro
        population. Among Southern people, the
        conviction is general that terror is the only
        restraining influence that can be brought to
        bear upon vicious Negroes.”132


Southern states were equipped with readily-available, fully-functioning criminal justice
systems eager to punish African American defendants with hefty fines, imprisonment,
terms of forced labor for state profit, and legal execution. 133 Lynching in this era and
region was not used as a tool of crime control, but rather as a tool of racial control
wielded almost exclusively by white mobs against African American victims. Many



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lynching victims were not accused of any criminal act, and lynch mobs regularly
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displayed complete disregard for the legal system.




In 1906, Edward Johnson, a Black man, was convicted of raping a white woman and
sentenced to death by an all-white jury in Chattanooga, Tennessee. His attorneys
appealed the case and won a rare stay of execution from the United States Supreme
Court. In response, a white mob seized Mr. Johnson from the jail, which had been
vacated by the sheriff and his staff, dragged him through the streets, hanged him from
the second span of the Walnut Street Bridge, and shot him hundreds of times. The mob
left a note pinned on the corpse that read: “To Justice Harlan. Come get your nigger
now.” 134 Mr. Johnson used his last words to declare his innocence. Nearly a century
later, he was cleared of the rape. 135




Through lynching, Southern white communities asserted their racial dominance over
the region’s political and economic resources—a dominance first achieved through
slavery would now be restored through blood and terror.




                 C H A R A C T E R I S T I CS O F T H E LY N C H I N G E R A



African Americans were lynched under varied pretenses. Today, lynching is most
commonly remembered as a punishment exacted by white mobs upon Black men
accused of sexually assaulting white women. During the lynching era, whites’
hypervigilant enforcement of racial hierarchy and social separation, coupled with
widespread stereotypes of Black men as dangerous, violent, and uncontrollable sexual
aggressors, fueled a pervasive fear of Black men raping white women. 136 Of the 4084
African American lynching victims EJI documented, nearly 25 percent were accused of
sexual assault 137 and nearly 30 percent were accused of murder. 138




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Hundreds more Black people were lynched based on accusations of far less serious
                                    INTRODUCTION
crimes like arson, robbery, non-sexual assault, and vagrancy, 139 many of which were not
punishable by death if convicted in a court of law.




         African Americans frequently were lynched for
         non-criminal violations of social customs or
         racial expectations, such as speaking to white
         people with less respect or formality than
         observers believed was due.140


Finally, many African Americans were lynched not because they committed a crime or
social infraction, and not even because they were accused of doing so, but simply
because they were Black and present when the preferred party could not be located. In
1901, Ballie Crutchfield’s brother allegedly found a lost wallet containing $120 and kept
the money. He was arrested and about to be lynched by a mob in Smith County,
Tennessee, when at the last moment he broke free and escaped. Thwarted in their
attempt to kill the suspect, the mob turned its attention to his sister and lynched Ms.
Crutchfield in her brother’s stead, though she was not accused of any involvement in
the theft. 141




The thousands of African Americans lynched between 1880 and 1950 differed in many
respects, but in most cases, the circumstances of their murders can be categorized as
one or more of the following: (1) lynchings that resulted from a wildly distorted fear of
interracial sex; (2) lynchings in response to casual social transgressions; (3) lynchings
based on allegations of serious violent crime; (4) public spectacle lynchings; (5)
lynchings that escalated into large-scale violence targeting the entire African American
community; and (6) lynchings of sharecroppers, ministers, and community leaders who
resisted mistreatment, which were most common between 1915 and 1940.
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           LY N C H I N G S B A S E D O N F E A R O F I N T E R R A C I A L S E X
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Nearly 25 percent of the lynchings of African Americans in the South were based on
charges of sexual assault. 142 The mere accusation of rape, even without an identification
by the alleged victim, often aroused a mob and resulted in lynching. In fact, the
definition of Black-on-white “rape” in the South was incredibly broad and required no
allegation of force because white institutions, laws, and most white people rejected the
idea that a white woman could or would willingly consent to sex with an African
American man. When Black Memphis journalist Ida B. Wells published an editorial
challenging the myth of widespread Black-on-white sexual violence and insisting that
consensual interracial sex did occur, white mobs burned her newspaper’s offices and
threatened to lynch her. 143




Whites’ fears of interracial sex extended to any action by a Black man that could be
interpreted as seeking or desiring contact with a white woman.




        In 1889, in Aberdeen, Mississippi, Keith Bowen
        allegedly tried to enter a room where three
        white women were sitting; though no further
        allegation was made against him, Mr. Bowen
        was lynched by the “entire (white)
        neighborhood” for his “offense.”144

        William Brooks was lynched in 1894 in
        Palestine, Arkansas, after he asked his white
        employer for permission to marry the man’s
        daughter.145
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       General Lee, a Black man, was lynched by a
       white mob in 1904 for merely knocking on the
       door of a white woman’s house in Reevesville,
       South Carolina.146

       In 1912, Thomas Miles was lynched for
       allegedly writing letters to a white woman
       inviting her to have a cold drink with him.147

       In 1934, after being accused of “associating
       with a white woman” in Newton, Texas, John
       Griggs was hanged and shot seventeen times
       and his body was dragged behind a car through
       the town for hours.148


Whites’ fear of sexual contact between Black men and white women was pervasive and
led to many lynchings. Narratives of these lynchings reported in the sympathetic white
press justified the violence and perpetuated the deadly stereotype of African American
men as hypersexual threats to white womanhood.




                   LY N C H I N G S B A S E D O N M I N O R S O C I A L
                                 TRANSGRESSIONS




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Lynchings based on minor social transgressions were a tool of racial control designed to
                                    INTRODUCTION
enforce social norms and racial hierarchy. Hundreds of African Americans accused of no
serious crime were nonetheless lynched for myriad “offenses,” including speaking
disrespectfully, refusing to step off the sidewalk, using profane language, using an
improper title for a white person, suing a white man, arguing with a white man,
bumping into a white woman, insulting a white person, and other social grievances. 149
African Americans living in the South during this era were terrorized by the knowledge
that they could be lynched if they intentionally or accidentally violated any social more
defined by any white person. Examples are plentiful.




       In 1940, Jesse Thornton was lynched in
       Luverne, Alabama, for referring to a white
       police officer by his name without the title of
       “mister.”150

       In 1918, Private Charles Lewis was lynched in
       Hickman, Kentucky, after he refused to empty
       his pockets while wearing his Army uniform.151

       Richard Wilkerson was lynched in Manchester,
       Tennessee, in 1934 for allegedly slapping a
       white man who had assaulted a Black woman
       at an African American dance.152

       White men lynched Jeff Brown in 1916 in
       Cedarbluff, Mississippi, for accidentally
                                                                                       EoR - 1313 of 2347
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       bumping into a white girl as he ran to catch a
                        INTRODUCTION
       train.153

       In 1917, Sam Gates was lynched for the offense
       of “annoying white girls” in England,
       Arkansas.154


Law-abiding African Americans lived at risk of arbitrary and deadly mob violence. These
lynchings and the threat of falling victim to the mobs who committed them sought to
keep the African American community terrorized and in a constant state of fear.




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             Jesse
                L YWashington
                    N C H I Nwas
                              G burned
                                 S B Abefore
                                       S E Da crowd
                                                O N of Athousands
                                                          L L E GinAWaco,
                                                                    T I OTexas,
                                                                          N S inO1916.
                                                                                  F C(Library
                                                                                        R I MofE
             Congress/Getty Images.)          INTRODUCTION

More than half of the lynching victims EJI documented were killed under accusation of
committing murder or rape. The deep racial hostility that permeated Southern society
during this time period often served to focus suspicion on Black communities after a
crime was discovered, whether evidence supported that suspicion or not. This was
especially true in cases of violent crime against white victims.




It is dubious to claim that all or even most individuals lynched for violent offenses
had committed them, considering that whites’ accusations of rape or murder were
rarely subject to serious scrutiny when lodged against Black people. In a strictly
maintained racial caste system, the mere suggestion of Black-on-white violence could
spark outrage, mob violence, and murder before the judicial system could act. In this
society, white lives held heightened value, while the lives of Black people held little
or none.




Of the hundreds of Black people lynched under accusation of rape and murder, nearly
every one was brutally killed without being legally convicted of any offense. When Berry
Noyse was accused of killing the local sheriff in Lexington, Tennessee, in 1918, an angry
mob lynched him in the courthouse square, then dragged his body through the streets
of town, shot it dozens of times, and burned the body in the middle of the street below
hung banners that read, “This is the way we do our bit.” 155




Some lynching victims were demonstrably innocent of the serious crimes alleged. After
a white woman was raped in Lewiston, North Carolina, in 1918, a Black man named Peter
Bazemore was accused of the crime and lynched by a mob before an investigation
revealed that the real perpetrator had been a white man wearing black makeup. 156




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Race, rather than the alleged offense, sealed lynching victims’ fates. Lynching, a
                                     INTRODUCTION
statement of racial terror and white supremacy, was largely reserved for Black suspects.
White people accused of murder or rape during this era were much more likely to be
tried, convicted, and punished by the legal system than by a mob. 157 In Thomasville,
Georgia, in 1930, a Black man named William Kirkland was arrested for the alleged rape
of a nine-year-old white girl, and before a trial could be held, a mob of between fifty
and seventy-five white men seized him from the jail, hung his body from a tree, riddled
it with bullets, and then dragged the corpse through town behind a truck before
depositing it on the courthouse lawn. 158 Just three days after Mr. Kirkland’s lynching, an
African American man named Lacy Mitchell was lynched in Thomasville for testifying
against a white man accused of raping an African American woman. Mr. Mitchell, a key
witness, was shot in his home by four white men and died; the white defendant was
acquitted and released. 159




                        P U B L I C S P E C TA C L E LY N C H I N G S




        Public spectacle lynchings were those in which
        large crowds of white people, often numbering
        in the thousands, gathered to witness pre-
        planned, heinous killings that featured
        prolonged torture, mutilation,
        dismemberment, and/or burning of the
        victim.160

Many were carnival-like events, with vendors selling food, printers producing postcards
featuring photographs of the lynching and corpse, and the victim’s body parts collected
as souvenirs. 161


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           (National Archives)




In 1904, after Luther Holbert allegedly killed a local white landowner, he and a Black
woman believed to be his wife were captured by a mob and taken to Doddsville,
Mississippi, to be lynched before hundreds of white spectators. 162 Both victims were
tied to a tree and forced to hold out their hands while members of the mob
methodically chopped off their fingers and distributed them as souvenirs. Next, their
ears were cut off. Mr. Holbert was then beaten so severely that his skull was fractured
and one of his eyes was left hanging from its socket. Members of the mob used a large
corkscrew to bore holes into the victims’ bodies and pull out large chunks of “quivering
flesh,” after which both victims were thrown onto a raging fire and burned. The white
men, women, and children present watched the horrific murders while enjoying deviled
eggs, lemonade, and whiskey in a picnic-like atmosphere. 163




Another public spectacle lynching took place in 1917 in Memphis, Tennessee, when a
mob of twenty-five men seized Ell Persons from a train that was transporting him to
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stand trial for rape and murder. The mob had announced the lynching time and location
                                     INTRODUCTION
in advance, and thousands of people attended, backing up traffic for miles. Food and
gum vendors sold their wares to the many spectators as Mr. Persons was doused with
gasoline and set on fire. A ten-year-old Black child was forced to sit next to the fire and
watch him die. When members of the crowd complained that Mr. Persons would die too
quickly if burned, the fire was extinguished, and attendees fought over Mr. Person’s
clothes and remnants of the rope to keep as mementos. Two men cut off his ears for
souvenirs, after which the head of Mr. Person’s corpse was removed and thrown into a
crowd in Memphis’s Black commercial district. 164




Later that year, just a few hours away in Dyersburg, Tennessee, Lation Scott was
subjected to a brutal and prolonged lynching after being accused of “criminal assault.”
Thousands gathered near a vacant lot across the street from the downtown courthouse
and children sat atop their parents’ shoulders to get a better view as Mr. Scott’s clothes
and skin were ripped off with knives.




        A mob tortured Lation Scott with a hot poker
        iron, gouging out his eyes, shoving the hot
        poker down his throat and pressing it all over
        his body before castrating him and burning him
        alive over a slow fire. Mr. Scott’s torturous
        killing lasted more than three hours.165


Gruesome public spectacle lynchings traumatized the African American community. The
crowds of hundreds or thousands of white people attending as participants or
spectators included elected officials and prominent citizens; white press coverage
regularly defended the lynchings as justified; and cursory investigations rarely led to


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identifications of lynch mob members, much less prosecutions. White men, women,
                                    INTRODUCTION
and children fought over bloodied ropes, clothing, and body parts, and proudly
displayed these “souvenirs” with no fear of punishment. 166 In Newnan, Georgia, in 1899,
pieces of Sam Hose’s heart, liver, and bones were sold after he was lynched; that same
year, spectators at the lynching of Richard Coleman in Maysville, Kentucky, took flesh,
teeth, fingers, and toes from his corpse. 167 Spectacle lynchings were preserved in
photographs that were made into postcards and distributed unashamedly through the
mail. 168




These killings were not the actions of a few marginalized vigilantes or extremists; they
were bold, public acts that implicated the entire community and sent a clear message
that African Americans were less than human, their subjugation was to be achieved
through any means necessary, and whites who undertook the duty of carrying out
lynchings would face no legal repercussions.




                             PA R I S , T E X A S


Founded in 1844, Paris, Texas, was named for the famous French city and quickly
became the seat of Lamar County. 169 By the start of the Civil War, the town of 700
residents was a center of farming and cattle ranching, 170 and 28 percent of county
residents were enslaved Black people. 171 In the lynching era that followed the Civil War
and emancipation, Paris was the site of repeated bloody racial terror.



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In early 1893, a seventeen-year-old Black boy named Henry Smith was accused of killing
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a three-year-old white girl. Nearly a week after the child’s death, a posse located Henry
in Hempstead County, Arkansas, and returned him to Paris by train. He was met at the
station on February 1, 1893, by a mob of thousands of white people from across the
state. Henry was placed on a carnival float and carried through the town to the county
fairgrounds, where he was forced to mount a ten-foot-high platform. Henry was
brutally tortured for nearly an hour in front of 10,000 people and then burned alive.
According to an investigation by anti-lynching crusader Ida B. Wells, Henry pleaded his
innocence until the end. 172




           Lynching of Henry Smith in Paris, Texas, on February 1, 1893 (Library of Congress/Getty Images.)




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Less than thirty years later, Paris hosted a second gruesome lynching. In 1920, brothers
                                      INTRODUCTION
Irving and Herman Arthur worked on a white-owned farm where they suffered ongoing
abuse. When the Arthurs decided to leave in search of better working conditions, the
farm owners tried to stop them with gunfire and then alleged that the Arthurs had
wounded them. Soon after Irving and Herman were arrested and jailed, local whites
began posting signs throughout town advertising their impending lynching. 173




On July 6, 1920, a mob of 3000 gathered to watch as both men were tied to a flagpole at
the fairgrounds, tortured, and burned to death. During the lynching, the Arthurs’ sisters
were jailed under the pretense of protection but then beaten and gang-raped by more
than twenty white men while in custody. After the lynching, the brothers’ corpses were
chained to a car and driven through Paris’s Black community for hours. A local sheriff
involved in the case later declared the brothers had been guilty of no crime. 174




Today, Paris is a small but vibrant and diverse city of 25,000 people, with no historical
markers to document either lynching. A large Confederate memorial adorns the
courthouse lawn—a site of racial unrest in the twenty-first century.




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In 2008, a twenty-four-year-old Black
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man named Brandon McClelland was
found dead by a roadside in Paris. An
investigation determined he had been
dragged behind or under a vehicle as far
as seventy feet. Two white men who
spent several hours with Mr. McClelland
on the night he died were arrested after
blood reportedly was found on the
undercarriage of their truck. When the
local prosecutor dropped all charges
against the men in 2009, citing a lack of
evidence, racial tensions flared.
                                                  Jacqueline McClelland with a photo of her son Brandon
Members of the local Black community              McClelland (AP)
rallying at the courthouse to protest
officials’ inaction were met with a
counter-protest by dozens of white
supremacists holding Confederate flags
and shouting “White Power!” State police
in riot gear were called to quell the
conflict. 175
Paris’s deeply-rooted history of racial violence and division, epitomized by the
lynchings of Henry Smith and Irving and Herman Arthur, remains a force in the
community today despite efforts to forget and ignore that past. “A Black man’s life is
still not worth a white man’s life in Paris, Texas,” declared a Black man protesting at the
courthouse in 2009. “I am 55 years old and I know racism when I see it. Paris, Texas, is
eaten up with racism.” 176




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           Thousands watch as lynchers prepare to torture Henry Smith on a ten-foot-high platform at the
           county fairgrounds. (Library of Congress/Getty Images)




               LY N C H I N G S TA R G E T I N G T H E E N T I R E A F R I C A N
                                     AMERICAN COMMUNITY



Most lynchings involved the killing of one or more specific individuals, but some lynch
mobs targeted entire Black communities by forcing Black people to witness lynchings
and demanding that they leave the area or face a similar fate. After a lynching in
Forsyth County, Georgia, in 1912, white vigilantes distributed leaflets demanding that
all Black people leave the county or suffer deadly consequences; so many Black



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families fled that, by 1920, the county’s Black population had plunged from 1100 to
                                     INTRODUCTION
just thirty. 177




To maximize lynching as a terrorizing symbol of power and control over the Black
community, white mobs frequently chose to lynch victims in a prominent place inside
the town’s African American district. 178 In 1918 in rural Unicoi County, Tennessee, a
group of white men sought a Black man named Thomas Devert who was accused of
kidnapping a white girl. When the men found Mr. Devert crossing a river with the girl in
his arms, they shot him in the head and the girl drowned. Insisting that the entire Black
community needed to witness Mr. Devert’s fate, the enraged mob dragged his dead body
to the town railyard and built a funeral pyre. The white men then rounded up all sixty
African American residents and forced the men, women, and children to watch the
corpse burn. These African Americans and eighty Black people who worked at a local
quarry were then told to leave the county within twenty-four hours. 179




In 1927, John Carter was accused of striking two white women in Little Rock, Arkansas.
He was seized by a mob, forced to jump from an automobile with a noose around his
neck, and shot 200 times. The mob then threw Mr. Carter’s mangled body across an
automobile and led a twenty-six-block procession past city hall, through Little Rock’s
Black neighborhoods, and toward Ninth Street, which was the Black community’s
downtown center. At 7:00 p.m. at Broadway and Ninth Street, between the Black
community’s two most significant landmarks—Bethel African American Episcopal
Church and the Mosaic Templars Building—rioting whites used pews seized from the
church to ignite a huge bonfire on the trolley tracks. They threw Mr. Carter’s body onto
the raging fire, which burned for the next three hours. 180




The practice of terrorizing an entire African American community after lynching one
alleged “wrong-doer” demonstrates that Southern lynching during this era was not to
attain “popular justice” or retaliation for crime. Rather, these lynchings were designed

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for broad impact—to send a message of domination, to instill fear, and sometimes to
                                   INTRODUCTION
drive African Americans from the community altogether.




                 LY N C H I N G S O F B L A C K P E O P L E R E S I S T I N G
                         MISTREATMENT (1915 - 1940)



From 1915 to 1940, lynch mobs targeted African Americans who protested being treated
as second-class citizens. African Americans throughout the South, individually and in
organized groups, were demanding the economic and civil rights to which they were
entitled. In response, whites turned to lynching.




In 1918, when Elton Mitchell of Earle, Arkansas, refused to work on a white-owned farm
without pay, “prominent” white citizens of the city cut him into pieces with butcher
knives and hung his remains from a tree. 181 In 1927, Owen Flemming refused to follow
an overseer’s command to retrieve mules out of a f looded district in Mellwood,
Arkansas. The overseer pulled a gun, which Mr. Flemming wrestled away from him
and fired in self-defense. A mob pursued and quickly caught him. Alerted of Mr.
Flemming’s offense, the local sheriff told the mob, “I’m busy, just go ahead and lynch
him.” 182 They did.




In Hernando, Mississippi, in 1935, Reverend T. A. Allen tried to start a sharecropper’s
union among local impoverished and exploited Black laborers. When white landowners
learned that Reverend Allen was using his pulpit to preach to the Black community
about unionization, they formed a mob, seized him, shot him many times, and threw
him into the Coldwater River. 183 Also in 1935, Joe Spinner Johnson, a sharecropper and
leader of the Sharecroppers’ Union in Perry County, Alabama, was called from work by
his landlord and delivered into the hands of a white gang. The gang tied Mr. Johnson
“hog-fashion with a board behind his neck and his hands and feet tied in front of him”
and beat him. They took him to the jail in Selma, Alabama, where other inmates heard
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him being beaten and screaming. Mr. Johnson’s mutilated body was found several days
                                      INTRODUCTION
later in a field near the town of Greensboro. 184




African Americans’ efforts to fight for economic power and equal rights in the early
twentieth century—a prelude to the civil rights movement—were violently repressed by
whites who acted with impunity. Whites used terrorism to relegate African Americans
to a state of second-class citizenship and economic disadvantage that would last for
generations after emancipation and create far-reaching consequences.




                     LY N C H I N G S I N T H E S O U T H , 1 8 7 7 - 1 9 5 0



This report documents 4084 lynchings of Black people that occurred in Alabama,
Arkansas, Florida, Georgia, Kentucky, Louisiana, Mississippi, North Carolina, South
Carolina, Tennessee, Texas, and Virginia between 1877 and 1950. The data reveals telling
trends across time and region, including that lynchings peaked between 1880 and 1940.
(See Figure 1.)




                                             FIGURE 1
                  Number of African Americans Lynched Annually Per 100,000 Residents in
                                      Southern States, 1880 to 1940




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Mississippi, Georgia, and Louisiana had the highest absolute number of African
American lynching victims during this period. (See Table 1.) The rankings change when
the number of lynchings are considered relative to each state’s total population and
African American population. Mississippi, Florida, and Arkansas had the highest per
capita rates of lynching by total population, while Arkansas, Florida, and Mississippi had
the highest per capita rates of lynching by African American population. (See Tables 2
and 3.)




                                          TABLE 1
                      African American Lynching Victims by State, 1877-1950




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                   TABLE 2                                                      TABLE 3
           Number of African Americans                                  Number of African Americans
           Lynched Annually Per 100,000                                 Lynched Annually Per 100,000
           Residents in Southern States,                                African American Residents in
                   1880 to 1940                                         Southern States, 1880 to 1940

STATE                          PER CAPITA RATE               STATE                          PER CAPITA RATE


Mississippi                          0.620                   Arkansas                             1.994
Florida                              0.556                   Florida                              1.655
Arkansas                             0.531                   Mississippi                          1.151
Louisiana                            0.454                   Louisiana                            1.090
Georgia                              0.380                   Kentucky                             0.957
Alabama                              0.278                   Georgia                              0.907
South Carolina                       0.203                   Texas                                0.803
Tennessee                            0.163                   Tennessee                            0.776
Texas                                0.137                   Alabama                              0.693
Kentucky                             0.107                   South Carolina                       0.390
North Carolina                       0.082                   North Carolina                       0.269
Virginia                             0.066                   Virginia                             0.207


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The twenty-five counties with the highest rates of lynchings of African Americans
during this era are located in eight of the twelve states studied: Arkansas, Florida,
Louisiana, Tennessee, Georgia, Kentucky, Texas, and Mississippi. The terror of lynching
was not confined to a few outlier states. Racial terror cast a shadow of fear across the
region. (See Tables 4 and 5.)




                       TABLE 4                                                   TABLE 5
           25 Counties With the Highest Rates of                              25 Counties With the
            Lynching (Per 100,000 Residents) in                              Most Lynching Victims,
            Southern States, from 1880 to 1940                                     1877-1950


RANK         COUNTY                ANNUAL     LYNCHING              RANK          COUNTY        LYNCHING
                                LYNCHING RATE

1      Phillips, AR 11.82 245       11.82          245              1.          Phillips, AR       245
2      Lafayette, FL 4.54 13        4.54           13               2.         Lafourche, LA          52
3      Hernando, FL 4.14 11         4.14           11               3-t.         Caddo, LA            48
4       Taylor , FL 3.12 14         3.12           14               3-t.         Leflore, MS          48
5      Lafourche, LA 2.92 51        2.92           51               5.          Ouachita, LA          38
6        Lake, TN 2.66 13           2.66           13               6.           Fulton, GA           35
7        Moore, TN 2.60 8           2.60            8               7.           Orange, FL           33
8        Early, GA 2.48 23          2.48           23               8-t.         Carroll, MS          29
9       Fulton, KY 2.44 19          2.44           19               8-t.        Jefferson, AL         29
10       Baker, FL 2.41 7           2.41            7               8-t.         Tensas, LA           29
11      Leflore, MS 2.38 48         2.38           48               11-t.        Bossier, LA          26
12      Carroll, MS 2.33 29         2.33           29               11-t.        Iberia, LA           26
13       Citrus, FL 2.21 7          2.21            7               13-t.         Early, GA           24
14       Echols, GA 2.17 4          2.17            4               13-t.      Tangipahoa, LA         24
15      Oconee, GA 2.09 11          2.09           11               15-t.       Anderson, TX          22
16       Baker, GA 2.00 9           2.00            9               15-t.        Hinds, MS            22
17      Kemper, MS 2.00 24          2.00           24               15-t.     New Hanover, NC         22
18      Orange, FL 2.00 33          2.00           33               18-t.        Brooks, GA           20
19      Sabine, TX 1.94 10          1.94           10               18-t.       Columbia, FL          20

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20         Brooks, GA 1.93 20              1.93                20                    18-t.     Fulton, KY          20
21        Columbia, FL 1.90 17             1.90       INTRODUCTION
                                                           17                        18-t.      Polk, FL           20
22           Stone, MS 1.87 7              1.87                7                     18-t.     Shelby, TN          20
23        West Carroll, LA 1.85 9          1.85                9                     23-t.      Dallas, AL         19
24         Calhoun, AR 1.83 10             1.83                10                    23-t.    Lowndes, MS          19
25           Miller, GA 1.80 8             1.80                8                     23-t.     Marion, FL          19




                                                         TABLE 6

     The Most Active Lynching Counties in Each Southern State, 1877-
                                 1950
                                                  (Rank, County, Lynchings)




          ALABAMA                        ARKANSAS                         FLORIDA                    GEORGIA



     1.     Jefferson     29        1.     Phillips      245        1.      Orange       33     1.      Fulton       35
     2.       Dallas      19        2.     Arkansas      18         2.     Columbia      20     2.      Early        24
     3.      Monroe       17        3.        Lee        15         2.       Polk        20     3.     Brooks        20
     4.      Lowndes      16        4.     Monroe        12         4.      Marion       19     4.     Mitchell      11
     5.      Pickens      15        5.    Little River   11         5.     Alachua       18     4.     Oconee        11
     6.       Elmore      14        5.      Lonoke       11         6.      Taylor       15     5.      Baker        10
     7.       Butler      13        5.     Ouachita      11         7.     Madison       14     5.     Bleckley      10
     7.       Henry       13        8.      Ashley       10         8.     Lafayette     13     5.     Decatur       10
     8.      Chilton      12        8.     Calhoun       10         9.     Suwannee      12     5.     Jasper        10
     8.    Montgomery     12        10.     Desha         9         10.    Hernando      11     5.   Montgomery      10




          KENTUCKY                       LOUISIANA                  MISSISSIPPI                 N. CAROLINA

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                                         INTRODUCTION
1.     Fulton      20   1.    Lafourche    52   1.      Leflore   48     1. New Hanover 22
2.      Logan      12   2.     Caddo       48   2.      Carroll   29     2.     Chatham         6
3.      Todd       7    3.    Ouachita     38   3.      Kemper    24     2.     Granville       6
4.     Graves      6    4.     Tensas      29   4.      Hinds     22     2.      Rowan          6
4.     Shelby      5    5.     Bossier     26   5.    Lowndes     19     5.     Johnston        4
5.    McCracken    4    5.     Iberia      26   6.      Yazoo     18     6.     Buncombe        3
6.     Boone       4    6.   Tangipahoa    24   7.   Lauderdale   16     6.     Franklin        3
6.     Fayette     4    7.   Concordia     16   8.      Amite     14     6.      Gaston         3
6.    Henderson    4    7.   Morehouse     16   8.      Bolivar   14     6.      Iredell        3
6.      Henry      4    8.     Orleans     14   8.      Warren    14     6.      Union          3
6.     Mason       4                                                     6.    Washington       3
6.     Warren




S. CAROLINA                 TENNESSEE                TEXAS                     VIRGINIA



1.     Barnwell    15   1.     Shelby      20   1.   Anderson     22     1.      Tazewell        7
1.    Greenwood    15   2      Obion       16   2    McLennan     15     2       Danville        5
3.      Aiken      13   3.      Lake       13   3.    Harrison    14     3.      Alleghany       3
4.     Laurens     11   4.   Robertson     11   4.      Sabine    10     3.       Halifax        3
4.    Orangeburg   11   5.     Coffee       8   5.       Cass     9      3.      Loudoun         3
6.     Colleton    10   5.   Lauderdale     8   5.   Freestone    9      3.    Newport News 3
7.     Florence    9    5.    Marshall      8   5.      Grimes    9      3.       Russell        3
7.       York      9    5.     Moore        8   6.      Bowie     8      3.        Wise          3
9.    Lexington    8    9.      Dyer        7   6.   Robertson    8      3.       Wythe          3
10.    Edgefield   6    9.     Gibson       7   6.      Waller    8      10.    Alexandria       2
10.    Hampton     6                                                   Amherst, Brunswick,
                                                                       Charlotte,Culpeper,
                                                                       Fauquier, Mecklenburg,
                                                                       Nelson, Nottoway, Page,
                                                                       Roanoke(city), Sussex


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                                          TABLE 7
                                Non-Southern States with Highest
                                Number of Racial Terror Lynchings




                     STATE                                          LYNCHINGS


                     Oklahoma                                          76
                     Missouri                                          60
                     Illinois                                          56
                     West Virginia                                     35
                     Maryland                                          28
                     Kansas                                            19
                     Indiana                                           18
                     Ohio                                              15




               LY N C H I N G O U T S I D E T H E S O U T H , 1 8 7 7 - 1 9 5 0



Lynching outside of the Southern states differed from lynching within the South, largely
in relation to the cultural and historical distinctions between the regions. “The Midwest
and the West were not as directly burdened by the legacy of antebellum racial slavery,”
writes Michael J. Pfeifer. “North and West of Dixie, lynching also persisted into the
middle decades of the twentieth century, surfacing after allegations of particularly
heinous crimes and under the influence of events such as African American in-
migration and the heightened racism of the Jim Crow era.” 185




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In addition to the 4084 documented lynchings committed in the South between 1877
                                   INTRODUCTION
and 1950, EJI has documented more than 300 racial terror lynchings of Black people
that took place in other parts of the United States during the same period. The vast
majority of these 341 lynchings were concentrated in eight states: Illinois, Indiana,
Kansas, Maryland, Missouri, Ohio, Oklahoma, and West Virginia. Though the numbers
were lower, mirroring the lower concentration of Black residents in these states, racial
terror lynchings committed outside the South featured many of the same
characteristics.




        When Black people moved and built
        communities outside the South in growing
        numbers during the lynching era, they were
        often targeted and violently terrorized in
        response to racialized economic competition,
        unproven allegations of crime, and violations of
        the racial order.

As early as 1900, anti-lynching crusader Ida B. Wells-Barnett gave a speech continuing
her denouncement of Southern lynching and also noting the growing number of
atrocities being committed in other regions. “So potent is the force of example,” she
told an audience in Chicago, “that the lynching mania has spread throughout the North
and middle West. It is now no uncommon thing to read of lynchings north of the Mason
and Dixon’s line, and those most responsible for this fashion gleefully point to these
instances and assert that the North is no better than the South. 186




EJI found the highest numbers of documented racial terror lynchings outside the South
during the lynching era in Oklahoma, Missouri, and Illinois, and those totals were

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largely fueled by acts of mass violence against entire Black communities that left many
                                     INTRODUCTION
people dead, property destroyed, and survivors traumatized.




In early July 1917, after several years of postwar migration had increased the Black
population of East St. Louis, Illinois, and created economic competition for white
residents, white mobs in the city ambushed African American workers as they left
factories during a shift change. The violence soon spread, surging to an attack on the
city’s Black neighborhoods. Over the course of three days, the area suffered more than
$400,000 in property damage; at least several dozen African American men, women, and
children were shot, hanged, beaten to death, or burned alive after being driven into
burning buildings; and an estimated 6000 Black residents—more than half the city’s
Black population—fled. 187




Just a few years later, in 1921, a Black elevator operator named Dick Rowland was
arrested in Tulsa, Oklahoma, after a misunderstanding led to rumors that he had
attacked a white woman. Though charges against Mr. Rowland were soon dropped and
he was released, a white mob quickly gathered to lynch him. When the Black community
banded together to help the young man leave town, the mob indiscriminately attacked
the prosperous local Black residential and business district known as Greenwood. Over
the next two days, the mob killed at least thirty-six Black people, displaced many more,
and destroyed the once vibrant community. No member of the mob was ever
convicted. 188




Racial terror lynchings outside the South were often brutal and brazen public
spectacles.




        In April 1906, two Black men named Horace
        Duncan and Fred Coker were accused of rape in
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        Springfield, Missouri.  Though both men had
                            INTRODUCTION
        alibis confirmed by their employer, a mob
        refused to wait for a trial. Instead, the mob
        seized both men from jail, hanged them from
        Gottfried Tower near the town square, and
        burned and shot their corpses while a crowd of
        5000 white men, women, and children
        watched.189

Newspapers later reported that both men were innocent of the rape allegation. 190




In Okemah, Oklahoma, a Black woman named Laura Nelson and her teenaged son, L.D.,
were kidnapped from jail before they could stand trial on murder charges in May 1911.
Members of the mob reportedly raped Ms. Nelson before hanging her and her son from
a bridge over the Canadian River. 191




On August 7, 1930, a large white mob used tear gas, crowbars, and hammers to break
into the Grant County Jail in Marion, Indiana, to seize and lynch three young Black men
who had been accused of murder and assault. Thomas Shipp and Abram Smith, both 19
years old, were severely beaten and hanged, while the third young man, 16-year-old
James Cameron, was badly beaten but not killed. Photographs of the brutal lynching
were shared widely, featuring clear images of the crowd posing beneath the hanging
corpses, but no one was ever prosecuted or convicted. 192 The haunting images inspired
writer Abel Meeropol to compose the poem that later became the song Strange Fruit. 193




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        Even in states withINTRODUCTION
                            sparse Black populations
        and very few documented racial terror
        lynchings, violent attacks terrorized small and
        vulnerable Black communities. On June 15,
        1920, in Duluth, Minnesota, a mob of 5000
        people lynched three Black men named Isaac
        McGhee, Elmer Jackson, and Elias Clayton.

After seizing the men from jail, where they were being held on charges of assault, the
mob ignored the pleas of a local white clergyman to spare the young men, and hanged
them from a light pole. 194




In Omaha, Nebraska, in October 1891, thousands of white people gathered to seize
George Smith, a Black man, from the local jail after he was accused of assault. Though
he had an alibi and most reports of the alleged crime were false, the mob beat Mr.
Smith, dragged him through the streets with a rope around his neck, and then hanged
him from telephone wires in front of a local opera house. Despite the severe physical
injuries inflicted, the coroner concluded that Mr. Smith had died of “fright.” As a result,
seven white men, including the local police captain, who were arrested for coordinating
the lynching were never prosecuted. 195




More than twenty-five years later, another Omaha lynching led to death and
destruction for Black residents.




        After a Black man named Will Brown was
        accused of attempting to assault a white
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       woman, a mob set the    local courthouse on fire
                          INTRODUCTION
       and pulled him from the jail. The mob beat Mr.
       Brown, hanged him from a telegraph post,
       riddled his body with bullets, and then dragged
       his burning corpse through the streets until it
       was mutilated beyond recognition. The
       violence soon spread into a “riot” that
       destroyed property throughout Omaha’s Black
       community.

Fragments of the rope used to hang Mr. Brown were sold for ten cents as souvenirs to
white spectators. 196 An infamous photograph of Will Brown’s charred corpse is among
the most inhumane images of lynching in America that survive today.




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  Howard University students protest outside the National Crime Conference in Washington, DC,
  1934. (© Bettmann/Getty Images.)




                                               IV




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                   ENABLING    AN ERA OF
                         INTRODUCTION

                   LYNCHING: RETREAT,
                 RESISTANCE, AND REFUGE




           The lynching era was fueled by the movement to
           restore white supremacy and domination, but
           Northern and federal officials who failed to act as
           Black people were terrorized and murdered
           enabled this campaign of racial terrorism. For
           more than six decades, as Southern whites used
           lynching to enforce a post-slavery system of
           racial dominance, white officials outside the
           South watched and did little.




            T U R N I N G A B L I N D E Y E TO LY N C H I N G : N O R T H E R N
                           AND FEDERAL COMPLICITY



Congress made efforts to pass federal anti-lynching bills throughout the lynching era,
but Southern white representatives predictably and consistently protested so-called
federal interference in local affairs. 197 Southern states passed their own anti-lynching

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laws to demonstrate that federal legislation was unnecessary, 198 but refused to enforce
                                    INTRODUCTION
them.




        Very few white people were convicted of
        murder for lynching a Black person in America
        during this period,199 and of all lynchings
        committed after 1900, only 1 percent resulted
        in a lyncher being convicted of a criminal
        offense.200


After Reconstruction, many Northern politicians embraced the goal of “sectional
reconciliation” and disavowed federal authority to prosecute lynchers in the South. The
United States Supreme Court’s 1876 decision in Cruikshank , which limited Congress’s
power to pass laws deemed to effect local concerns, helped to create more political and
rhetorical hurdles to combat the coming crisis of lynching. 201




Throughout the lynching era, as thousands of Black people were killed and countless
more were terrorized by racial violence, Congress repeatedly failed to muster enough
votes to pass any of the anti-lynching statutes proposed, largely due to arguments that
no such law could withstand a constitutional test under the Court’s Reconstruction-era
precedent. 202 Further, the majority opinion in Cruikshank had declared—barely a decade
after emancipation—that formerly-enslaved people had reached the “stage in the
progress of his elevation when he takes the rank of a mere citizen, and ceases to be the
special favorite of the laws,” and thus had no claim to specialized legal protection. 203




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         Southern officials seized  on this rhetoric and
                             INTRODUCTION
         argued that, because lynching primarily
         affected Black people, federal lynching
         legislation constituted racial “favoritism” and
         reprised what most regarded as failed
         Reconstruction-era policies.204


Federal inaction from a Republican-controlled government weakened Black voters’
loyalty to the “party of Lincoln. 205 In 1885, Democrats won the White House for the first
time since the Civil War. 206 Rather than work to regain Black voters’ support by
addressing concerns like lynching, Northern Republicans conspired with their political
opponents to remove African Americans from the national political scene altogether. In
November 1885, journalist, activist, and anti-lynching crusader Ida B. Wells wrote an
editorial critiquing both parties’ failure to serve the Black electorate:




“I am not a Democrat [because] the Democrats considered me a chattel and possibly
might have always so considered me, because their record from the beginning has been
inimical to my interests; because they had become notorious in their hatred of the
Negro as a man, have refused him the ballot, have murdered, beaten and outraged him
and refused him his rights. I am not a Republican, because . . . a Republican Supreme
Court revoked a law of a Republican Congress and sent the Negro back home for justice
to those whom the Republican party had taught the Negro to fear and hate. Because
they care no more for the Negro than the Democrats do, and because even now, and
since their defeat last November, the Republican head and the New York Republican
Convention are giving vent to utterances and passing resolutions recommending State
rights, and the taking from the Negro—for the reason his vote is not counted, but
represented in the Electoral College, that they claim his gratitude for giving—the
ballot.” 207

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By 1886, a “New South” controlled by white supremacist leaders was largely established.
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        The dominant political narrative blamed
        lynching on its victims, insisting that brutal
        mob violence was the only appropriate
        response to the growing scourge of Black men
        raping white women.208

Northern academics promoting the field of "scientific racism" concocted theories to
legitimate the claim that Black men were dangerous subhumans predisposed to rape. By
the late 1880s, numerous American scholars viewed African Americans as “a race that
was devolving on the scale of civilization and becoming increasingly dangerous.” 209
University of Pennsylvania professor Daniel G. Brinton, who later became president of
the International Congress of Anthropology and the American Association for the
Advancement of Science, opined in 1890 that Black people had regressed to “midway
between the Orang-utang and the European white.” 210 Brown University sociologist
Lester Ward likewise concluded in 1930 that the Black man was compelled by the
“imperious voice of nature to rape white women and thus raise his race to a little higher
level.” 211 It would be another two decades before liberal anthropologists and other social
scientists debunked these malicious myths, marking a turning point in the public
discourse about race. 212




Meanwhile, Southern white politicians relied on “lynching and vigilantism as
instruments of political terrorism” 213 to recreate state governments based in white
supremacy and worked hard to defeat proposed federal laws that would have protected
Black citizens’ voting rights. Southern officials branded proposed voter protection
legislation a “Force Bill” that would trample states’ rights and create a dangerous “new
Reconstruction” in which increased Black voting would arouse Black criminality. 214 Its

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success in defeating efforts to protect and restore Black Americans’ voting rights
                                     INTRODUCTION
allowed the Southern-dominated Democratic Party to win the White House and a
majority of Congress in 1892—just as the national lynching rate soared.




        The Republican Party responded to its electoral
        defeat by abandoning racial equality as a
        platform; it “defected entirely to the resurgent
        white supremacist order,” and in 1896 regained
        power by running “strictly as a party of
        economic interests, not civil rights.”215


By the start of the twentieth century, national leaders had learned to profitably employ
popular white supremacist views and pro-lynching rhetoric.




        In 1906, President Theodore Roosevelt declared
        that “the greatest existing cause of lynching is
        the perpetration, especially by Black men, of
        the hideous crime of rape.”216

“Let [the Black man] keep his hands off white women,” the Memphis Avalanche-Appeal
editorialized, “and lynching will soon die out.” 217 “[If ] it requires lynching to protect
woman’s dearest possession from ravening, drunken human beasts,” white women’s
rights activist Rebecca Felton wrote in the Atlanta Journal in 1898, “then I say lynch a
thousand a week if necessary.” 218




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                                     O P P O S I T I O N TO LY N C H I N G
                                                 INTRODUCTION

With fading voting power and few allies in either national political party, African
Americans undertook their own efforts to combat the terror of lynching through
grassroots activism. Black people targeted members of the white lynch mobs for
economic retaliation by boycotting their businesses, refusing to work for them, and
setting fire to their property. 219 To thwart lynching attempts, Black people risked
serious harm to hide fugitives, organized sentinels to guard prisoners against lynch
mobs, 220 and engaged in armed self-defense. 221




                                                            Black anti-lynching activists like
                                                            journalists Ida B. Wells 222 and T. Thomas
                                                            Fortune and Tuskegee sociologist
                                                            Monroe Work harnessed the growing
                                                            power of the Black press. 223 Their
                                                            articles demanded that lynch mobs be
                                                            held accountable for committing murder
Protestors demand that President Truman take action
                                                            and launched a public education
against lynching, 1946. (© Bettmann/Getty Images.)
                                                            campaign to combat the spread of
                                                            misinformation and dispute the myth of
                                                            widespread Black-on-white rape. 224
                                                            Black advocates also formed national
                                                            anti-lynching organizations and
                                                            petitioned for legislation and official
                                                            intervention in response to lynchings. 225
In February 1898, a white mob in Lake City, South Carolina, set fire to the home of the
Baker family and riddled it with gunshots, killing Frazier Baker and his infant daughter,
Julia, and leaving his wife and five surviving children wounded and traumatized. Baker, a
Black man, had aroused the hatred of the predominately white community when
President William McKinley appointed him to the position of local postmaster. After
efforts to have Baker removed from the post failed, local whites resorted to mob

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violence. 226 The murder prompted a national campaign of letter-writing, activism, and
                                    INTRODUCTION
advocacy spearheaded by Wells and others, which ultimately persuaded President
McKinley to order a federal investigation that resulted in the prosecution of eleven
white men implicated in the Baker lynching. Despite ample evidence, an all-white jury
refused to convict any of the defendants.




                          IDA B. WELLS


Anti-lynching crusader Ida Bell Wells was born into slavery in Holly Springs, Mississippi,
in 1862. 227 At age eighteen, she moved to Memphis to work as a teacher and at age
twenty-two, she sued the Chesapeake & Ohio & Southeastern Railroad Company for
forcibly removing her from a train after she refused to be reseated in a segregated car.
Though she ultimately lost the case, the effort foreshadowed her lifelong fight against
racial injustice. 228




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An avid reader and writer, Ms. Wells
                                   INTRODUCTION
became a popular columnist in Black
newspapers while in Memphis,
eventually rising to editor and part
owner of the local Free Speech and
Headlight. 229 She regularly used the
platform to criticize racial inequality.
When Thomas Moss, Calvin McDowell,
and Henry Stewart—three Black men and
friends of Ms. Wells—were brutally
lynched in Memphis in March 1892 for
defending their grocery business against
white attackers, she immediately
published an editorial urging Memphis’s
Black community to “save our money and
leave a town which will neither protect
                                                (Wikimedia Commons)
our lives and property, nor give us a fair
trial in the courts, but takes us out and
murders us in cold blood when accused
by white persons.” 230
More than 6000 African Americans heeded the call, but Ms. Wells stayed to promote the
movement she had begun. In May 1892, she published another editorial that challenged
the claim that lynching was necessary to protect white womanhood. In response,
Memphis’s white newspapers denounced and derided Ms. Wells as a “black scoundrel.”
On May 27, 1892, while she was visiting Philadelphia, a white mob attacked and
destroyed the Free Speech and Headlight office and threatened her with bodily harm if
she returned. 231




Ms. Wells relocated to New York, where she continued her anti-lynching efforts by
writing for the New York Age , publishing several anti-lynching pamphlets, and
embarking on a speaking tour through the Northern states and Britain, where she

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decried the atrocities of lynching and urged federal and international intervention. 232
                                     INTRODUCTION
Ultimately settling in Chicago, Ms. Wells became Mrs. Wells-Barnett and raised five
children while collaborating with leaders like Frederick Douglass and W. E. B. Du Bois;
helping to found the NAACP; organizing legal aid for victims of the 1918 race riots;
publicly challenging racism within the women’s rights movement; and remaining the
nation’s foremost anti-lynching crusader for forty years. 233




In the preface to her 1892 pamphlet, Southern Horrors , Ida B. Wells-Barnett
described the goal of her life’s work: “The Afro American is not a bestial race. If this
work can contribute in any way toward proving this, and at the same time arouse the
conscience of the American people to a demand for justice to every citizen, and
punishment by law for the lawless, I shall feel I have done my race a service. Other
considerations are of minor importance.” 234 She died of natural causes in Chicago in
1931, as the terror of the lynching era still raged and before the legacy of her tireless
dedication was fully realized.




        Black efforts to combat racial violence during
        the lynching era spawned many important
        Black organizations, including the nation’s
        most effective and longstanding, the National
        Association for the Advancement of Colored
        People (NAACP).

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The NAACP formed in direct response to racial attacks in Springfield, Illinois, in 1908—
                                    INTRODUCTION
an outbreak of violence that shocked Northerners and demonstrated that lynching was
not only a Southern phenomenon. 235 When it officially launched in 1910, the NAACP’s
president, treasurer, board chair, and secretary were all white men; the organization
was one of the first in America in which white and Black, male and female members
worked side by side on a public level. 236 When the NAACP made lynching a primary
focus in 1912, 237 its support in the Black community soared. By 1919, 310 chapters
boasted 91,203 members nationwide. 238 Black scholar and activist W. E. B. Du Bois
served as editor of the NAACP news magazine The Crisis . By 1919, the magazine had a
circulation of 100,000 and soon became the most influential race publication in the
country’s history. 239




           NAACP Youth Council anti-lynching protest in Times Square, New York, 1937 (Picture History)




Due in large part to the racist propaganda disseminated during World War I 240 and the
nationwide outbreak of racial violence that characterized the “Red Summer” of 1919, 241
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lynching became a major national issue by the 1920s. The NAACP launched a renewed
                                    INTRODUCTION
campaign for federal anti-lynching legislation that succeeded in winning passage of the
Dyer anti-lynching bill in the House of Representatives on January 26, 1922, by a vote of
231-119. 242




         Southern lawmakers mobilized against the bill
         in the Senate, resurrecting familiar objections
         demanding "states’ rights," 243 alleging racial
         favoritism, and warning of the threat of Black
         rapists.

Southern representatives appealed to racial division by accusing the law’s supporters of
promoting an unconstitutional bill to satisfy “Negro agitators” 244 and shield rapists from
justice. 245 Tennessee Representative Finis J. Garrett suggested the bill’s title be
amended to read, “A bill to encourage rape.” 246




         In the end, Southern Democrats filibustered the
         Dyer bill in the Senate and, on December 4,
         1922, it was officially abandoned.247


The NAACP continued to push for federal anti-lynching legislation into the 1930s.
Though white supremacist Southern Democrats continued to use the filibuster to
defeat proposed bills, 248 the NAACP’s campaign decrying lynching as “America’s shame”
helped turn the tide of public opinion—including in the South.




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        In 1919, a group of INTRODUCTION
                            primarily white Southerners
        formed the anti-lynching Committee on
        Interracial Cooperation in Atlanta, and in 1930,
        it launched the Association of Southern Women
        to Prevent Lynching (ASWPL). By 1940, the
        ASWPL claimed 40,000 supporters,249 and by
        1937, Gallup polls showed overwhelming white
        support for anti-lynching legislation.250


The NAACP’s campaign persuaded some Southern newspapers to oppose lynching
because it was damaging the South’s image and economic prospects. 251




        By the mid-1930s, “forward-looking white
        Southerners were compelled to adopt the
        position that lynching was barbaric and
        disgraceful, even as they continued to defend
        white supremacy or rail against Black
        criminality.”252

Also, in the 1940s, for the first time in four decades the Federal Bureau of Investigation
increased investigations of lynchings, 253 and the Department of Justice began using
NAACP lawyer Charles Hamilton Houston’s legal theory that the Ku Klux Klan Act of 1871
created federal jurisdiction over such crimes. 254




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        When national lynching    rates declined
                            INTRODUCTION
        markedly in the 1930s, NAACP Executive
        Secretary Walter White attributed the trend to
        these shifts in the public discourse and to anti-
        lynching activism, as well as to the Great
        Migration.255

Beginning during World War I and continuing through the end of the 1940s, massive
numbers of African Americans fled the South’s racial caste system to seek opportunity
and security in the Northeast, West, and Midwest. Within a single decade, the Black
populations of Georgia and South Carolina declined by 22 percent and 24 percent,
respectively. 256 Investigating these relocation trends, the United States Department of
Labor observed that one of the “more effective causes of the exodus . . . is the Negroes’
insecurity from mob violence and lynchings.” 257




Black flight in the face of violent racial terrorism was not a new or mysterious Southern
phenomenon. “Tell my people to go West, there is no justice for them here” were the
last words of lynching victim Thomas Moss, and thousands of Black residents left
Memphis after he and two others were lynched there in 1898. 258 When parts of Georgia
experienced a mass Black exodus after gruesome lynchings in 1915 and 1916, the local
planters “attributed the movement from their places to the fact that the lynching
parties had terrorized their Negroes.” 259




In a brutal environment of racial subordination and terror, faced with the constant
threat of harm, close to six million Black Americans fled the South between 1910 and
1970. Many left behind their homes, families, and employment after a lynching or
near-lynching rendered home too unsafe a place to remain. Many shared the


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experience of George Starling, a young Black man working in the orange groves of
                                       INTRODUCTION
Eustis, Florida, in 1944, who fled for his life after word spread that he was seeking
better working conditions. “Men had been hanged for far less . . . And there would be no
protecting him if he stayed.” 260




Though the growth of Northern cities and wartime industrial work increased the
volume of Black movement out of the South, the terror of lynching and other racial
violence had long made the South a tenuous homeland for Black Americans. In a letter
published in the Chicago Defender , one Black migrant explained,




        “After twenty years of seeing my people
        lynched for any offense from spitting on a
        sidewalk to stealing a mule, I made up my mind
        that I would turn the prow of my ship toward
        the part of the country where the people at
        least made a pretense at being civilized.”261


In each successive decade of the Great Migration, the number of lynchings in the South
declined as Black departures from the region rose. 262 In 1952, for the first time since
the Tuskegee Institute began tabulating records in 1882, a full year passed with no
recorded lynchings in the United States. 263




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           LY N C H I N GINTRODUCTION
                           S OF MEXICAN
                              NATIONALS


Lynching and racial violence in border states of the South and Southwest from 1849 to
1928 targeted Mexican nationals and Mexican Americans, who were shot en masse and
lynched by mobs that often included Texas Rangers and other law enforcement officials.




While these lynchings frequently took place after an allegation of crime, Latino people,
like African Americans, were considered undeserving of arrest and trial, and some were
lynched not for crimes but for social transgressions such as “practicing witchcraft,”
suing a white person, or yelling “Viva Diaz.”




Researchers estimate that hundreds of Mexican nationals and Mexican Americans were
lynched in the South and Southwest during this period, and have identified 232
lynchings in Texas alone.




Scholars have argued that these lynchings in border states served to establish white
economic, political, and social dominance in the border areas acquired by the United
States following the war with Mexico. Violence forced Mexican residents of territory




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newly claimed by the United States to flee their homes, allowing whites to seize their
                                   INTRODUCTION
land and natural resources. 264




          Martin Luther King Jr. being booked at the Montgomery Jail in 1958 for civil rights activism.
          (Charles Moore/Getty Images.




                                                           V




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         CONFRONTING     LYNCHING
               INTRODUCTION




  When the era of racial terror and widespread
  lynching ended in the mid-twentieth century, it
  left behind a nation and an American South
  fundamentally altered by decades of systematic
  community-based violence against Black
  Americans. The effects of the lynching era
  echoed through the latter half of the twentieth
  century. African Americans continued to face
  violent intimidation when they transgressed
  social boundaries or asserted their civil rights,
  and the criminal justice system continued to
  target people of color and victimize African
  Americans. These legacies have yet to be
  confronted.




     VIOLENT INTIMIDATION AND OPPOSITION TO
                            EQUALITY




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After the rate of lynchings abated, the central feature of the era of racial terror—
                                      INTRODUCTION
violence against Black Americans—took new forms. The social forces and racial animus
that made lynching a frequent occurrence and constant threat in the late nineteenth
and early twentieth centuries remained deeply rooted in American culture, and violent
intimidation continued to be used to preserve social control and white supremacy.
African Americans in the South faced violence, threats, and intimidation in myriad areas
of daily life, with no protection from the justice system.




Black Southerners who survived the lynching era remained subject to the established
legal system of racial apartheid known as Jim Crow.




        As organized resistance to this racial caste
        system began to swell in the early 1950s, Black
        demonstrators were met with violent
        opposition from white police officers and
        community members.

Black activists protesting racial segregation and disenfranchisement through boycotts,
sit-ins, voter registration drives, and mass marches consistently faced physical attacks,
riots, and bombings from whites.




As a leader of the nonviolent protest movement, Reverend Dr. Martin Luther King Jr.
challenged white law enforcement officials and private citizens who issued death
threats, physically assaulted him at public lectures, and bombed his Montgomery,
Alabama, home while his wife and infant daughter were inside. Police attacked
demonstrators during highly publicized events like Bloody Sunday in Selma, Alabama, in
1965. Even Black children engaging in peaceful demonstrations were at great risk of

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harm and death. In 1963, four young girls were killed when the Sixteenth Street Baptist
                                    INTRODUCTION
Church in Birmingham, Alabama, was bombed, and that year, more than 700 Black
children protesting racial segregation in the city were arrested, blasted with fire hoses,
clubbed by police, and attacked by police dogs.




Closely mirroring the era of lynching, police in Mississippi facilitated the
extrajudicial murders of civil rights workers Andrew Goodman, James Chaney, and
Michael Schwerner in 1964 by delivering the men to a white mob after detaining them
for an alleged traffic violation. A mob of Ku Klux Klansmen, who had gathered during
the several hours the three young men were held in jail, was ready and waiting to
seize and murder them upon release. 265 Just as lynchings had been justified in the
preceding decades, these violent incidents were defended as necessary to maintain
“law and order.”




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  "Missing" sign of Goodman, Chaney, and Schwerner




       SHERIDAN, ARKANSAS

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On Tuesday, October 6, 1903, a mob of masked men took Ed McCollum, a Black citizen
                                    INTRODUCTION
of Grant County, Arkansas, from the county jail in Sheridan. The men tied him to a tree
on the lawn of the county courthouse in the town’s center square and shot him to
death, leaving his body “riddled with bullets.” 266 Mr. McCollum had been in the county
jail since the previous Saturday for wounding a local constable during an arrest. 267
Newspaper coverage of the lynching was terse and matter-of-fact, a reflection of how
common such extrajudicial killings of African Americans had become during this time
and in this region.




The town of Sheridan remained a hostile environment for African Americans in the
following decades, but some found work at the local sawmill and built a small, resilient
Black community.




In May 1954, four days after the United States Supreme Court’s ruling in Brown v. Board
of Education banned racial segregation in public schools, Sheridan’s school board
unanimously voted to integrate its junior high and high schools. 268 Under the vote,
twenty-one Black students would join six hundred white students in upper school that
fall and were guaranteed a discrimination-free experience in athletics, cafeteria service,
and school dances. 269 Younger Black students would continue to attend the local two-
room segregated lower school. 270 The district’s swift move toward integration, which
made Sheridan the first community in the South to take such action after Brown , was
likely influenced by the fact that the town was spending nearly $5000 per year to
maintain segregation by busing Black high school students to a segregated school
twenty-five miles away. 271




Just one day after the school board’s historic vote, hundreds of Sheridan’s white
residents organized a protest meeting in the high school gymnasium. In response, the
school board unanimously rescinded its integration resolution, citing a “sincere desire
to be representatives of our patrons in school matters.” 272 Unsatisfied, several hundred

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white citizens circulated a petition calling for the resignation of the entire school
                                      INTRODUCTION
board; all but one member ultimately stepped down.




Jack Williams, owner of the local sawmill and landlord for most of its employees, then
approached Black families living on his property and demanded that they let him move
their wooden shack homes to Malvern, twenty miles to the west, or he would evict them
and burn their homes to the ground. Of course, the Black sawmill workers moved to
Malvern, and much of Sheridan’s Black community followed. 273




Recently, James Seawood, a Black man who attended Sheridan’s segregated
elementary school as a child, recalled marveling at the white school’s huge building,
marching band, and football team from atop the sawmill’s lumber stacks before
returning to his own two-room school with two teachers and outdoor toilets. Mr.
Seawood’s mother was the last Black teacher in Sheridan. Just before they left town,
they watched a bulldozer dig a large hole and push the entire school into the ground,
then cover it up, wiping out all evidence of its existence. 274




Much of Sheridan’s racial history of lynching, segregation, and violent intimidation has
also been buried. The town remained completely white for decades, and its public
schools did not desegregate until 1992, when the school districts of two small
interracial communities nearby consolidated with the larger district. Even then,
Sheridan’s white parents and students yelled racial epithets during high school sporting
events against interracial teams. In 2014, less than 2 percent of the town’s residents
were African American. 275




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            R A C I A L LY- B I A S E D C R I M I N A L J U S T I C E A N D M A S S
                                        INTRODUCTION
                                    CRIMINALIZATION




        Lynching and racial terror profoundly
        compromised the criminal justice system.

Extrajudicial mob violence operated hand-in-hand with legal execution as a means of
exercising lethal social control over the Black population. Neither lynching nor “legal
executions” required reliable findings of guilt, and complicit law enforcement officers
handed over prisoners to the lynch mob. 276




Southern courts were deeply embedded in the exploitation of Black workers in the
South long after the formal abolition of slavery. States exploited the Thirteenth
Amendment’s exemption for prisoners by passing "Black Codes" and convict leasing laws
that branded Black people as criminals to facilitate their reenslavement for state
profit. 277 Further, although the Civil Rights Act of 1875 and Supreme Court rulings
banned racial discrimination in jury selection, 278 local officials barred African Americans
from serving on juries. 279 African Americans “virtually disappeared from the Southern
jury box by 1900, even in counties where they constituted an overwhelming majority of
the local population,” 280 which reinforced the impunity under which lynching
flourished. 281 The fairness of the judicial system was wholly compromised for African
Americans, and the courts operated as tools of their subjugation.




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  Prisoners from Limestone Correctional Facility in Alabama work on a “chain gang” as punishment,
  1995. (© Andrew Holbrooke/Getty Images.)




Lynching also directly fostered the racialization
of criminality. Whites defended vigilante
violence aimed at Black people as a necessary
tactic of self-preservation to protect property,
families, and the Southern way of life from
dangerous Black criminals.


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The link between lynching and the image of African Americans as “criminal” and
                                   INTRODUCTION
“dangerous” was sometimes explicit, such as when lynchings occurred in response to
allegations of criminal behavior. In other cases, white mobs justified lynching as a
preemptive strike against the threat of Black violent crime.




Decades of racial terror in the American South reflected and reinforced a view that
African Americans were dangerous criminals who posed a threat to innocent white
citizens.




        Although the Constitution’s presumption of
        innocence is a bedrock principle of American
        criminal justice, African Americans were
        assigned a presumption of guilt.


America has never addressed the effects of racial violence, the criminalization of
African Americans, and the critical role these phenomena have played in shaping the
American criminal justice system, particularly in the South. The Civil Rights Act of 1964,
a signature legal achievement of the civil rights movement, contains provisions
designed to eliminate discrimination in voting, education, and employment, but it does
not address discrimination in criminal justice. Though the most insidious tool of racial
subordination throughout the era of racial terror and its aftermath, the criminal justice
system remains the institution in American life least impacted by the civil rights
movement. Similarly, the system’s endorsement of racist myths of Black criminality has
never been meaningfully confronted. The unprecedented level of mass incarceration in
America today is a contemporary manifestation of these past distortions and abuses
that continues to limit the opportunities of our nation's most vulnerable.




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    Protest rally for Black teens criminally prosecuted for a fight over a “lynching tree” in Jena,
    Louisiana, 2007 (AP)




LY N C H I N G ' S L E G A C Y : C A P I T A L
   PUNISHMENT IN AMERICA



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“Perhaps the most important reason that lynching declined is that it was replaced by
                                     INTRODUCTION
a more palatable form of violence.” 282




As early as the 1920s, lynchings were disfavored because of the “bad press” they
garnered. Southern legislatures shifted to capital punishment so that legal and
ostensibly unbiased court proceedings could serve the same purpose as vigilante
violence: satisfying the lust for revenge. 283




The most famous attempted “legal lynching” likely is that of the so-called Scottsboro
Boys—nine young African Americans charged with raping two white women in
Scottsboro, Alabama, in 1931. White mobs converged outside the courtroom during the
trial to demand that the accused be executed. Represented by incompetent lawyers, the
nine were convicted by all-white, all male juries within two days, and all but the
youngest were sentenced to death. When the NAACP and others launched a national
movement to challenge the cursory proceedings, “the white people of Scottsboro did
not understand the reaction. After all, they did not lynch the accused; they gave them a
trial.” 284 Many defendants of the era learned that being sentenced to death rather
than lynched did little to increase the fairness of trial, reliability of conviction, or
justness of sentence.




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           The “Scottsboro Boys,” 1931 (Bettmann/Getty Images.)




Northern states had abolished public executions by 1850, but some Southern states
authorized the practice until 1938. 285 Public hangings were often racialized displays
intended to deter mob lynchings more than individual crimes. 286 Following Will Mack’s
execution by public hanging in Brandon, Mississippi, in 1909, the Brandon News
reasoned that “public hangings are wrong, but under the circumstances, the quiet
acquiescence of the people to submit to a legal trial, and their good behavior
throughout, left no alternative to the board of supervisors but to grant the almost
universal demand for a public execution.” 287 Mobs often succeeded in forcing a public
hanging in Southern states where the practice was illegal.


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In Sumterville, Florida, in 1902, a Black man named Henry Wilson was convicted of
                                       INTRODUCTION
murder in a trial that lasted just two hours and forty minutes. To mollify the mob of
armed whites that filled the courtroom, the judge promised the death sentence would
be carried out by public hanging, despite state law prohibiting public executions. Even
so, when the execution was set for a later date, the enraged mob threatened, “We’ll
hang him before sundown, governor or no governor.” 288 Florida officials quickly
moved up the date, authorized Mr. Wilson to be hanged before a jeering mob, and
congratulated themselves on the “avoided” lynching.




           James Keaton was executed in Columbus, Mississippi, in 1934. (Univ. North Carolina at Chapel Hill,
           Wilson Special Collections Library.)



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By 1915, court-ordered executions outpaced lynchings in the former slave states for the
                                      INTRODUCTION
first time. 289 Two-thirds of those executed in the 1930s were Black, 290 and the trend
continued. As African Americans fell to just 22 percent of the South’s population
between 1910 and 1950, they constituted 75 percent of those executed in the South
during that period. 291




In the 1940s and 1950s, the NAACP’s Legal Defense Fund (LDF) began a multi-decade
litigation strategy to challenge the American death penalty—which was most active in
the South—as racially-biased and unconstitutional. 292 They won in Furman v. Georgia in
1972 when the United States Supreme Court struck down Georgia’s death penalty
statute, holding that capital punishment too closely resembled “self-help, vigilante
justice, and lynch law” and that “if any basis can be discerned for the selection of these
few to be sentenced to die, it is the constitutionally impermissible basis of race.” 293




Southern opponents decried the decision and immediately proposed new death penalty
statutes. 294 In 1976, in Gregg v. Georgia , the Supreme Court upheld Georgia’s new death
penalty statute and reinstated the American death penalty, capitulating to the claim
that legal executions were needed to prevent vigilante violence. 295




The new death penalty statutes
continued to result in racial imbalance,
and constitutional challenges persisted.
In the 1987 case of McCleskey v. Kemp ,
the Supreme Court considered statistical
evidence demonstrating that Georgia
decisionmakers were more than four
times as likely to impose death for the
                                                 (Doug Marlette, Atlanta Constitution, 1987)
killing of a white person than a Black
person. Accepting the data as accurate,

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The Court described racial bias in
                                    INTRODUCTION
sentencing as “an inevitable part of our
criminal justice system” 296 and upheld
Warren McCleskey’s death sentence
because he had failed to identify a
“constitutionally significant risk of
racial bias” in his case. 297
Race remains a significant factor in capital sentencing. African Americans make up less
than 13 percent of the nation’s population, but nearly 42 percent of those currently on
death row in America are Black, 298 and 34 percent of those executed since 1976 have
been Black. 299 In 96 percent of states where researchers have completed studies
examining the relationship between race and the death penalty, results reveal a pattern
of discrimination based on the race of the victim, the race of the defendant, or both. 300
Capital trials today remain proceedings with little racial diversity; the accused is often
the only person of color in the courtroom and illegal racial discrimination in jury
selection is widespread, especially in the South and in capital cases. In Houston County,
Alabama, prosecutors have excluded 80 percent of qualified African Americans from
juries in death penalty cases. 301




More than eight in ten American lynchings between 1889 and 1918 occurred in the
South, and more than eight in ten of the nearly 1400 legal executions carried out in this
country since 1976 have been in the South. 302 Modern death sentences are
disproportionately meted out to African Americans accused of crimes against white
victims; efforts to combat racial bias and create federal protection against racial bias in
the administration of the death penalty remain thwarted by familiar appeals to the
rhetoric of states’ rights; and regional data demonstrates that the modern death penalty
in America mirrors racial violence of the past. 303 As contemporary proponents of the
American death penalty focus on form rather than substance by tinkering with the




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aesthetics of lethal punishment to improve procedures and methods, capital
                                    INTRODUCTION
punishment remains rooted in racial terror—“a direct descendant of lynching.” 304




          Public whipping in Wilmington, Delaware, 1920 (Library of Congress)




                                                        VI




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     TRAUMA AND   THE LEGACY OF
             INTRODUCTION

            LYNCHING




  The lynching era left thousands dead; it
  significantly marginalized Black people in the
  country’s political, economic, and social systems;
  and it fueled a massive migration of Black
  refugees out of the South. In addition, lynching—
  and other forms of racial terrorism—inf licted
  deep traumatic and psychological wounds on
  survivors, witnesses, family members, and the
  entire African American community. Whites
  who participated in or witnessed gruesome
  lynchings and socialized their children in this
  culture of violence also were psychologically
  damaged. And state officials’ indifference to and
  complicity in lynchings created enduring national
  and institutional wounds that we have not yet
  confronted or begun to heal. Establishing
  monuments and memorials to commemorate
  lynching has the power to end the silence and


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             inaction that have compounded this psychosocial
                                      INTRODUCTION
             trauma and to begin the process of recovery.




                THE NEED FOR MONUMENTS AND MEMORIALS



In 2007, Sherrilyn A. Ifill outlined the critical need for memorializing the history of
lynching in this country. Her powerful book persuasively made the case for why public
memorials on lynching should be an American priority. 305 Very few public
commemorations of African Americans’ suffering during the post-slavery era exist
today. Formal remembrances of national racial history tend to celebrate the civil rights
movement’s victories, focusing on individual achievements and success stories rather
than reflecting on the deeply-rooted, violent resistance that upheld the racial caste
system for so long. Honoring civil rights activists and embracing their successes is
appropriate and due, but when they are not accompanied by meaningful engagement
with the difficult history of systematic violence perpetrated against Black Americans for
decades after slavery, such celebrations risk painting an incomplete and distorted
picture.




Until the opening of EJI’s National Memorial for Peace and Justice in 2018, no prominent
monument or memorial commemorated the thousands of African Americans who were
lynched during the American era of racial terrorism.




           Of the 4084 Southern lynchings documented in
           this report, the overwhelming majority took
           place on sites that remain unmarked and
           unrecognized.
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        In contrast, the landscape    of the South is
                             INTRODUCTION
        cluttered with plaques, statues, and
        monuments that record, celebrate, and lionize
        generations of American defenders of white
        supremacy, including countless leaders of the
        Confederate war effort and white public
        officials and private citizens who perpetrated
        violent crimes against Black citizens during the
        era of racial terror.306 Many of these
        monuments, markers, and memorials have
        been erected in just the last sixty years.307


        In this context, the lack of public memorials
        acknowledging racial terrorism is a powerful
        statement about our failure to value the African
        Americans who were killed or gravely wounded
        in this brutal campaign of racial violence.


The era of racial terror calls for serious and informed reflection as well as public
acknowledgment of the lives lost. President Jimmy Carter, commenting on the United
States Holocaust Memorial, observed that “because we are humane people, concerned
with the human rights of all peoples, we feel compelled to study the systematic
destruction of the Jews so that we may seek to learn how to prevent such enormities
from occurring in the future.” 308 The effort to create a Holocaust Memorial in Berlin
reflected the sense that, in the face of Germany’s devastating history, “a deliberate act
of remembrance” was necessary—“a strong statement that memory must be created for
                                                                                       EoR - 1373 of 2347
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the next generation, not only preserved.” 309 National commemoration of the atrocities
                                    INTRODUCTION
inflicted on African Americans during decades of racial terrorism is an important step
towards establishing trust between the survivors of racial terrorism and the
governments and legal systems that failed to protect them. Meaningful public
accountability is critical to bring the cycle of racial violence to a close.




Formal spaces that memorialize mass violence help to establish trust between
communities and build faith in government institutions. 310




        Lynchings occurred in communities where
        African Americans today remain marginalized,
        disproportionately poor, overrepresented in
        prisons and jails, and underrepresented in
        decisionmaking roles in the criminal justice
        system—the institution most directly
        implicated in facilitating lynching and failing to
        protect Black Americans from racial violence.

Only by telling the truth about the age of racial terror and collectively reflecting on this
period and its legacy can we hope that our present-day conversations about racial
exclusion and inequality — and any policies designed to address these issues — will be
accurate, thoughtful, and informed.




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           EJI and community leaders dedicated this public marker about lynching in Letohatchee, Alabama.




                SIGNIFICANCE FOR THE AFRICAN AMERICAN
                                               COMMUNITY



The level and type of violence that characterized lynching went beyond “ordinary
modes of execution and punishment,” as historian Leon F. Litwack explains. “The story
of a lynching [] is more than the simple fact of a Black man or woman hanged by the
neck. It is the story of slow, methodical, sadistic, often highly inventive forms of
torture and mutilation.” 311 Whether the victims were family members, friends,
classmates, acquaintances, or strangers, African Americans who witnessed or heard



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about a lynching survived a deeply traumatic event and suffered a complex
                                     INTRODUCTION
psychological harm. 312




Each lynching or near-lynching instilled an overwhelming sense of fear and terror in
African Americans. Lynching underscored the “cheapness of Black life [and] reflected in
turn the degree to which so many whites by the early twentieth century had come to
think of Black men and women as inherently and permanently inferior, as less than
human, as little more than animals.” 313




        The traumatic experience of surviving mass
        violence creates “insecurity, mistrust, and
        disconnection from people”314—a series of
        psychological harms that were amplified by the
        dangers inherent in navigating Southern racial
        boundaries.

In the aftermath of a lynching, African Americans became “exceedingly circumspect in
their dealings with whites;” survivors bore the burden of being indebted to “their ‘white
friends’ for saving their lives.” 315




Anticipating white preferences and whims became a matter of safety and survival for
Black Southerners, leading one African American living in Atlanta in 1906 to comment
about the prominent role whites’ expectations played in Black people’s lives: “We don’t
talk about much else . . . It’s sort of life and death with us.” 316 In her study of lynching,
lawyer and scholar Sherrilyn Ifill explains that the killings created a “deep well of
suspicion” among African Americans, who became hypervigilant around white people
and taught their young children to do the same. 317 She describes a white judge’s
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recollection of his Black playmate’s deferential behavior days after a lynching in their
                                      INTRODUCTION
community; when the young Black child encountered his five- or six-year-old white
playmate, he quickly stepped off the sidewalk as his fearful mother had instructed him
to do. Black survivors most strictly observed racial boundaries in the aftermath of a
lynching. 318




At the same time that lynching provided whites a sense of community and enabled
white men to affirm and perform their manhood by “protecting” Southern women, it
undermined African Americans’ sense of community by forcing Black men, women, and
children to witness horrific acts perpetrated against their family, friends, and
neighbors. Emphasizing the power of white men through the targeted torture and death
of Black men—many for stepping outside their relegated social roles by achieving
economic success or demanding better treatment—lynching undermined Black
manhood and ensured that “Black men who defended Black womanhood were likely to
lose their lives in the effort.” 319




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           Lynching victims George Dorsey and Dorothy Dorsey Malcolm are buried by the Black community,
           Monroe, Georgia, 1946. (© Bettmann/Getty Images.)




This culture of fear created an environment in which African Americans who witnessed
lynchings or lost family or friends to racial violence were afraid to discuss their
experiences and risked violent reprisals if they dared to openly share what they had
seen. Their trauma was intensified by a culture of silence about racial violence that
grew out of the same systemic terror that produced racial violence. 320 In many ways,
this fear survives and the culture of silence endures. Seventy-five years after witnessing
the 1931 lynching of a classmate, one African American man remained unable to talk
about the experience except to say that “it was the worst thing he’d ever seen.” 321


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       Millions of Black Americans    left the South
                           INTRODUCTION
       between 1910 and 1970 in response to the
       instability and threat of violence that racial
       terror created in the region. These largely
       involuntary relocations compounded the
       trauma suffered by terror survivors, even as
       leaving the South improved their physical
       safety.

After generations in this country, Black Americans who moved to the North and West
were exiles—internally displaced people who “had more in common with the vast
movements of refugees from famine, war, and genocide in other parts of the world” 322
than with their new neighbors. African American migrants were less terrorized in their
new cities and towns, but they were not entirely welcomed.




       Institutional inequality, continued
       marginalization, and unaddressed histories of
       trauma have created a unique legacy of chronic
       generational poverty, persistent urban distress,
       debilitating violence, and limited educational
       opportunities.


           TRAUMATIC LEGACY FOR THE WHITE COMMUNITY




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The psychological harm inflicted by the era of terror lynching extends to the millions of
                                    INTRODUCTION
white men, women, and children who instigated, attended, celebrated, and internalized
these horrific spectacles of collective violence.




        As myriad social science studies have
        documented, participation in collective
        violence leaves perpetrators with their own
        dangerous and persistent damage, including
        harmful defense mechanisms such as
        “diminish[ed] empathy for victims” that can
        lead to intensified violent behaviors that target
        victims outside the original group.323

In addition, perpetrators and bystanders may continue to devalue the group they
victimized for years afterward and remain unable to acknowledge their actions, even
though their personal and collective rehabilitation depends on that acknowledgment. 324
The foundational role that lynching played in the socialization of white children during
this era illustrates racial violence’s deep cultural impact.




        As attendees and participants in lynchings,
        Southern white children were taught to accept
        and embrace traumatic violence and the racist
        narratives underlying it.



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At one Kentucky lynching, young white children between six and ten years old brought
                                    INTRODUCTION
wood and tended to the fire in which the victim was burned. 325 Boys especially were
expected to actively engage in lynching; their roles expanded as they got older until, as
young adults, they took on a direct role in the torture and murder. 326




        Lynching was characterized as a civic duty of
        white Southern men that brought praise rather
        than sanctions from community elders and
        institutions.327


An African American woman who worked for a white family in Alabama during the
lynching era observed that lynching messages were received early and burrowed deep.
“I have seen very small white children hang their Black dolls,” she explained. “It is not
the child’s fault, he is simply an apt pupil.” 328




In 1906, after a young white boy in North Carolina was injured by his eleven-year-old
white playmate who hung him from a noose fastened to a nail during a lynching game,
the mother of the eleven-year-old refused to reprimand her son for his role in the mock
lynching. 329




        Playing “lynching” was so popular a pastime
        for Southern white children that the game was
        named “Salisbury,” presumably after a series of
        lynchings in Salisbury, North Carolina, in 1902


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       and 1906 that included  a fifteen-year-old Black
                          INTRODUCTION
       child among the victims.330


White women and girls played a central role as accusers and thus instigators of
lynchings. In the lynchings committed in reaction to rape accusations, white adolescent
girls accounted for more than half of the accusers. 331 Even when rape accusations were
disproved or directly contradicted, the white women and girls responsible for the
claims “suffered neither social stigma nor criminal prosecution” for their role in
instigating the murders of innocent Black men and boys. 332 Socializing girls in such an
amoral framework communicated a devaluation of Black life and inflicted psychological
damage on them.




Narratives emerged after the lynching era that blamed lynchings on a minority of
Southern white extremists, but reports of the day clearly demonstrate that
participation in lynching was widespread among Southern whites. “[L]ynchers tended to
be ordinary and respectable people, animated by a self-righteousness that justified
their atrocities in the name of maintaining the social and racial order” from which all
white people benefitted. 333




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           Officials in Owensboro, Kentucky, carry out a public execution in 1936. (Hulton Archive / Getty
           Images.)




Generations of white people were raised in communities where myths of racial
superiority dominated and went largely unchallenged. Many of those people hold
powerful positions today. There has been no significant effort to confront white
Southerners with the damage done by lynching or to facilitate recovery, and we live
with the lingering legacies of that inaction.




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                  M A R I A NINTRODUCTION
                              NA, FLORIDA


A town of less than ten thousand people located in the Florida Panhandle, Marianna is
the seat of Jackson County and the site of a Civil War clash known as the Battle of
Marianna. Revered as “Florida’s Alamo,” the battle occurred on September 27, 1864,
between Union forces and a hastily-formed Confederate unit comprised mostly of local
boys and elderly men. At battle’s end, the local Episcopal Church was burned with many
of the Confederates inside and several other buildings were destroyed. 334




Marianna celebrates its Civil War history with “Marianna Day,” an annual festival and
reenactment of the Battle of Marianna. Several markers and monuments in downtown
Marianna reflect local historical pride as well; the oldest memorial is a large obelisk
erected on the courthouse lawn in 1888 that lionizes Confederate soldiers as “warriors
tried and true, who bore the flag of our peoples’ trust, and fell in a cause, though lost,
still just, and died for me and you.” 335




A visitor would never know that Marianna also is the site of one of the nation’s most
well-known public spectacle lynchings.




On October 19, 1934, Claude Neal, a twenty-three-year-old Black farmhand, was
arrested for the murder of Lola Cannady, a young white woman whose body had been
discovered just hours before. Five days later, six white men seized Neal from an Alabama
jail where he had been moved for safekeeping and returned him to Jackson County,
where they killed him in the woods before presenting his corpse to the Cannady family
and a gathered mob. The corpse was castrated, the fingers and toes amputated, the skin
burned with hot irons; the mob then drove over it with cars, shot it at least eighteen


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times, and hung it from a tree on the courthouse lawn, where they again shot at it and
                                     INTRODUCTION
took pieces of skin as souvenirs. When the sheriff cut the body down and refused to
rehang it, an angry mob rioted, burning the homes of Mr. Neal’s family members and
threatening Black residents with violence until they fled. The murder and subsequent
attacks were widely reported in local and national newspapers, and it is a well-known
twentieth century example of an especially gruesome lynching. 336




Marianna’s legacy of violence and abusive racial mistreatment includes the Dozier
School for Boys, a state juvenile reform school that operated in Marianna from 1900
until 2011. 337 The school faced serious allegations of abuse and closed during a federal
investigation. In 2014, researchers conducting an excavation project uncovered the
remains of fifty-five boys in the school cemetery, which was twenty-four more than
were documented in official records. 338 Surviving former residents shared the
experiences they endured at the Dozier School, which remained racially segregated
until 1967. Richard Huntly, a sixty-seven-year-old Black man sent to the school at age
eleven, recalled that white boys were given vocational work while he and other Black
boys were made to work in the field planting and picking crops for state profit. “It was
kind of like slavery,” he told reporters in 2014. 339




In 2014, Marianna celebrated the 150th anniversary of the Battle of Marianna by
honoring the memories of Confederate soldiers and officers who fought and died to
preserve slavery and the white supremacist ideologies on which slavery was built.
The community voice remains silent as to Marianna’s other legacies. No prominent
memorial or marker tells of Claude Neal’s brutal lynching, and that silence is
deafening.




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                        IMPORTANCE FOR THE NATION
                               INTRODUCTION

Like mass rapes in the former Yugoslavia, terrorism against political dissidents in
Argentina, and the torture and violent repression of Black South Africans under the
apartheid regime,




        Terror lynchings in the American South were
        not isolated hate crimes committed by rogue
        vigilantes. Lynching was targeted racial
        violence at the core of a systematic campaign of
        terror perpetrated in furtherance of an unjust
        social order.

Lynchings were rituals of collective violence that served as highly effective tools to
reinforce the institution and philosophy of white racial superiority. Lynch mobs
intended to instill fear in all African Americans, to enforce submission and racial
subordination, and to “emphasize the limits of Black freedom.” 340 Through lynching,
whites demonstrated to Black people that any transgression of social and racial
boundaries, real or imagined, placed the lives of all African Americans at risk.




The United States government compounded the psychological harm experienced by
African Americans by permitting the torture and murder of Black citizens. Federal and
state officials’ inaction communicated that no democratic institution valued Black
citizens’ lives enough to protect them against terrorism by local officials and private
citizens alike. “They had to have a license to kill anything but a nigger,” explained one
African American man from the Mississippi Delta. “We was always in season.” 341 Today,
public and private institutions in the South memorialize the Confederacy and celebrate
the architects of white supremacy while remaining conspicuously silent about the
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terror, violence, and loss of life inflicted on Black Americans during the same historical
                                         INTRODUCTION
period.




       This selective public memory compounds the
       harm of officials’ complicity in lynching and
       maintains the otherness of Black people who
       have lived in these communities for
       generations.


In 1908, a Black man named Eli Pigot was arrested in Brookhaven, Mississippi, on
allegations of raping a white woman. Before trial commenced, the judge promised the
public that lynching Mr. Pigot was unnecessary because he would plead guilty and face
swift execution. But when Mr. Pigot was returned to town by train, hundreds of local
whites who had gathered at the station seized and hung him from a tree near the
courthouse. Critics questioned the militia’s failure to prevent the lynching, to which
Mississippi Governor Edmond Noel responded that state officials could not be expected
to “protect so hideous a malefactor from a deserved vengeance.” 342




On August 13, 1955, also in Brookhaven, Mississippi, a white man shot and killed Lamar
Smith, a sixty-three-year-old Black voting rights activist, in broad daylight and in front
of several witnesses on the courthouse lawn. 343 Mr. Smith died steps from the site
where Eli Pigot was lynched less than fifty years earlier. No one was prosecuted for
either man’s murder. Today, Brookhaven bills itself as “The Homeseeker’s Paradise”; and
the courthouse lawn bears no testament to the community’s history of racial violence.




Erecting monuments and memorials to commemorate lynching can begin to correct
our distorted national narrative about this period of racial terror in American history
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while directly addressing the harms borne by the African American community,
                                    INTRODUCTION
particularly survivors who lived through the lynching era. Scholars who have studied
the impact of human rights abuses emphasize that speaking out about victimization can
have a significant healing impact on survivors of genocide, mass violence, and other
harms. 344 Continued silence about lynchings “compounds victimization” and tells
victims and the nation as a whole that “their pain does not matter.” 345 Publicly
acknowledging lynchings can link instances of individual loss and harm to a broader
system of abuse and mass violence and empower affected individuals “to move beyond
trauma, hopelessness, numbness, and preoccupation with loss and injury.” 346




           “Raise Up” by Hank Willis Thomas, 2013




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        Public acknowledgment      and commemoration
                            INTRODUCTION
        of mass violence is essential not only for
        victims and survivors, but also for perpetrators
        and bystanders who suffer from trauma and
        damage related to their participation in
        systematic violence and dehumanization.347

The Truth and Reconciliation Commission established by the South African government
in the aftermath of apartheid elicited the stories of bystanders and perpetrators of
torture and violence against Black citizens as well as the stories of victims. This enabled
members of the white community to publicly acknowledge what happened to the
victims and “reorient themselves with the new national agenda” as active participants
rather than passive observers. 348




Public commemoration plays a significant role in prompting community-wide
reconciliation.




        Formalizing a space for memory, reflection, and
        grieving can help victims “move beyond anger
        and a sense of powerlessness.”349

Memorials are known to help reconcile complicated and divisive national events. The
Vietnam War Memorial, for example, is a powerful space for Americans and others to
appreciate the historical context in which the war was fought and to grapple with the
harm and death it caused. 350



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The importance of collective memory is the thread that connects national efforts to
                                    INTRODUCTION
recover from human rights crises in countries and communites in the twentieth and
twenty-first centuries. One key lesson has emerged: survivors, witnesses, and all
members of the affected community need to know that society has acknowledged what
happened to the victims.




        Through a criminal tribunal, truth commission,
        or reparations project, suffering must be
        engaged, heard, recognized, and remembered
        before a society can recover from mass
        violence.

Commemorating lynching through memorials and monuments that encourage and
create space for the “restorative power of truthtelling” is essential if we are to “help
society heal [its] sickness and place trauma in the past.” 351 The Equal Justice Initiative is
ready for this effort, and we hope you will join us.




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          EJI staff and community members dedicate three markers about the slave trade in Montgomery,
          2013. (Bernard Troncale.)




                                                      VII




                                      CONCLUSION




Lynching in America was a form of terrorism that has contributed to a legacy of racial
inequality that our nation must address more directly and concretely than we have to
date. The trauma and anguish that lynching and racial violence created in this country
continues to haunt us and to contaminate race relations and our criminal justice system
in too many places across this country. Important work can and must be done to speak


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truthfully about this difficult history so that recovery and reconciliation can be
                                       INTRODUCTION
achieved. We can address our painful past by acknowledging it and embracing
monuments, memorials, and markers that are designed to facilitate important
conversations. Education must be accompanied by acts of reconciliation, which are
needed to create communities where devastating acts of racial bigotry and legacies of
racial injustice can be overcome.




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  199. Law and Order Upheld By Citizens of Campbell; Blow Struck at Terrorists, ATL. CONST. (Aug. 10,

  1901) (reporting three white men convicted of murder for lynching Sterling Thompson, a Black
  man, in Campbell County, Georgia).
  200. Berg, supra note 115, at 153.

  201. Civil Rights Cases, supra note 84, at 14.

  202. Republican Senator William Borah argued that anti-lynching legislation unconstitutionally

  invaded state rights and voting for it was as lawless as lynching itself. Waldrep, supra note 197, at
  75.
  203. Civil Rights Cases, supra note 84, at 25.

  204. Berg, supra note 115, at 146.

  205. Giddings, supra note 197, at 63, 81.

  206. Id. at 81.

  207. Id. at 83.

  208. Id. at 90-91.

  209. Id. at 157.

  210. Id. at 216.

  211. Id.

  212. Id. at 473-74.

  213. Berg, supra note 115, at 94-95.

  214. Waldrep, supra note 197, at 47.

  215. King and Smith, supra note 198, at 87.

  216. Giddings, supra note 197, at 468.

  217. Vandiver, supra note 197, at 13.

  218. Berg, supra note 115, at 108; Giddings, supra note 185, at 399.

  219. Berg, supra note 115, at 113.

  220. Id. at 114; Tolnay and Beck, supra note 125, at 209.

  221. Berg, supra note 115, at 113. Returning World War I veterans who had “come home fighting”

  exemplified the “New Negro” who engaged in armed self-defense against rioting white mobs in
  Chicago and Washington, DC, in 1919. Giddings, supra note 197, at 593, 598.
  222. Giddings, supra note 197, at 177-84, 214.

  223. Id. at 76-77.

  224. Berg, supra note 115, at 150. Local papers presented Black people exclusively as criminals and

  often included brutal, exaggerated descriptions of the alleged crimes that operated to justify even
                                                                                                          EoR - 1401 of 2347
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  the most gruesome lynchings. Ifill, supra note i, at 105-06.
  225. New York Freeman editor T. Thomas Fortune founded the National Afro American League in
                                           INTRODUCTION
  1884 to advocate for civil rights and against lynching. In 1896, the National Association for Colored
  Women was established to fight lynching and Bishop Alexander Walters formed the National Afro
  American Council, which represented 200,000 voters by 1900. Waldrep, supra note 198, at 128.
  226. Waldrep, supra note 198, at 207-16; Giddings, supra note 197, at 385-88.

  227. IDA B.WELLS, CRUSADE FOR JUSTICE: THE AUTOBIOGRAPHY OF IDA B. WELLS 7 (1970).

  228. Id. at 15-20; Giddings, supra note 197, at 60-63; Chesapeake & Ohio & Southwestern Railroad v.

  Wells, 85 Tenn. 613 (1887).
  229. Wells, supra note 227, at 35; Giddings, supra note 197, at 154-55.

  230. Wells, supra note 227, at 47-52; Giddings, supra note 197, at 188-93.

  231. Wells, supra note 227, 61-67; Giddings, supra note 197, at 207-14.

  232. Wells, supra note 227, 69-200.

  233. Giddings, supra note 197, at 1-7; Wells-Barnett, supra note 143, at 5-6.

  234. Wells-Barnett, supra note 143, at 26.

  235. Berg, supra note 115, at 147.

  236. Giddings, supra note 197, at 478.

  237. Id. at 500.

  238. Id. at 624.

  239. Waldrep, supra note 197, at 65, 68.

  240. Id. at 72.

  241. Giddings, supra note 197, at 593.

  242. Seven hundred African Americans were in the Congressional galleries, cheering and shouting

  down members of Congress, when the Dyer Bill passed the House on January 26 by a vote of 231-
  119. Id. at 626; see also Waldrep, supra note 197, at 77.
  243. The New York Telegraph wrote that states’ rights had killed the bill: “Congress is composed

  largely of lawyers, and lawyers found it hard to enthuse over a measure the tendency of which was
  to strip a state of the sole power of maintaining order – of conserving the peace . . . [T]he time has
  not yet arrived when interior communities will submit to interference with the police laws.” Ferrell,
  supra note 197, at 7.
  244. The New York Times attacked it as a political stunt by Republicans to try to win Black voters

  back with an unconstitutional bill. Waldrep, supra note 197, at 75.
  245. Mississippi congressman Thomas Sisson declared he would rather kill every Black person in

  the world than have just one white girl raped by a Black man. Id. at 74.
  246. Vandiver, supra note 197, at 173.

  247. Ferrell, supra note 197, at iv.

  248. Waldrep, supra note 198, at 235; Berg, supra note 115, at 154.

  249. Berg, supra note 115, at 149.

  250. Two Gallup polls showed large portions of white Southerners supported federal legislation

  against lynching but opposed any specific measures against the practice; Southern politicians
  continued to oppose federal interference under the banner of states’ rights. AMY LOUISE WOOD,
  LYNCHING AND SPECTACLE: WITNESSING RACIAL VIOLENCE IN AMERICA, 1890-1940 263 (2009).
  251. Timothy V. Kaufman-Osborn, Capital Punishment as Legal Lynching? in LYNCH MOBS TO THE

  KILLING STATE: RACE AND THE DEATH PENALTY IN AMERICA, ed. Charles J. Ogletree Jr. and Austin
  Sarat, 37-38 (2006).
  252. Wood, supra note 250, at 261.


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  253. Berg, supra note 115, at 167.

  254. Waldrep, supra note 197, at 82-83.
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  255. Tolnay and Beck, supra note 125, at 204.

  256. Id. at 215.

  257. Id. at 218 (quoting U.S. DEPT. OF LABOR, NEGRO MIGRATION IN 1916-17 107 (1919)); Berg, supra

  note 115, at 113; Ifill, supra note i, at 66; Stewart E. Tolnay and E. M. Beck, Racial Violence and
  Black Migration in the American South, 1910 to 1930, 57 AM. SOC. REV. 1, 103-16 (1992) (finding
  support for a model of reciprocal causation between racial violence and Black net out-migration
  from Southern counties during the era of the Great Migration and concluding that “mob violence
  was an important social force driving blacks from certain areas of the South.”).
  258. Giddings, supra note 197, at 183, 189.

  259. Tolnay and Beck, supra note 125, at 218 (quoting U.S. Dept. of Labor, supra note 257, at 79).

  260. ISABEL WILKERSON, THE WARMTH OF OTHER SUNS: THE EPIC STORY OF AMERICA’S GREAT

  MIGRATION 157 (2010).
  261. Tolnay and Beck, supra note 125, at 219.

  262. Id. at 222; Wilkerson, supra note 260, at 533.

  263. A Year of No Lynchings, THE GUARDIAN (Jan. 8, 1953); 1952 is the First Year Without a Lynching

  in the U.S., CHICAGO TRIBUNE (Dec. 31, 1952); Thompson, supra note 163, at 141.
  264. WILLIAM CARRIGAN AND CLIVE WEBB, FORGOTTEN DEAD: MOB VIOLENCE AGAINST MEXICANS

  IN THE UNITED STATES, 1848-1928 (New York: Oxford University Press, 2013).
  265. JAMES P. MARSHALL, STUDENT ACTIVISM AND CIVIL RIGHTS IN MISSISSIPPI: PROTEST POLITICS

  AND THE STRUGGLE FOR RACIAL JUSTICE, 1960- 1965 101-103 (2013).
  266. Arkansas Lynching: Negro Taken from Sheridan Jail and Hanged in Courthouse Yard, BRYAN

  (TEX.) MORNING EAGLE (Oct. 8, 1903).
  267. Id.

  268. Sheridan Set to Mix Pupils in High School, ARK. GAzETTE (May 22, 1954).

  269. John A. Kirk, Not Quite Black and White: School Desegregation in Arkansas, 1954-1966, 70 ARK.

  HIST. qUARTERLY 225, 231- 32 (2011).
  270. Id.

  271. The Patterns of Transitions Vary, ARK. GAzETTE (May 23, 1954).

  272. Sheridan Rescinds Integration Order; Fayetteville to Mix; Little Rock to Stand Pat for Present,

  ARK. GAzETTE (May 23, 1954).
  273. Kirk, supra note 269, at 231-32.

  274. “As long as there was one Black child left in town, they had to keep the school open.” Rev.

  James Seawood, STORYCORPS, http://storycorps.org/listen/reverend- james-seawood/# (last
  visited Dec. 12, 2014).
  275. City of Sheridan, Arkansas, GRANT COUNTY STATISTICS,

  http://www.sheridanark.com/stats.php (last visited Dec. 12, 2014).
  276. A famous example of such a lynching is the murder of Edward Johnson in Chattanooga,

  Tennessee, in 1906. Johnson was seized from the Chattanooga jail, which had been vacated by the
  sheriff and his staff, dragged through the streets, and hanged from the second span of the Walnut
  Street Bridge. After Johnson’s lynching, the U.S. Supreme Court held a trial of local officials who
  were complicit in the lynching and several were convicted of contempt of court. See generally
  MARK CURRIDEN & LEROY PHILLIPS JR., CONTEMPT OF COURT, THE TURN-OF-THE-CENTURY
  LYNCHING THAT LAUNCHED 100 YEARS OF FEDERALISM (1999).
  277. See generally Blackmon, supra note 97.


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  278. Strauder v. West Virginia, 100 U.S. 303 (1880).

  279. See EqUAL JUSTICE INITIATIVE, ILLEGAL RACIAL DISCRIMINATION IN JURY SELECTION: A
                                            INTRODUCTION
  CONTINUING LEGACY 10 (2010).
  280. Douglas L. Colbert, Challenging the Challenge: Thirteenth Amendment As A Prohibition Against

  the Racial Use of Peremptory Challenges, 76 CORNELL L. REV. 1, 78 (1990).
  281. See James Forman Jr., Juries and Race in the Nineteenth Century, 113 YALE L.J. 895, 934

  (2004).
  282. James W. Clarke, Without Fear or Shame: Lynching, Capital Punishment and the Subculture of

  Violence in the American South, 28 BRITISH J. OF POL. SCI. 269, 284 (Apr. 1998). Scholars disagree
  about the extent to which statistical analyses show that the death penalty replaced lynching. Berg,
  supra note 115, at 159-60 (evidence that, nationwide, in the 1890s, 1300 Black people were
  lynched and 608 were executed, and in the 1920s, 250 Black people were lynched and 567
  executed, but the ratio of lynchings to executions went from 2.1 in the 1890s to 0.4 in the 1920s,
  suggests that the death penalty replaced lynching); but see Tolnay and Beck, supra note 125, at
  204 (concluding that little empirical evidence supports the hypothesis that lynchings declined as
  Southern states assumed the role of the mob by increasing the number of Blacks who were legally
  executed); Vandiver, supra note 197, at 17 (finding that some evidence for the substitution model
  has been adduced by historical research and aggregate national statistics but multivariate
  statistical analysis does not support it).
  283. Stephen B. Bright, Discrimination, Death and Denial: The Tolerance of Racial Discrimination in

  Infliction of the Death Penalty, 35 SANTA CLARA L. REV. 433, 440 (1995); see also Charles David
  Phillips, Exploring Relations Among Forms of Social Control: The Lynching and Execution of Blacks
  in North Carolina, 1889-1918, 21 LAW AND SOC. REV. 361, 372-73 (1987) (finding evidence for the
  conclusion that, prior to disenfranchisement, lynchings and executions were used in concert to
  suppress the Black population, but once Blacks were politically neutralized, lynching became a
  “costly and unnecessary form of repression” and legal executions then became sufficient to punish
  deviance within the Black population).
  284. Bright, supra note 283, at 440-41.

  285. Stuart Banner, Traces of Slavery: Race and the Death Penalty in Historical Perspective, in FROM

  LYNCH MOBS TO THE KILLING STATE: RACE AND THE DEATH PENALTY IN AMERICA, ed. Charles J.
  Ogletree Jr. and Austin Sarat, 106 (2006).
  286. Wood, supra note 250, at 38.

  287. Id.

  288. Vandiver, supra note 197, at 101.

  289. Clarke, supra note 282, at 284-85.

  290. Bright, supra note 283, at 440.

  291. Clarke, supra note 282, at 287.

  292. DAVID GARLAND, PECULIAR INSTITUTION: AMERICA’S DEATH PENALTY IN AN AGE OF ABOLITION

  218-19 (2010).
  293. Furman v. Georgia, 408 U.S. 238, 308, 310 (1972) (Stewart, J., concurring).

  294. Following Furman, Mississippi Senator James O. Eastland accused the Court of “legislating”

  and “destroying our system of government,” while Georgia’s white supremacist lieutenant
  governor, Lester Maddox, called the decision “a license for anarchy, rape, and murder.” In
  December 1972, Florida became the first state to enact a new death penalty statute post-Furman,
  and within two years, thirty-five states had followed suit. Proponents of Georgia’s new death
  penalty bill unapologetically borrowed the rhetoric of lynching, insisting: “There should be more
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  hangings. Put more nooses on the gallows. We’ve got to make it safe on the street again . . . It
  wouldn’t be too bad to hang some on INTRODUCTION
                                      the court house square, and let those who would plunder
  and destroy see.” State Representative Guy Hill of Atlanta proposed a bill that would require death
  by hanging, to take place “at or near the courthouse in the county in which the crime was commit
  ted.” Georgia Representative James H. “Sloppy” Floyd remarked, “If people commit these crimes,
  they ought to burn.” Garland, supra note 292, at 232, 247-48.
  295. Gregg v. Georgia, 428 U.S. 153, 184 (1976).

  296. McCleskey v. Kemp, 481 U.S. 279, 312 (1987).

  297. Id. at 313.

  298. Current Death Row Populations by Race, DEATH PENALTY INFORMATION CENTER,

  http://www.deathpenaltyinfo.org/race-deathrow-inmates-executed-1976#deathrowpop (accessed
  Jan. 9, 2015).
  299. Annual Estimates of the Resident Population by Sex, Race, and Hispanic Origin for the United

  States, States, and Counties: April 1, 2010 to July 1, 2012,” U.S. CENSUS BUREAU,
  http://factfinder2.census.gov/faces/tableservices/jsf/pages/productview.xhtml?src=bkmk
  (accessed Jan. 9, 2015); National Statistics on the Death Penalty and Race, DEATH PENALTY
  INFORMATION CENTER, http://www.deathpenaltyinfo.org/race-death-row-inmates-executed-1976
  (accessed Jan. 9, 2015).
  300. Facts About the Death Penalty, DEATH PENALTY INFORMATION CENTER,

  http://www.deathpenaltyinfo.org/documents/FactSheet.pdf (Dec. 19, 2014).
  301. Equal Justice Initiative, supra note 279, at 5.

  302. Number of Executions by State and Region Since 1976, DEATH PENALTY INFORMATION CENTER,

  http://www.deathpenaltyinfo.org/number-executions-state-and-region-1976 (accessed Jan. 9,
  2015).
  303. Bright, supra note 283, at 439.

  304. Id.

  305. Ifill, supra note i, at 15-23, 117-31, 173-76.

  306. For example, there are at least 59 Confederate monuments, markers, and memorials in

  Montgomery, Alabama, alone. Equal Justice Initiative, supra note 9, at 44.
  307. See id. at 44-45.

  308. President Jimmy Carter, Address to the First Days of Remembrance Commemoration (Apr. 24,

  1979).
  309. James E. Young, Germany’s Holocaust Memorial Problem–and Mine, 24 THE PUBLIC HISTORIAN

  65, 75 (Fall 2002).
  310. There are numerous historical examples. In 2000, Pope John Paul II visited Yad Vashem (the

  Holocaust Memorial in Israel) and delivered a speech acknowledging the six million Jews killed by
  the Nazis during the Holocaust, in an attempt to foster reconciliation between Jewish people and
  the Catholic Church, whose role in the Holocaust under Pope Pius XII remains the subject of
  ongoing controversy. Pope John Paul II, Speech at Yad Vashem Holocaust Memorial (March 23,
  2000), available at http://www.jewishvirtuallibrary.org/jsource/Holocaust/paulspeech.html.
  311. Litwack, supra note 166, at 286.

  312. See, e.g., Ervin Staub, Reconciliation after Genocide, Mass Killing, or Intractable Conflict:

  Understanding the Roots of Violence, Psychological Recovery, and Steps toward a General Theory,
  27 J. POL. PHILOSOPHY 867, 871 (2006) (explaining how victims of mass violence suffer from post-
  traumatic stress disorder (PTSD) and complex trauma, which may prompt victimized groups to feel


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  guilt, ineffectiveness, loss of control, and the absence of a positive identity, and to engage in their
  own cycles of violence, stemming fromINTRODUCTION
                                        a perceived need to defend themselves).
  313. Litwack, supra note 166, at 284.

  314. Staub, supra note 312, at 876.

  315. Oliver C. Cox, Lynching and the Status Quo, 14 J. OF NEGRO ED. 576, 577 (1945).

  316. Litwack, supra note 166, at 322.

  317. Ifill, supra note i, at 73.

  318. Id.

  319. Litwack, supra note 166, at 315.

  320. Ifill, supra note i, at 61.

  321. Id.

  322. Wilkerson, supra note 260, at 179.

  323. Staub, supra note 312, at 872.

  324. Id. at 872-73.

  325. Ginzburg, supra note 141, at 28.

  326. KRISTINA DUROUCHER, RAISING RACISTS: THE SOCIALIzATION OF WHITE CHILDREN IN THE JIM

  CROW SOUTH 120-23 (2011).
  327. Id. at 120-23.

  328. Litwack, supra note 166, at 288.

  329. Id.; DuRoucher, supra note 326, at 120.

  330. Litwack, supra note 166, at 288; see also SUSAN BARRINGER WELLS, A GAME CALLED

  SALISBURY: THE SPINNING OF A SOUTHERN TRAGEDY AND THE MYTHS OF RACE (2d ed. 2010).
  331. DuRoucher, supra note 326, at 132.

  332. Id.; see also Litwack, supra note 166, at 283 (describing the failure of the white community to

  take any action in the face of evidence demonstrating that Sam Hose, who was lynched in Georgia
  in 1899, had been falsely accused of rape).
  333. Litwack, supra note 166, at 294.

  334. See generally DALE COX, THE BATTLE OF MARIANNA, FLORIDA (2011).

  335. Inscription on Confederate Memorial, Courthouse lawn, Marianna, Florida (erected 1888).

  336. See DALE COX, THE CLAUDE NEAL LYNCHING: THE 1934 MURDERS OF CLAUDE NEAL AND LOLA

  CANNADY (2012); JAMES R. MCGOVERN, ANATOMY OF A LYNCHING: THE KILLING OF CLAUDE NEAL
  (1992); WALTER HOWARD, LYNCHINGS: EXTRALEGAL VIOLENCE IN FLORIDA DURING THE 1930S
  (2005); Ben Montgomery, Spectacle: The Lynching of Claude Neal TAMPA BAY TIMES (Oct. 5, 2011).
  337. Greg Allen, Florida’s Dozier School for Boys: A True Horror Story, NPR (Oct. 15, 2012), available

  at http://www.npr.org/2012/10/15/162941770/florida-dozier-school-for-boys-a-true-horror-story.
  338. Bill Chappell, 55 Bodies Exhumed at Reform School Site in Florida, NPR (Jan. 28, 2014),

  available at http://www.npr.org/blogs/thetwo-way/2014/01/28/267899476/55-bodies-are-
  exhumed-at-reform-school-site-inflorida.
  339. Nina Berman and Michael Mechanic, It Was Kind of Like Slavery, MOTHER JONES (Feb. 2014),

  available at http://www.motherjones.com/politics/2014/02/returning-to-dozier-florida-school-for-
  boys.
  340. Id. at 285.

  341. Id. at 284.

  342. Negro Lynched, LINCOLN COUNTY (MISS.) TIMES (Feb. 8, 1908).

  343. SARA BULLARD, A HISTORY OF THE CIVIL RIGHTS MOVEMENT AND THOSE WHO DIED IN IT 42-43

  (1994).
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  344. MARTHA MINOW, BETWEEN VENGEANCE AND FORGIVENESS: FACING HISTORY AFTER GENOCIDE

  AND MASS VIOLENCE 65 (1998).            INTRODUCTION
  345. Id. at 71.

  346. Id. at 67.

  347. Id. at 74-75.

  348. Id. at 75.

  349. Id. at 92.

  350. See Robin Wagner-Pacifici & Barry Schwartz, The Vietnam Veterans Memorial: Commemorating

  a Difficult Past, 97 AM. J. SOC. 376 (Sep. 1991).
  351. Minow, supra note 344, at 67.




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                                                                                              JIM CROW
                                    The brute caricature portrays black men as                MUSEUM
                                    innately savage, animalistic, destructive, and
                                    criminal -- deserving punishment, maybe                      Museum
                                                                                                 Home
                                    death. This brute is a fiend, a sociopath, an
                                    anti-social menace. Black brutes are depicted               Visit
                                    as hideous, terrifying predators who target
                                                                                                Explore
                                    helpless victims, especially white women.
                                    Charles H. Smith (1893), writing in the 1890s,              Learn
                                    claimed, "A bad negro is the most horrible
                                                                                                Connect
                                    creature upon the earth, the most brutal and
                                    merciless"(p. 181). Clifton R. Breckinridge                 About
          More Images               (1900), a contemporary of Smith's, said of the
                                                                                                 News
                                    black race, "when it produces a brute, he is the
worst and most insatiate brute that exists in human form" (p. 174).                              Donate

George T. Winston (1901), another "Negrophobic" writer, claimed:
                                                                                              Contact
When a knock is heard at the door [a White woman] shudders with nameless
                                                                                              Jim Crow
horror. The black brute is lurking in the dark, a monstrous beast, crazed with lust.
                                                                                              Museum
His ferocity is almost demoniacal. A mad bull or tiger could scarcely be more
brutal. A whole community is frenzied with horror, with the blind and furious rage            1010 Campus
for vengeance.(pp. 108-109)                                                                   Drive
                                                                                              Big Rapids, MI
During slavery the dominant caricatures of black people -- Mammy, Coon, Tom,
                                                                                              49307
and picaninny -- portrayed them as childlike, ignorant, docile, groveling, and
                                                                                              JimCrowMuseum@Fe
generally harmless. These portrayals were pragmatic and instrumental.
                                                                                              (231) 591-5873
Proponents of slavery created and promoted images of black people that justified
slavery and soothed white consciences. If slaves were childlike, for example, then a
paternalistic institution where masters acted as quasi-parents to their slaves was            
humane, even morally right. More importantly, slaves were rarely depicted as
brutes because that portrayal might have become a self-fulfilling prophecy.
                                                                                              
During the Radical Reconstruction period (1867-1877), many white writers argued
that without slavery -- which supposedly suppressed their animalistic tendencies -
- black people were reverting to criminal savagery. The belief that the newly-
emancipated black people were a "black peril" continued into the early 1900s.
Wi      lik    h     li Th       N l     P     (190 ) l       d h     h   l                                EoR - 1409 of 2347
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Writers like the novelist Thomas Nelson Page (1904) lamented that the slavery-era
"good old darkies" had been replaced by the "new issue" (black people born after
slavery) whom he described as "lazy, thriftless, intemperate, insolent, dishonest,
and without the most rudimentary elements of morality" (pp. 80, 163). Page, who
helped popularize the images of cheerful and devoted Mammies and Sambos in
his early books, became one of the first writers to introduce a literary black brute.
In 1898 he published Red Rock, a Reconstruction novel, with the heinous figure of
Moses, a loathsome and sinister black politician. Moses tried to rape a white
woman: "He gave a snarl of rage and sprang at her like a wild beast" (pp. 356-358).
He was later lynched for "a terrible crime."

The "terrible crime" most often mentioned in connection with the black brute was
rape, specifically the rape of a white woman. At the beginning of the twentieth
century, much of the virulent, anti-black propaganda that found its way into
scientific journals, local newspapers, and best-selling novels focused on the
stereotype of the black rapist. The claim that black brutes were, in epidemic
numbers, raping white women became the public rationalization for the lynching
of black people.

The lynching of black people was relatively common between Reconstruction and
World War II. According to Tuskegee Institute data, from 1882 to 1951 4,730 people
were lynched in the United States: 3,437 black and 1,293 white (Gibson, n.d.).
Many of the white lynching victims were foreigners or belonged to oppressed
groups, for example, Mormons, Shakers, and Catholics. By the early 1900s lynching
had a decidedly racial character: white mobs lynched black people. Almost 90
percent of the lynchings of black people occurred in southern or border states.

Many of these victims were ritualistically tortured. In 1904, Luther Holbert and his
wife were burned to death. They were "tied to trees and while the funeral pyres
were being prepared, they were forced to hold out their hands while one finger at a
time was chopped off. The fingers were distributed as souvenirs. The ears...were
cut off. Holbert was beaten severely, his skull fractured and one of his eyes,
knocked out with a stick, hung by a shred from the socket." Members of the mob
then speared the victims with a large corkscrew, "the spirals tearing out big pieces
of...flesh every time it was withdrawn" (Holden-Smith, 1996, p. 1).

A mob lynching was a brutal and
savage event, and it necessitated that
the lynching victim be seen as
equally brutal and savage; as these
l   hi    b                                                                                               EoR - 1410 of 2347
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lynchings became more common
and more brutal, so did the
assassination of the black character.
In 1900, Charles Carroll's The Negro
A Beast claimed that black people
were more akin to apes than to human beings, and theorized that black people had

been the "tempters of Eve." Carroll said that mulatto1 brutes were the rapists and
murderers of his time (pp. 167, 191, 290-202). Dr. William Howard, writing in the
respectable journal Medicine in 1903, claimed that "the attacks on defenseless
White women are evidence of racial instincts" (in black people), and the black
birthright was "sexual madness and excess" (Fredrickson, 1971, p. 279). Thomas
Dixon's The Leopard's Spots, a 1902 novel, claimed that emancipation had
transformed black people from "a chattel to be bought and sold into a beast to be
feared and guarded" (Fredrickson, p. 280).

                                        In 1905 Dixon published his most popular
                                        novel, The Clansman. In this book he
                                        described black people as "half child, half
                                        animal, the sport of impulse, whim, and
                                        conceit...a being who, left to his will, roams at
                                        night and sleeps in the day, whose speech
                                        knows no word of love, whose passions, once
                                        aroused, are as the fury of the tiger"
                                        (Fredrickson, 1971, pp. 280-281). The
                                        Clansman includes a detailed and gory
                                        account of the rape of a young white virgin by
a black brute. "A single tiger springs, and the black claws of the beast sank into the
soft white throat." After the rape, the girl and her mother both commit suicide, and
the black brute is lynched by the Ku Klux Klan. This book served as the basis for the
movie The Birth of a Nation (Griffith, 1915), which also portrayed some black
people as rapist-beasts, justified the lynching of black people, and glorified the Ku
Klux Klan. Carroll, Howard, and Dixon did not exceed the prevailing racism of the
so-called Progressive Era.

In 1921-22 the United States House of Representatives and Senate debated the
Dyer Bill, an anti-lynching bill. This bill provided fines and imprisonment for
persons convicted of lynching in federal courts, and fines and penalties against
states, counties, and cities which failed to use reasonable effort to protect citizens
from lynch mobs. The Dyer Bill passed in the House of Representatives, but it was
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killed in the Senate by filibustering southerners who claimed that it was
unconstitutional and an infringement upon states' rights (Gibson, n.d., p. 5). The
following statements made by southern Congressmen during the Dyer Bill debate
suggest that they were more concerned with white supremacy and the oppression
of black people than they were with constitutional issues.

Senator James Buchanan of Texas claimed that in "the Southern States and in
secret meetings of the Negro race [white liberals] preach the damnable doctrine of
social equality which excites the criminal sensualities of the criminal element of
the Negro race and directly incites the diabolical crime of rape upon the white
women. Lynching follows as swift as lightning, and all the statutes of State and
Nation cannot stop it." (Holden-Smith, 1996, p. 14)

Representative Percy Quin of Mississippi, spoke of lynch law, "Whenever an
infamous outrage is committed upon a [Southern] White woman the law is
enforced by the neighbors of the woman who has been outraged? The colored
people of [the South] realize the manner of that enforcement, and that is the one
method by which the horrible crime of rape has been held down where the Negro
element is in a large majority. The man who believes that the Negro race is all bad
is mistaken. But you must recollect that there is an element of barbarism in the
black man, and the people around where he lives recognize that fact." (Holden-
Smith, 1996, p. 15)

Representative Sisson of Mississippi said, "as long as rape continues lynching will
continue. For this crime, and this crime alone, the South has not hesitated to
administer swift and certain punishment....We are going to protect our girls and
womenfolk from these black brutes. When these black fiends keep their hands off
the throats of the women of the South then lynching will stop..." (Holden-Smith,
1996, p. 16)

Representative Benjamin Tillman from South Carolina claimed that the Dyer Bill
would eliminate the states and "substitute for the starry banner of the Republic, a
black flag of tyrannical centralized government...black as the face and heart of the
rapist...who [recently] deflowered and killed Margaret Lear," a White girl in South
Carolina. (Holden-Smith, 1996, p. 14) Tillman asked why anyone should care
about the "burning of an occasional ravisher," when the House had more
important concerns. (Holden-Smith, 1996, p. 16)

Senator T.H. Caraway of Arkansas claimed that the NAACP, "wrote this bill and
handed it to the proponents of it. These people had but one idea in view, and that
was to make rape permissible, and to allow the guilty to go unpunished if that rape
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should be committed by a Negro against a white woman in the South." (Holden-
Smith, 1996, p. 16)

                                     Despite the hyperbolic claims of those
                                     Congressmen, most of the black people
                                     lynched had not been accused of rape or
                                     attempted rape. According to the Tuskegee
                                     Institute's lynching data, the accusations
                                     against lynching victims for the years 1882 to
                                     1951 were: 41 percent for felonious assault,
                                     19.2 percent for rape, 6.1 percent for
                                     attempted rape, 4.9 percent for robbery and
                                     theft, 1.8 percent for insulting white people,
                                     and 27 percent for miscellaneous offenses (for
example, trying to vote, testifying against a white man, asking a white woman to
marry) or no offenses at all (Gibson, n.d., p. 3). The 25.3% who were accused of
rape or attempted rape were often not guilty, and were killed without benefit of
trial. Gunnar Myrdal (1944), a Swedish social scientist who studied American race
relations, stated:

There is much reason to believe that this figure [25.3 percent] has been inflated by
the fact that a mob which makes the accusation of rape is secure from any further
investigation; by the broad Southern definition of rape to include all sexual
relations between Negro men and white women; and by the psychopathic fears of
white women in their contacts with Negro men. (pp. 561-562)

Lynchings often involved castration, amputation of hands and feet, spearing with
long nails and sharpened steel rods, removal of eyes, beating with blunt
instruments, shooting with bullets, burning at the stake, and hanging. It was, when
done by southern mobs, especially sadistic, irrespective of the criminal charge.
Most white southerners agreed that lynching was evil, but they claimed that black
brutes were a greater evil.

Lynchings were necessary, argued many white people, to preserve the racial purity
of the white race, more specifically, the racial purity of white women. White men
had sexual relations -- consensual and rape -- with black women as soon as
Africans were introduced into the European American colonies. These sexual
unions produced numerous mixed-race offspring. White women, as "keepers of
white racial purity," were not allowed consensual sexual relations with black men.
A black man risked his life by having sexual relations with a white woman. Even
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talking to a white woman in a "familiar" manner could result in black males being
killed.

In 1955, Emmett Till, a black fourteen year old
from Chicago, visited his relatives in
Mississippi. The exact details are not known,
but Till apparently referred to a female white
store clerk as "Baby." Several days later, the
woman's husband and brother took Till from
his uncle's home, beat him to death -- his head
was crushed and one eye was gouged out--and
threw his body into the Tallahatchie River. The
men were caught, tried, and found innocent by
an all-white jury. The case became a cause
celebre during the civil rights movement, showing the nation that brutal violence
undergirded Jim Crow laws and etiquette.

There were black rapists with white victims, but they were relatively rare; most
white rape victims were raped by white men. The brute caricature was a red
herring, a myth used to justify lynching, which in turn was used as a social control
mechanism to instill fear in black communities. Each lynching sent messages to
black people: Do not register to vote. Do not apply for a white man's job. Do not
complain publicly. Do not organize. Do not talk to white women. The brute
caricature gained in popularity whenever black people pushed for social equality.
According to Allen D. Grimshaw (1969), a sociologist, the most savage oppression
of black people by white people, whether expressed in rural lynchings or urban
race riots, has taken place when black people have refused or been perceived by
white people as refusing to accept a subordinate or oppressed status (pp. 264-265).

                                         The civil rights movement of the 1950s and
                                         1960s forced many white Americans to
                                         examine their images of and beliefs about
                                         black people. Television and newspaper
                                         coverage showing black protesters, including
                                         children, being beaten, arrested, and jailed by
                                         baton-waving police officers led many white
                                         people to see black people as victims, not
                                         victimizers. The brute caricature did not die,
                                         but it lost much of its credibility. Not
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                                      surprisingly, lynchings, especially public well-
attended ones, decreased in number. Lynchings became "hate crimes," committed
secretly. Beginning in the 1960s the relatively few black people who were lynched
were not accused of sexual assaults; instead, these lynchings were reactions of
white supremacists to black economic and social progress.

The brute caricature has not been as common as the Coon caricature in American
movies. The Birth of a Nation (Griffiths, 1915) was the first major American movie
to portray all the major anti-black caricatures, including the brute. That movie led
to numerous black protests and white-initiated race riots. One result of the racial
strife was that black male actors in the 1920s through 1940s found themselves
limited to Coon and Tom roles. It was neither socially acceptable nor economically
profitable to show movies where black brutes terrorized white people.

In the 1960s and 1970s "Blaxploitation" movies brought aggressive, anti-white
black males onto the big screen. Some of these fit the "Buck" caricature -- for
example, the private detective in Shaft (Freeman & Parks, 1971) and the pimp in
Superfly (Shore & Parks, 1972) -- but some of the Blaxploitation actors were
cinematic brutes, for example Melvin Van Peebles' character in Sweet Sweetback's
Baadasssss Song (Gross, Van Peebles & Van Peebles, 1971). Sweetback, the main
character, is falsely accused of a crime. On the lam he assaults several men, rapes a
black woman, and kills corrupt police officers. The movie ends with the message: A
BAADASSSSS NIGGER IS COMING BACK TO COLLECT SOME DUES. That
frightened white people. Young black people, tired of the Stepin Fetchit portrayals,
flocked to see the low-budget movie. Although dressed in the clothes of a rebel,
Sweetback was as much a brute as had been the lustful Gus in The Birth of a
Nation.

American Gigolo (Bruckheimer &
Schrader, 1980) had a poisonous and
despicable black pimp. He was one of
the many black sadistic pimps who
have abused and degraded white
people in American movies. Mister--
-, the husband in The Color Purple
(Jones, Kennedy, Marshall, Spielberg
& Spielberg, 1985), is an angry and
savage wife abuser, and so is Ike Turner in What's Love Got To Do With It? (Chapin,
Krost & Gibson, 1993). Both are brutes whose victims happen to be black. Turner's
real life criminal behavior (which predated the movie) was used to give credibility
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to his character's portrayal as a brute and, more importantly, to reinforce the belief
that black people are especially prone to brutish behavior.

In the 1980s and 1990s the typical cinema and television brute was nameless and
sometimes faceless; he sprang from a hiding place, he robbed, raped, and
murdered. He represented the cold brutality of urban life. Often he was a
gangbanger. Sometimes he was a dope fiend. Actors who played the black brute
were usually not on screen very long, just long enough to terrorize innocent
victims. They were movie props. On television shows like Law and Order,
Homicide: Life on the Streets, ER, and NYPD Blue, nameless black brutes assault,
maim, and kill. On October 2, 2000, NBC debuted Deadline, a drama involving an
irascible journalism teacher. In the first episode two young black males brutally kill
five restaurant workers. They kill without remorse.

The recent depiction of black males as brutes is not limited to television dramas.
Mike Tyson, the former heavyweight boxing champion, has embraced the brute
image. Tyson was marketed as a sadistic and savage warrior who was capable of
killing an opponent. His quick knockouts bolstered his reputation as the world's
most feared man. Joyce Carol Oates wrote, "Tyson suggests a savagery only
symbolically contained within the brightly illuminated ring" (Souther, n.d.). She
wrote this a decade before Tyson was convicted of several criminal charges,
including the rape of a beauty pageant contestant, and later, the battering of two
motorists. After his boxing skills had diminished, Tyson gained greater notoriety by
biting the ear of an opponent during a bout. In a news conference Tyson said, "I
am an animal. I am a convicted rapist, a hell-raiser, a loving father, a semi-good
husband." Referring to Lennox Lewis, the heavyweight boxing champion, Tyson
said, "If he ever tries to intimidate me, I'm gonna put a fu--ing bullet through his
fu--ing skull" (Serjeant, 2000). Tyson benefited from the brute image. His boxing
matches were "events." Spectators paid thousands of dollars for ringside seats.
Tyson became the wealthiest and best known athlete on earth. In his mind, he was
a twenty-first century gladiator; to the American public, he was simply a black
brute.

                                     Tyson is a violent and emotionally unstable
                                     man, but he is more than a one-dimensional
                                     brute. He has donated thousands of dollars to
                                     civic, educational, and humanitarian
                                     organizations. Without media fanfare, he has
                                     visited hundreds of hospitalized patients,
                                     especially seriously ill and injured children
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                                     especially seriously ill and injured children.
                                     He is smarter than his public image, and has
                                     worked diligently to "deepen" his intellect. Yet,
                                     he was marketed, with his permission, as a
                                     crude savage. Americans see him as an
affirmation of the black brute caricature, and he has, especially in recent years,
embraced the stereotype outside the boxing ring. Tyson can no longer distinguish
the (Iron Mike) myth from the (vicious criminal) madness, and many white
Americans cannot separate Tyson's criminal behavior from his blackness.

During the 1988 presidential campaign, George Bush's election committee sought
to portray his opponent, Michael Dukakis, as weak on crime. Bush's team used
television advertisements which showed a menacing mug shot of Willie Horton, a
black convicted murderer. Horton, while out of prison on an unguarded 48-hour
furlough, kidnapped a young white suburban couple. He repeatedly stabbed the
man and raped the woman several times. The image of Horton's threatening face
on the nation's television screens helped Bush win the election. It also reinforced
the belief that a black brute is worse than a white brute.

My wife's been shot. I'm shot.... He made us go to an abandoned area. I don't see
any signs. Oh, God!

This frantic telephone call came into the Massachusetts State Police on the night of
October 23, 1989. After a desperate search, using only the sound from the open cell
telephone as their guide, police discovered an injured couple. Carol DiMaiti Stuart,
seven months pregnant, had been shot in the head; Charles, her husband, had a
serious gunshot wound to the abdomen. Hours later, doctors performed a
Cesarean section on the dying woman and delivered a premature baby boy who
died days later. Charles Stuart told the police that the murderer was a black man.

The city of Boston, which has a history of racial discord, experienced heightened
racial tensions as police searched for the black brute. Officers went into black
neighborhoods and rounded up hundreds of black men for questioning. The black
community was outraged. Charles Stuart picked Willie Bennett out of a lineup;
Bennett was subsequently arrested for the crime (Ogletree, n.d.).

Later, police were informed by Stuart's brother that Charles Stuart probably killed
his wife for insurance money. The police began investigating Charles Stuart and
were building a strong circumstantial case when, on January 4, 1990, he
committed suicide.

In 1994 Susan Smith a young mother in Union South Carolina claimed that a
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In 1994 Susan Smith, a young mother in Union, South Carolina, claimed that a
man had commandeered her car with her two boys: 14-month-old Alex and 3-
year-old Michael. She described the carjacker as a "black male in his late 20s to
early 30s, wearing a plaid shirt, jeans, and a toboggan-type hat." A composite of
her description was published in newspapers, nationally and locally. Smith
appeared on national television, tearfully begging for her sons to be returned
safely. An entire nation wept with her, and the image of the black brute resurfaced.
The Reverend Mark Long, the pastor of the church where Smith's family attended
services, said in reference to the black suspect, "There are some people that would
like to see this man's brains bashed in" (Squires, 1994).

After nine days of a gut-wrenching search and strained relations between local
black and white people, there was finally a break in the case: Susan Smith
confessed to drowning her own sons. In a two-page handwritten confession she
apologized to her sons, but she did not apologize to black people, nationally or
locally. "It was hard to be black this week in Union," said Hester Booker, a local
black man. "The whites acted so different. They wouldn't speak (to blacks); they'd
look at you and then reach over and lock their doors. And all because that lady
lied" (Fields, 1994).

The false allegations of Charles Stuart and Susan Smith could have led to racial
violence. In 1908, in Springfield, Illinois, Mabel Hallam, a white woman, falsely
accused "a black fiend," George Richardson, of raping her. Her accusations
angered local white people. They formed a mob, killed two black people chosen
randomly, then burned and pillaged the local black community. Black people fled
to avoid a mass lynching. Hallam later admitted that she lied about the rape to
cover up an extramarital affair.

How many lynchings and race riots have resulted from false accusations of rape
and murder leveled against so-called black brutes?

© Dr. David Pilgrim, Professor of Sociology
Ferris State University
Nov., 2000
Edited 2023


1 The tragic mulatto caricature was sometimes treated as an adult; albeit, a

troubled, white-identified, self-loathing adult.

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         RELATIONSHIPS

         The Power of Self-Love
         Why self-love matters, and how to get started.
         Updated July 7, 2023
            Reviewed by Ray Parker




         KEY POINTS


             Self-love is accepting yourself wholeheartedly, treating
             yourself with kindness, and prioritizing your health.
             There are many ways to practice self-love—such as
             setting boundaries and celebrating your achievements.
             Self-love is a journey, not a destination—take time and
             practice to develop a healthy sense of self-worth.



         Self-love has become a popular concept, but what does it
         mean to love yourself? And more importantly, how do we put
         it into practice? Let's explore the concept of self-love and
         how learning to love yourself can improve your mental health
         and well-being.


         Defining Self-Love

                                                                                           EoR - 1422 of 2347
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                                          Self-love entails accepting
                                                                             US
                                          yourself wholeheartedly,
                                          treating yourself with kind‐
                                          ness and respect, and pri‐
                                          oritizing your physical and
                                          emotional health. It goes
                                          beyond mere actions and
                                          extends to your thoughts
                                          and feelings about
     Source: Amy Shamblen/Unsplash
                                          yourself.

    Loving yourself entails maintaining an overall positive outlook
    about who you are. This doesn't mean that you always feel
    positive about yourself, as that would be unrealistic. For in‐
    stance, there may be moments when you feel upset, angry, or
    disappointed with yourself, and yet you can still love yourself
    —just as you can still love your child or partner despite occa‐
    sionally being angry with them.


    The Importance of Self-Love
    Self-love lays the foundation for assertiveness, establishing
    boundaries, nurturing healthy relationships, practicing self-
    care, pursuing personal interests and goals, and feeling pride
    in one's identity. Without self-love, we’re prone to harsh self-
    criticism and may succumb to people-pleasing tendencies
    and perfectionism. We may tolerate mistreatment from oth‐
    ers, disregard our own needs and feelings due to a lack of
    self-worth, and make choices that undermine our best
    interests.


    Examples of Self-Love


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    The following examples may help you understand self-love
                                                                           US
    better.

        Self-compassion: Treat yourself with kindness, under‐
        standing, and empathy, especially during challenging
        times. Acknowledge that you are human and deserving of
        love and forgiveness.

        Setting boundaries: Recognizing and asserting your
        needs, and communicating them clearly to others.
        Prioritize your well-being by saying "no" to things that
        drain your energy or compromise your values.

        Practicing self-care: Engaging in activities that nourish
        your physical, mental, and emotional well-being. This can
        include activities like exercising, practicing mindfulness or
        meditation, getting enough sleep, or enjoying a hobby.

        Celebrating your achievements: Acknowledging and cel‐
        ebrating your accomplishments, no matter how big or
        small. For example, treat yourself to something you enjoy,
        reflect on your growth, or share your successes with
        trusted friends or loved ones.

        Positive self-talk: Cultivating a positive inner dialogue and
        challenging negative self-talk. Replace self-critical
        thoughts with affirmations and reminders of your
        strengths, capabilities, and worthiness.

        Self-acceptance: Embracing your flaws, quirks, and imper‐
        fections. Recognize that you are unique and that your
        worth is not determined by external standards or compar‐
        isons to others.

        Seeking support: Recognizing when you need help and
        reaching out to trusted friends, family members, or pro‐
        fessionals. Seeking support is an act of self-love that al‐
        lows you to receive the care and guidance you deserve.


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        Embracing self-discovery: Engaging in activities that help
        you better understand yourself, such as journaling, self-               US

        reflection, or therapy. Exploring your interests, values,
        and passions allows you to align your life with what truly
        brings you joy and fulfillment.

                     article continues after advertisement




    Differentiating Self-Love from Narcissism
    One common barrier to embracing self-love is the fear that it
    might resemble narcissism or selfishness. When psycholo‐
    gists and therapists advocate for self-love, they aren't advo‐
    cating for self-aggrandizement or superiority over others.
    Narcissists believe they are superior, refuse to acknowledge
    their flaws or take responsibility for their mistakes, and con‐
    stantly seek external validation and recognition. They lack
    empathy for others.

    In contrast, people who genuinely love themselves recognize
    their flaws, acknowledge their mistakes, and accept and care
    for themselves despite their imperfections. Self-love does not
    hinder caring for others; it merely allows individuals to extend
    the same kindness to themselves.


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    Other Barriers to Self-Love
                                                                             US
    Practicing self-love is hard for many of us. You may relate to
    some of these barriers:

       Perfectionism: "If I can't do it perfectly, there's no point in
       trying." This belief sets unrealistically high standards,
       making it difficult to accept oneself as imperfect and un‐
       dermining self-love.

       Self-criticism: "I'm not good enough. I'll never measure up
       to others." Constantly comparing oneself to others and fo‐
       cusing on perceived shortcomings can create a negative
       self-image and a belief that one doesn’t deserve love.

       Guilt and self-sacrifice: "Taking care of myself is selfish. I
       should always put others' needs first." This belief priori‐
       tizes the needs of others to the point of neglecting per‐
       sonal well-being, leading to burnout and a lack of self-
       care.

       Fear of judgment: "What will others think of me if I priori‐
       tize my own needs?" The fear of being judged, or seen as
       selfish, can prevent individuals from engaging in self-love
       practices, as they may prioritize external validation over
       their well-being.

       Internalized negativity: "I don't deserve happiness or self-
       care. I'm not worthy of love." This deeply ingrained belief
       can stem from past experiences or negative messages
       received from others, leading to a lack of self-worth and
       difficulty practicing self-love.


         THE BASICS


      Why Relationships Matter




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    Putting Self-Love into Action
    It's normal to feel ambivalent about self-love or any kind of
    change. However, embracing self-love doesn't necessitate
    transforming every aspect of your life. Start by treating your‐
    self a little better than you did yesterday.

    To begin, identify one loving act you can undertake for your‐
    self today. It could be a supportive thought or action. You can
    use the list in this post to help you generate ideas. Then,
    write down your chosen act and specify when you will ac‐
    complish it. By documenting it, you increase your account‐
    ability and likelihood of following through. As you incorporate
    more loving thoughts and actions into your daily life, they will
    gradually replace self-defeating thoughts and behaviors. With
    practice, self-love will become second nature.

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    About the Author

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                California.

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       STRESS            3 MIN READ       GRIEF                 4 MIN READ

       How a Therapist                    Living Loss: A
       Copes With                         Hidden Form of
                                                                                     EoR - 1428 of 2347
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       Stress (And You                    Grief
                                                                                US
       Can, Too)                          Living losses are frequently
                                          overlooked, hindering the
       It's natural for people to want
                                          grieving process.
       to retreat inward when they
       feel stressed or overwhelmed.




       PERFECTIONISM        4 MIN READ    FAMILY DYNAMICS      4 MIN READ

       4 Parenting                        Are Therapists
       Styles That Lead                   Behind the Rise
       to Perfectionism                   in Family
       Perfectionists set impossible      Estrangements?
       standards for themselves and
                                          Some people have blamed
       fear they will never measure
                                          therapists for the recent rise
       up.
                                          in family estrangement.




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       RELATIONSHIPS        6 MIN READ    RELATIONSHIPS       6 MIN READ

       8 Reasons                          Dismissing
       Parents Fail to                    Attachment and
       Love Their Kids                    the Search for
       It's possible for parents to be    Love
       insensitive, misattuned, or

                                                                                    EoR - 1429 of 2347
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       harmful to their children while    Why someone can want love,
       earnestly believing that they      but not be able to tolerate it.       US
       love them.




       SELF TESTS                3 MIN    RELATIONSHIPS        4 MIN READ

       Divorce Test                       The Real 4
       Can your marriage stand the        Romantic
       test of time?
                                          Personalities in
                                          Love That Last
                                          Personality involves both
                                          cognitive and emotional
                                          styles.




       RELATIONSHIPS       7 MIN READ     RELATIONSHIPS        5 MIN READ

       Differentiation Is                 3 Questions
       the Crucial                        Partners Should
       Relationship Skill                 Be Able to
       You Need                           Answer About
       Learn how to be autonomous         Each Other
       while maintaining intimacy.
                                          The key to a healthy and
                                          lasting relationship is building
                                          a strong foundation.




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                                                                              US




       RELATIONSHIPS       5 MIN READ    RELATIONSHIPS      5 MIN READ

       What to Do                        11 Ways to Tell if
       When Partners                     Your Lover Loves
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                                         approach challenges couples
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       relationship has run its course
                                         relationship.
       when it loses its special spark
       or when there's a dip in
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                                                                        US




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      Columbus, OH                 Pittsburgh, PA
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      Jacksonville, FL             San Diego, CA
      Las Vegas, NV                San Francisco, CA
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      Milwaukee, WI




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Entertainment & Pop Culture keyboard_arrow_right Movies


The Birth of a Nation
film by Griffith [1915]                                                                                            zoom_in
 Ask the Chatbot a Question                        more_vert More Actions
Also known as: “The Clansman”
Written by Dick Lehr , Lee Pfeiffer • All
Fact-checked by The Editors of Encyclopaedia Britannica
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The Birth of a Nation, landmark silent film
starring Lillian Gish, released in 1915, that was
the first blockbuster Hollywood hit. It was the
longest and most-profitable film then
produced and the most artistically advanced
film of its day. It secured both the future of                               The Birth of a Nation Lillian Gish and
                                                                             Henry B. Walthall in The Birth of a Nation
feature-length films and the reception of film                               (1915), directed by D.W. Griffith.
as a serious medium. An epic about the
American Civil War (1861–65) and the
Reconstruction era that followed, it has long been hailed for its technical and
dramatic innovations. However, it has also been condemned for the racism inherent
in the script and its positive portrayal of the Ku Klux Klan (KKK), which experienced
a major revival after the movie’s release.

(Read Lillian Gish’s 1929 Britannica essay on silent film.)


Plot, production, and themes
Based on the novel The Clansman (1905) by
Thomas Dixon, the two-part epic traces the
                                                                                                                   zoom_in
impact of the Civil War on two families: the
Stonemans of the North and the Camerons of
the South, each on separate sides of the

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conflict. The first half of the film is set from
the outbreak of the war through the
assassination of Pres. Abraham Lincoln, and
the concluding section deals with the chaos of
the Reconstruction period.


                 Britannica Quiz

                Best Picture Movie Quote Quiz
                                                           D.W. Griffith: The Birth of a Nation A
                                                           scene from the film The Birth of a Nation
                                                           (1915), directed by D.W. Griffith.
Director D.W. Griffith revolutionized the
young art of moviemaking with his big-budget
($110,000) and artistically ambitious re-creation of the Civil War years. Shooting on
the film began in secrecy in July 1914. Although a script existed, Griffith kept most of
the continuity in his head—a remarkable feat considering that the completed film
contained 1,544 separate shots at a time when the most-elaborate spectacles, Italian
epics such as Cabiria (1914), boasted fewer than 100. Running nearly three hours,
The Birth of a Nation was the then longest movie ever released, and its sweeping
battle re-creations and large-scale action thrilled audiences. It was also innovative in
technique, using special effects, deep-focus photography, jump cuts, and facial close-
ups.


   Production notes and credits

          Studio: D.W. Griffith Productions
          Director and producer: D.W. Griffith
          Writers: D.W. Griffith and Frank E. Woods
          Music: Joseph Carl Breil
          Running time: 190 minutes

   Cast

          Lillian Gish (Elsie Stoneman)
          Mae Marsh (Flora Cameron)
          Henry B. Walthall (Colonel Ben Cameron)
          Miriam Cooper (Margaret Cameron)
          Ralph Lewis (Austin Stoneman)
          George Siegmann (Silas Lynch)




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However, the movie’s overt racism outraged African Americans and civil rights
advocates. Black people, particularly in the film’s second part dramatizing
Reconstruction, are portrayed as the root of all evil and unworthy of freedom and
voting rights. In addition, male African Americans are depicted as always lusting after
white women. In contrast, the KKK is portrayed in a heroic light as a healing force
restoring order to the country amid the supposed chaos and lawlessness of
Reconstruction.


Reception and controversies
Protests against the film accompanied its premiere in Los Angeles in February 1915
and continued when the movie debuted in New York City the following month. But it
was in Boston, where the film opened in April, that Griffith faced the most intense
and protracted opposition. William Monroe Trotter—a civil rights leader and editor of
a radical Boston weekly newspaper, The Guardian—teamed up with the local branch
of the National Association for the Advancement of Colored People (NAACP) in a bid
to ban the film. Throughout the spring of 1915, Trotter, an 1895 graduate of Harvard
and the college’s first Black member of Phi Beta Kappa, was at the forefront of the
protests, which included mass rallies at which thousands of demonstrators were
confronted by a small army of Boston police. Foreshadowing the direct-action civil
rights strategies of the 1960s, the demonstrations, which sometimes turned violent,
played out in every venue imaginable: city hall, the streets, the courts, and the
Massachusetts state legislature. The effort failed to stop Griffith’s movie, but it
succeeded in galvanizing the civil rights movement in Boston and around the country,
and it exposed in no uncertain terms the movie’s bigoted treatment of historic events.

Still, Griffith’s movie proved a boon for the KKK, which had practically disappeared
by the 1870s, with the end of Reconstruction. In December 1915 it was revived in
Georgia following the opening of the movie in Atlanta. Directly inspired by The Birth
of a Nation, Col. William J. Simmons, a preacher and promoter of fraternal orders,
led a cross burning on Stone Mountain that marked the beginning of a new era of
KKK activity.




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Demonstrations, mainly organized by the NAACP, continued in other cities where the
film was shown. Ultimately, the filmmakers’ civil liberties claims prevailed against
protesters’ bid to suppress the film. Showings of The Birth of a Nation were stopped
in only a few states and a handful of municipalities. Such opposition, however, did
not prevent The Birth of a Nation from becoming one of the most-popular films of
the silent era. It achieved national distribution in the year of its release and was seen
by nearly three million people.


Legacy
Notwithstanding its controversial legacy and the challenge the film presents for
modern viewers, The Birth of a Nation remains a landmark work in cinematic
history. This view was reflected in 1992 when the U.S. Library of Congress classified it
among the “culturally, historically, or aesthetically significant films” produced in the
United States and selected it for preservation in the National Film Registry.


 Lee Pfeiffer


 Dick Lehr
Entertainment & Pop Culture keyboard_arrow_right Movie, TV & Stage Directors

D.W. Griffith
American director

 Ask the Chatbot a Question                    more_vert More Actions
Also known as: David Wark Griffith
Written by Robert M. Henderson
Fact-checked by The Editors of Encyclopaedia Britannica
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D.W. Griffith (born January 22, 1875,
Floydsfork, Kentucky, U.S.—died July 23,
                                                                                                 zoom_in
1948, Hollywood, California) was a pioneer
American motion-picture director credited
with developing many of the basic techniques
of filmmaking, in such films as The Birth of a
Nation (1915), Intolerance (1916), Broken
Blossoms (1919), Way Down East (1920),
Orphans of the Storm (1921), and The
Struggle (1931).

(Read Lillian Gish’s 1929 Britannica essay on
silent film.)


Early life and influences
                                                    D.W. Griffith
D.W. Griffith, the son of Jacob Griffith, a
former Confederate colonel, was born in a tiny
hamlet not far from Louisville, Kentucky. He                          Quick Facts

received his early education in one-room               In full: David Wark Griffith

schools, largely under the tutelage of his older       Born: January 22, 1875, Floydsfork,
                                                       Kentucky, U.S.
sister, and was subject to the strong influence
                                                       Died: July 23, 1948, Hollywood,
of his father’s imaginative stories of the             California (aged 73)
Mexican-American War and the American                  Founder: United Artists Corporation
Civil War and family readings of the works of          Notable Works: “Intolerance”
Charles Dickens, William Shakespeare, and
Sir Walter Scott. The family was impoverished                       expand_more Show More
upon the death of Jacob, when David was
10 years old. After a brief stay with
                                                                                            zoom_in
relatives, the family moved to Louisville.
Griffith’s formal education was terminated
in secondary school by the necessity of
contributing to the family’s financial needs.
He became, successively, an elevator

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operator in a dry-goods store and a clerk in
a bookstore. During the latter clerkship,
Griffith was exposed to the literati of
Louisville and to the actors and actresses
who played at Louisville’s Temple Theatre.

Griffith began an acting career with several
amateur theatre groups and made his
professional debut in small roles with a
stock company at the Temple Theatre. A
barnstorming career with various touring
companies followed, concluding with a
                                                    D.W. Griffith American film director
Boston engagement in the spring of 1906.            D.W. Griffith.
Following that engagement, Griffith
completed a play, A Fool and a Girl, based on his personal experiences in the
California hop fields, which was produced in Washington, D.C., in the fall of 1907.
The play was a failure despite the presence of Fannie Ward in the leading role. After
the closing of the play, Griffith wrote a second play, War, which was based on events
that occurred in the American Revolution. This later play remains unproduced.

On the advice of a former acting colleague, Griffith sold some scenarios for one-reel
films, first to Edwin Porter, the director of the Edison Film Company, and then to the
Biograph Company, both located in New York City. Griffith appeared as an actor in
one film for the Edison Company, Rescued from an Eagle’s Nest, photographed by
Porter, and in several films for the Biograph Company. When an opening for a
director developed at Biograph, Griffith was hired. During the next five years, from
1908 to 1913, Griffith made more than 400 films for Biograph, the majority in the
one-reel format, lasting approximately 12 minutes. His first film was The Adventures
of Dollie (1908), about a baby stolen by and recovered from Gypsies. During the latter
part of his employment, he experimented with longer films; his last Biograph film,
Judith of Bethulia (1913), a biblical story of Judith and Holofernes, based loosely on a
poem of the same title by Thomas Bailey Aldrich, comprised four reels.

During his Biograph period D.W. Griffith introduced or refined the techniques of
motion-picture exposition, including the close-up, a film shot in which a single object
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or face filled the screen; the scenic long shot, showing an entire panoramic view; and
cross-cutting, a technique of editing scenes at various locations together and
intermixing them to give the impression to the viewer that the separate actions were
happening simultaneously. With the assistance of his brilliant cinematographer, Billy
Bitzer, Griffith made effective use of the fade-out and fade-in, a technique in which
the screen darkens gradually to black or lightens from black to a full image, to
indicate the end or the beginning of the story or of an episode, and the framing of film
                                               keyboard_arrow_down a picture in other than the
                                          Load Next Page
images through the use of special masks to produce
standard rectangular image. Griffith introduced to the screen young actors and
actresses who were to become the motion-picture personages of the future. Included
among these were Mary Pickford, Lillian and Dorothy Gish, Mack Sennett, Mae
Marsh, Lionel Barrymore, and Harry Carey.




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NEWS


Jews And Blackface: A Complicated History

From Al Jolson to Dov Hikind, blackface has a complex history in the Jewish community.




Al Jolson in “The Jazz Singer.” (Getty Images)




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By Steve Lipman February 6, 2019      9:47 am



When it comes to the Jewish experience with blackface, the picture is, well, not so black and white.



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For Jews, the controversy surrounding Virginia Gov. Ralph Northam suggests a complicated history that runs from Al Jolson to Eddie
Cantor to former Brooklyn Assemblyman Dov Hikind.

Northam’s political career is foundering because his 1984 medical school yearbook page featured a photograph of two white people,
one in blackface, the other in a KKK costume. (He denies being in the photo or even knowing it was on his page, but admits he
darkened his skin to look like Michael Jackson for a 1984 talent show.)

Northam is walking in the footsteps of Al Jolson, born Asa Yoelson in Lithuania to Jewish parents who immigrated to the United
States; the actor-singer known at the height of his popularity as “The World’s Greatest Entertainer” often performed in blackface.




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Jolson’s career flourished as a result of his portrayal of African-Americans, most notably in the 1927 film “The Jazz Singer,” the first
full-length “talkie,” whose hallmark moment is his emotional singing, on bended knee, in blackface and overdrawn white lips, of
“Mammy.” At the time, Jolson was arguably better known in the country than any genuinely black performer.

The current debate over the propriety of non-blacks impersonating blacks, especially through wearing makeup on their faces —
whether accompanied by stereotyped “black language” and mannerisms or not — is focusing attention on the history of blackface; the
debate exists at the intersection of cultural affinity and cultural appropriation, and the practice’s changing perceptions in parts of both
black and white society.

Blackface has a long Jewish history.

The practice originated in the late 1820s, with white male performers portraying African-American characters by applying burnt cork
to their faces; these minstrel acts grew in popularity through the 1840s, frequently exposing white audiences in the North to a
depiction of Southern black life. Mark Twain and Abraham Lincoln were known to attend minstrel shows.

White and black performers — including Bert Williams, the most-prominent black entertainer of the Vaudeville era — darkened their
faces in this way. Blackface became a staple of Vaudeville, and of ads for such products as cigarettes and pancakes.

Then came “The Jazz Singer,” which took blackface to a wider, national audience. In addition to Jolson, leading Jewish entertainers
who also performed in blackface included such prominent names as Eddie Cantor, George Burns, George Jessel and Sophie Tucker.

Jews then played a disproportionate role in the entertainment industry.

“Jews performed this kind of minstrelsy in the 1910s and 1920s better and more than any other group in America. Jewish faces
covered in cork were ubiquitous,” Michael Alexander, University of California religious studies professor, wrote in “Jazz Age Jews”
(University of Princeton Press, 2003).

The late author Michael Rogin, whose 1998 book “Blackface, White Noise: Jewish Immigrants in the Hollywood Melting Pot”
(University of California Press) investigated this phenomenon, wrote that many Jewish members of the entertainment industry
“thought that depicting Jews [as themselves] would promote anti-Semitism, so they hid it. Blackface is a metaphor for that.”

“In actuality,” wrote film scholar Lester Friedman in “Hollywood’s Image of the Jew” (Ungar Publishing Co., 1982), “many Jewish
performers gained early and continued success using [blackface] … Indeed, it is too easy to ignore the derogatory aspects of such
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activities, the unconscious racism accepted and nourished by such cruel parodies, by citing historical contexts.

“The undisguised elements of ridicule in such blackface portrayals by Jews mimicking the outlandish stereotypes of blacks,” he
continued, “now looks suspiciously like one group’s desperate need to assert its own superiority by mimicking another.”

In time, blackface became passé. Prominent individuals who have over the years drawn criticism for appearing in blackface include
actor Ted Danson, who showed up at a 1993 Friars Club roast for his then-girlfriend Whoopi Goldberg in minstrel blackface; Florida’s
secretary of state, who resigned recently from his post after a 2005 Halloween party photograph surfaced of him in blackface,
costumed as a victim of Hurricane Katrina; and then-New York State legislator Dov Hikind, who donned brown makeup and an Afro
wig for a 2013 Purim party, portraying a “black basketball player.”

Hikind, first attributing the ensuing criticism to a climate of “political correctness to the absurd,” later apologized for his “deeply
disturbing” act.

In a related matter, NBC host Megyn Kelly lost her job last year for asking on-air what was wrong with dressing in blackface, referring
to a controversy surrounding a white celebrity who darkened her skin to look like Diana Ross on Halloween.

Kelly, too, apologized. As did Northam, for his Michael Jackson impersonation

When Jolson did blackface, apparently no apology was needed.

His role in “The Jazz Singer,” which highlighted his dilemma as the child of an Orthodox family who was balancing his parents’ desire
for him to enter the cantorate with his wish for a secular musical career, has been controversial because the actor spent much time on-
screen in blackface. This was a performance mode he shared with many black entertainers of the time such as Bert Williams and Bilo
(Sammie Russell), said Charles Musser, professor of American studies, film studies and theater studies at Yale University.


         Mammy - Al Jolson (Jazz Singer performance)




The first talkie shown in many black-owned movie theaters in this country was “The Jazz Singer,” Musser writes in “Why Did Negroes
Love Al Jolson and ‘The Jazz Singer’?: Melodrama, Blackface and Cosmopolitan Theatrical Culture,” a 2011 essay in Film History
journal. “African American newspapers also praised ‘The Jazz Singer,’” he wrote, adding that the papers noted that black audiences,
particularly black women, “had intense emotional reactions to the film.”

As a member of a fellow minority group, Jolson often aligned himself with black Americans’ struggles for acceptance. Jolson was
widely known in the black community for supporting the careers of black entertainers, Musser said.

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Other academics have similar views. In an email interview with The Jewish Week, Jonathan Sarna, professor of Jewish American
history at Brandeis University, said, “Many believe that Jolson was actually displaying sympathy for African Americans” in his “Jazz
Singer” performance.

“Blackface, once upon a time, was commonplace and not viewed as negative or an effort to stigmatize; indeed, many of those who put
on blackface felt that through it they came to understand something of the black experience (much as in “Gentleman’s Agreement,” the
character who pretended to be a Jew came to understand the stigma of being Jewish),” Sarna continued. “Over time, of course,
blackface became unacceptable, seen either as demeaning or as a form of cultural appropriation.”

As a precursor to the Northam controversy, Bobby Berger, a Baltimore actor who specialized in impersonations of Al Jolson, decided
to stop his act four years ago — audiences objected to him performing, authentically, in blackface.




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 Purim parties in NYC: Here’s where to celebrate in 2025




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 OBIT UARIE S

 Michael Levine, founding member of NY’s pioneering LGBTQ synagogue and witness to the
 Stonewall riots, dies at 81




 FOOD

 Her family is NY Jewish deli royalty. Now she’s launching her own food company with a
 Middle Eastern twist.




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 Deeper Dive


AS AMERICAN AS THE BLUES: LYNCHING IN
FILM AND TV
FEBRUARY 20, 2020 BY INDEPENDENT LENS IN BEYOND THE FILMS




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By Ade Adeniji


Always in Season explores the history of lynching through the
mysterious 2014 death of Lennon Lacy while also looking at historical
reenactments of lynching, prompting some to question the value of
conjuring up the past. The specter of lynching, though, has been
depicted in American popular culture for decades, including in film
and television. And while one might be tempted to argue that these
portrayals have evolved straightforwardly as black Americans attained
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more full-fledged citizenship, depictions of lynching have often been
layered and complicated, even during less progressive eras.

In D.W. Griffith’s Birth of a Nation (1916), a sexually rapacious black
captain Gus (played by a white actor in blackface) is lynched by the
Klan after trying to marry a white woman named Flora, who would
rather plunge to her death than elope with him. Griffith casts the Klan
as heroes and blacks, including black soldiers and statesmen during
Reconstruction, as the villains. On the heels of the film, the KKK
resurged and along with it, racial terror inflicted upon black
Americans. National membership in the Klan peaked at about 4.5
million a few years later. However, even back then, there was
pushback against the film, with the NAACP attempting to ban it.


       Birth of a Nation (1915), woman throws herself off …




In 1920, pioneering black filmmaker Oscar Micheaux released his own
silent film Within Our Gates. The lynching he stages pushes back
against the lie of the noble Klanner carrying out extrajudicial killings
by showing an ordinary black family fighting for their lives. Micheaux
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makes it clear who’s in the right and who’s in the wrong during a time
when activists like Ida B. Wells were also trying to expose and curb
the entrenched practice. While a black mother and father are killed in
this scene, their young son pulls off his noose, survives a gunshot,
and escapes on horseback. This conclusion would be unheard of in
Griffith’s telling, whose audience would be deprived of their payoff of
a dead black body. Instead, this young black boy gets to tell the story
of the barbarism he survived, hopefully in a world that outlaws it.


       WITHIN OUR GATES (excerpt)




Starring Tony Curtis and Sidney Poitier, The Defiant Ones (1958) deals
with the unlikely interracial pairing of two escaped prisoners, John
and Noah. At one point our antiheroes are cornered, set to be
lynched. There’s humor in the moments leading up to the expected
violence, with the women and children being told to leave because of
a “prayer meeting.” And when things finally escalate, the white John
cries out “you can’t go lynching me, I’m a white man!” This feels
surprising in that despite an obvious racial caste system in the Jim
Crow South, the machinery behind it wasn’t always laid bare like that.
There were certainly many rules, but many of them were unspoken
and packaged in etiquette and decorum. At that moment, sure, John is

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just trying to save his hide. But he’s also admitting that his whiteness
carries privilege – an advantage of which he is deeply aware.


         The Defiant Ones (1958) - You Can't Go Lynching M…
                                                         M…




In the lynch mob scene in To Kill a Mockingbird (1962) everyone’s
favorite movie lawyer Atticus Finch (Gregory Peck) stands sentry
outside the jail protecting Tom Robinson, a black man accused of
raping a white girl. In contrast to Griffith’s Flora, who “nobly” plunges
to her death rather than succumb to miscegenation, Atticus, by
defending Tom, breaks the social contract and thus deserves his same
grisly fate. White womanhood is at the center of many lynching
stories, and this also seems to hold true in depictions of lynching in
media.

However, To Kill a Mockingbird complicates matters by also having
Scout arrive on the scene, likely unaware of the circumstances. The
young white girl addresses Mr. Cunningham, whom she recognizes
amidst the bloodthirsty crowd; Scout goes to school with
Cunningham’s son and her innocent appeal stops the mob in its
tracks. One YouTube comment reads: “[Scout] is the bravest girl I have
seen in ages. [S]he saved her dad and brother and Tom Robinson from


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lynching and she didn’t need to get violent but she used words and
affected clearly on the men.”




Though set in the antebellum, Mandingo’s (1975) lynching scene feels
very much out of its blaxploitation era. Slur du jour “peckerwood”
rolls off militant character Cicero’s tongue as he’s captured by white
slavers. But rather than beg for his life, Cicero gives a fearless
harangue of his white executioners, punctuating it with “and after you
hang me, kiss my ass!” It’s almost comically over the top, and on the
nose. But it’s also deeply satisfying, with anachronistic lingo
hammering home a nascent black empowerment message.

Much like Roots (1977), Mandingo pushes back against years of media
past and even present that propagate the myth of the happy slave.
Micheaux’s silent and respectable lynching victims are now
unapologetically loud and righteous. The scene also calls for black
unity and in what might be surprising to those ignorant of black
militancy, is doubly hard on black folk who appear to uphold white
supremacy; indeed, Cicero is only strung up on a tree after he’s
hunted down by the film’s eponymous character, a fellow enslaved


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black man. “You see me hang, you’re gon’ know you killed a black
brother!”




The late John Singleton’s Rosewood (1997), based on the true story of
an all-black community in Florida destroyed by a mob, also focuses
on black heroism. Singleton introduces a fictional outsider Mann (Ving
Rhames), a WWI veteran who advocates for self-defense. Mann is a
good example of the New Negro, a Harlem Renaissance era black
empowerment ethos. Strung up on a tree, Mann somehow survives
being suspended in the air long enough for white infighting to
happen. The Sheriff openly admits that Mann probably didn’t attack a
white woman named Fanny and even implies that she’s promiscuous.
Other white members of the mob laugh, prompting Fanny’s husband
James to fight the sheriff. And in the chaos, Mann escapes.

Like The Defiant Ones some forty years prior, Rosewood depicts a
white society that at times lifts the veil and reveals the hollow
machinery underneath. If the Sheriff admits he was willing to lynch an
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innocent man, doesn’t that undermine the sanctity of Jim Crow?
What’s more, in Mann, we’re given a true hero to root for. Not only
does Mann make an improbable escape, his neck holding up against
the noose, but he saves his beloved horse to boot. All this in the state
of Florida, which lynched more black people per capita than
anywhere else in the country.




In more recent times, lynching depictions have continued in movies
like 12 Years a Slave, the longest 2 minutes and 53 seconds you can
imagine. Solomon Northup is kept in a state of near-strangulation all
day. The camera doesn’t flinch and it’s shot in a single take. Daily life
somehow continues on. Enslaved children play, birds chirp. Notably,
there is no angry mob. Northup himself is seemingly alone, and yet
we know that all the slaves on the plantation are watching him, afraid
to act. While other scenes consider the mob, director Steve McQueen’s
scene speaks to the protracted nature of individual suffering during
lynching, and the message that sends to everyone else who could be
victim to it.




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And in HBO’s superhero subversion sensation Watchmen, Hooded
Justice’s origin story is rooted in a near lynching at the hands of the
police. The series largely focuses on Tulsa, Oklahoma, beginning in its
Greenwood District, a prosperous neighborhood dubbed Black Wall
Street, which was destroyed by white terrorism in 1921. Later in the
series, Hooded Justice dons a hood, a repurposed noose, and white
face in order to fight crime. Quite a departure from D.W. Griffith’s days.
Then again, perhaps Micheaux’s young boy who escaped Jim Crow’s
fate went on to become a hero, too.




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How the History of Blackface Is
Rooted in Racism
Blackface became popular in the U.S. after the Civil War as white
performers played characters that demeaned and dehumanized African
Americans.

BY: ALEXIS CLARK
UPDATED: MARCH 29, 2023 | ORIGINAL: FEBRUARY 13, 2019



The portrayal of blackface–when people darken their skin with shoe polish,
greasepaint or burnt cork and paint on enlarged lips and other exaggerated features
—is steeped in centuries of racism. It peaked in popularity during an era in the United
States when demands for civil rights by recently emancipated slaves triggered racial
hostility. And today, because of blackface’s historic use to denigrate people of African
descent, its continued use is still considered racist.

“It’s an assertion of power and control,” says David Leonard , a professor of
comparative ethnic studies and American studies at Washington State University. “It
allows a society to routinely and historically imagine African Americans as not fully
human. It serves to rationalize violence and Jim Crow segregation.”

Although the exact moment when blackface originated isn’t known, its roots date
back to centuries-old European theatrical productions, most famously, Shakespeare’s
Othello. The practice then began in the United States in the 18th century, when
European immigrants brought the genre over and performed in seaports along the
Northeast, says Daphne Brooks, a professor of African American studies and theater
studies at Yale University.


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“But the most famous sort of era to think of as being the birth of the form itself is the
Antebellum era of the early 19th century,” Brooks says.

Thomas Dartmouth Rice , an actor born in New York, is considered the “Father of
Minstrelsy.” After reportedly traveling to the South and observing slaves, Rice
developed a Black stage character called “Jim Crow” in 1830.

With quick dance moves, an exaggerated African American vernacular and buffoonish
behavior, Rice founded a new genre of racialized song and dance—blackface minstrel
shows—which became central to American entertainment in the North and South.

White performers in blackface played characters that perpetuated a range of negative
stereotypes about African Americans including being lazy, ignorant, superstitious,
hypersexual, criminal or cowardly.

Several characters in minstrel shows became archetypes, as described in the
University of Florida’s digital exhibit, “History of Minstrels: From ‘Jump Jim Crow’ to
‘The Jazz Singer.’” Some of the most famous ones were Rice’s “Jim Crow,” a rural
dancing fool in tattered clothing; the “Mammy,” an overweight and loud mother
figure; and “Zip Coon,” a flamboyant-dressed man who used sophisticated words
incorrectly.

Most of the minstrel show actors were working-class Irishmen from the Northeast,
who performed in blackface to distance themselves from their own lower social,
political and economic status in the United States, says Leonard.

“They did it to authenticate their whiteness,” he says. “It was the same as saying ‘We
can become the other and mock the other and assert our superiority by
dehumanizing the other.’”

Blackface minstrel shows soared in popularity, in particular, during the period after
the Civil War and into the start of the 20th century, as documented in the
Smithsonian National Museum of African American History and Culture’s official
blackface history. The widespread demeaning portrayals of African Americans
paralleled a period when southern state legislatures were passing “Black Codes” to
restrict the behavior of former slaves and other African Americans. In fact, the codes
were also called “Jim Crow” laws, after the blackface stage character.


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As society modernized, so did the ways in which blackface was portrayed. Not only
was blackface in theaters, but it moved to the film industry. In the blockbuster movie
The Birth of a Nation, blackface characters were seen as unscrupulous and rapists. The
stereotypes were so powerful they became a recruiting tool for the Ku Klux Klan.
African Americans protested the film’s portrayals and its distorted take on the post-
Civil War era, yet it continued to be popular among white audiences.

“There are different ways in which blackface becomes weaponized as a form of white
supremacist propaganda,” says Brooks.

African Americans also performed in blackface given it was the only way to be in the
entertainment industry. But their performances countered some of the primitive
representations that were popularized. Black artists Bert Williams and George
Walker infused political commentary with their comedic minstrel routines, offering a
more intelligent representation of African Americans.

But blackface minstrelsy remained a genre heavily dominated by white actors. Al
Jolson, a Lithuanian Jewish immigrant who came to New York as a child, became one
of the most influential blackface stars of the 20th century, including his 1927 hit film
The Jazz Singer.

The appeal of blackface declined after the 1930s and into the civil rights
movement. However, the negative stereotypes of African Americans and mocking of
dark skin have persisted in recent decades. For example, blackface appeared in the
Oscars ceremony in 2012, on televisions skits, and wearing blackface to dress up as
famous African Americans during Halloween remains an ongoing issue.

More recently, outrage ensued when Virginia Governor Ralph Northam and the state
attorney general Mark Herring both admitted in February 2019 to wearing blackface
costumes as young men.

As Leonard says, “Blackface is part of the toxic culture of racism.”




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                                         BY: ALEXIS CLARK
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Blackface: The Birth of An
American Stereotype




Billy Van, the monologue comedian, 1900. This image is available from the United States Library of Congress's
Prints and Photographs division under the digital ID var.1831




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Historian Dale Cockrell once noted that poor and working-class whites who felt
“squeezed politically, economically, and socially from the top, but also from the
bottom, invented minstrelsy” as a way of expressing the oppression that
marked being members of the majority, but outside of the white
norm. Minstrelsy, comedic performances of “blackness” by whites in
exaggerated costumes and make-up, cannot be separated fully from the racial
derision and stereotyping at its core. By distorting the features and culture of
African Americans—including their looks, language, dance, deportment, and
character—white Americans were able to codify whiteness across class and
geopolitical lines as its antithesis.




    “ The whole idea of a stereotype is to simplify. ”


                                 Chinua Achebe




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          Tin windup toy of "Ham and Sam The Minstrel Team."
          The pervasiveness of stereotypical images like these made the civil rights efforts of
          African Americans even more difficult. The black people represented here were
          irresponsible, laughable, and difficult to understand. If white people accepted
          these stereotypes, it became that much easier to deny African Americans the full
          rights of citizenship.
          Collection of the Smithsonian National Museum of African American History and
          Culture, Gift of the Collection of James M. Caselli and Jonathan Mark Scharer




The first minstrel shows were performed in 1830s New York by white
performers with blackened faces (most used burnt cork or shoe polish) and
tattered clothing who imitated and mimicked enslaved Africans on Southern
plantations. These performances characterized blacks as lazy, ignorant,
superstitious, hypersexual, and prone to thievery and cowardice. Thomas
Dartmouth Rice, known as the “Father of Minstrelsy,” developed the first
popularly known blackface character, “Jim Crow” in 1830. By 1845, the




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popularity of the minstrel had spawned an entertainment subindustry,
manufacturing songs and sheet music, makeup, costumes, as well as a ready-set
of stereotypes upon which to build new performances.




          Cover to early edition of Jump Jim Crow sheet music.
          Thomas D. Rice is pictured in his blackface role; he was performing at the Bowery
          Theatre (also known as the "American Theatre") at the time. This image was
          highly influential on later Jim Crow and minstrelsy images.
          Institute for Advanced Technology in the Humanities at the University of Virginia




Blackface performances grew particularly popular between the end of the Civil
War and the turn-of-the century in Northern and Midwestern cities, where
regular interaction with African Americans was limited. White racial animus
grew following Emancipation when antebellum stereotypes collided with actual


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African Americans and their demands for full citizenship including the right to
vote. The influence of minstrelsy and racial stereotyping on American society
cannot be overstated. New media ushered minstrel performances from the
stage, across radio and television airwaves, and into theaters. Popular
American actors, including Shirley Temple, Judy Garland and Mickey Rooney
donned blackface, bridging the minstrel performance across generations, and
making blackface (racial parody, and stereotypes) a family amusement.




           Postcard depicting a caricatured boy eating a slice of watermelon.
           Collection of the Smithsonian National Museum of African American History and
           Culture, Gift of the Collection of James M. Caselli and Jonathan Mark Scharer




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Blackface and the codifying of blackness— language, movement, deportment,
and character—as caricature persists through mass media and in public
performances today. In addition to the increased popularity of “black”
Halloween costumes, colleges and universities across the country continue to
battle against student and professor blackface performances. In each instance,
those facing scrutiny for blackface performances insist no malice or racial
hatred was intended.




View objects in our collection related to blackface
and minstrelsy.




          Three blackface masks
          Collection of the Smithsonian National Museum of African American History and
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                                                                                                  Live TV


This is why blackface is offensive
By Harmeet Kaur, CNN
Updated 11:24 PM EST, Thu February 7, 2019




 Don Lemon explores the history of blackface (00:02:51)



                                                                                          02:51 - Source: CNN

Don Lemon explores the history of blackface




(CNN) — It’s been nearly 200 years since white performers first started painting their faces
black to mock enslaved Africans in minstrel shows across the United States. It was racist and
offensive then, and it’s still racist and offensive today.

Among the recent controversies to erupt over blackface is a photo on Virginia Gov. Ralph
Northam’s personal page in his medical school yearbook. It depicts one person in blackface
and another dressed as a member of the Ku Klux Klan. After initially apologizing for appearing in
the photo, the Democratic governor now says he is neither the person in blackface nor the
person dressed as a Klansman.

However Northam’s case and others like it play out, it’s important for every American to
understand what blackface is and why it’s so offensive.



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The racist origins of blackface




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                                                                                                               Getty Images

American actors and comedy partners Charles Correll (L) and Freeman Gosden lean against each other in blackface makeup in
a 1949 promotional portrait.



Blackface isn’t just about painting one’s skin darker or putting on a costume. It invokes a racist
and painful history.

The origins of blackface date back to the minstrel shows of mid-19th century. White performers
darkened their skin with polish and cork, put on tattered clothing and exaggerated their
features to look stereotypically “black.” The first minstrel shows mimicked enslaved Africans on
Southern plantations, depicting black people as lazy, ignorant, cowardly or hypersexual,
according to the Smithsonian’s National Museum of African American History and Culture
(NMAAHC).

The performances were intended to be funny to white audiences. But to the black community,
they were demeaning and hurtful.

One of the most popular blackface characters was “Jim Crow,” developed by performer and
playwright Thomas Dartmouth Rice. As part of a traveling solo act, Rice wore a burnt-cork
blackface mask and raggedy clothing, spoke in stereotypical black vernacular and performed a
caricatured song and dance routine that he said he learned from a slave, according to the
University of South Florida Library.

                     Metropolitan Opera to stop blackface makeup in 'Otello'




Though early minstrel shows started in New York, they quickly spread to audiences in both the
North and South. By 1845, minstrel shows spawned their own industry, NMAAHC says.

Its influence extended into the 20th century Al Jolson performed in blackface in “The Jazz
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Its influence extended into the 20th century. Al Jolson performed in blackface in The Jazz
Singer,” a hit film in 1927, and American actors like Shirley Temple, Judy Garland and Mickey
Rooney put on blackface in movies too.

The characters were so pervasive that even some black performers put on blackface, historians
say. It was the only way they could work – as white audiences weren’t interested in watching
black actors do anything but act foolish on stage.

William Henry Lane, known as “Master Juba,” was one of the first black entertainers to perform
in blackface. His shows were very popular and he’s even credited with inventing tap dance,
according to John Hanners’ book “It Was Play or Starve: Acting in Nineteenth-century American
Popular Theatre.”

Despite Lane’s relative success, he was limited to the minstrel circuit and for most of his life
performed for supper. He eventually died “from something as simple and as pathetic as
overwork,” Hanners wrote.


Its damaging legacy
Such negative representations of black people left a damaging legacy in popular culture,
especially in art and entertainment.




                    Zoe Saldana, Nina Simone and the history of blackface




Minstrel shows were usually the only depiction of black life that white audiences saw.
Presenting enslaved Africans as the butt of jokes desensitized white Americans to the horrors of
slavery. The performances also promoted demeaning stereotypes of black people that helped
confirm white people’s notions of superiority.
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“By distorting the features and culture of African Americans—including their looks, language,
dance, deportment and character—white Americans were able to codify whiteness across
class and geopolitical lines as its antithesis,” NMAAHC says.


Ignorance is no excuse
In modern discussion over blackface, its racist history is often swept under the rug or shrouded
in claims of ignorance.

                  Megyn Kelly's 'blackface' comments show her true face




In a 2018 segment on “Megyn Kelly Today” about political correctness and Halloween
costumes, the former NBC host said that when she was growing up, it was seen as acceptable
for a white person to dress as a black person.

“But what is racist?” Kelly asked. “Because you do get in trouble if you are a white person who
puts on blackface on Halloween, or a black person who puts on whiteface for Halloween. Back
when I was a kid that was OK, as long as you were dressing up as, like, a character.”

Her comments sparked widespread anger. She apologized, but her show was ultimately
canceled.

White celebrities, college students and even elected officials have made similar claims of
ignorance over past and current controversies involving blackface.

But NMAAHC is clear on this: “Minstrelsy, comedic performances of ‘blackness’ by whites in
exaggerated costumes and makeup, cannot be separated fully from the racial derision and
stereotyping at its core.”



                                          View on CNN




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Blackface
Blackface is the practice of performers using burned cork, shoe
polish, or theatrical makeup to portray a caricature of black people
on stage or in entertainment. Scholarship on the origins or definition
of blackface vary with some taking a global perspective that includes
European culture and Western colonialism.[1] Blackface became a
global phenomenon as an outgrowth of theatrical practices of racial
impersonation popular throughout Britain and its colonial empire,
where it was integral to the development of imperial racial politics.[2]
Scholars with this wider view may date the practice of blackface to as
early as Medieval Europe's mystery plays when bitumen and coal
were used to darken the skin of white performers portraying demons,        This reproduction of a 1900 William H. West
devils, and damned souls.[3] Still others date the practice to English     minstrel show poster, originally published by
Renaissance theater, in works such as William Shakespeare's                the Strobridge Lithographing Company, shows
Othello.[4]                                                                the transformation from a person of European
                                                                           descent to a caricature of a dark-skinned
However, some scholars see blackface as a specific practice limited to     person of African descent.
American culture that began in the minstrel show; a performance art
that originated in the United States in the early 19th century and
which contained its own performance practices unique to the American stage. Scholars taking this point of view
see blackface as arising not from a European stage tradition but from the context of class warfare[5] from within
the United States, with the American white working poor inventing blackface as a means of expressing their
anger over being disenfranchised economically, politically, and socially from middle and upper class White
America.

In the United States, the practice of blackface became a popular entertainment during the 19th century into the
20th. It contributed to the spread of racial stereotypes such as "Jim Crow", the "happy-go-lucky darky on the
plantation", and "Zip Coon" also known as the "dandified coon".[6][7][5]

By the middle of the 19th century, blackface minstrel shows had become a distinctive American artform,
translating formal works such as opera into popular terms for a general audience.[8] Although minstrelsy began
with white performers, by the 1840s there were also many all-black cast minstrel shows touring the United States
in blackface, as well as black entertainers performing in shows with predominately white casts in blackface. Some
of the most successful and prominent minstrel show performers, composers and playwrights were themselves
black, such as: Bert Williams, Bob Cole, and J. Rosamond Johnson.

Early in the 20th century, blackface branched off from the minstrel show and became a form of entertainment in
its own right,[9] including Tom Shows, parodying abolitionist Harriet Beecher Stowe's 1852 novel Uncle Tom's
Cabin. In the United States, blackface declined in popularity from the 1940s, with performances dotting the
cultural landscape into the civil rights movement of the 1950s and 1960s.[10] It was generally considered highly
offensive, disrespectful, and racist by the late 20th century,[11] but the practice (or similar-looking ones) was
exported to other countries.[12][13]




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Early history
There is no consensus about a single moment that constitutes the origin of
blackface. Arizona State University professor Ayanna Thompson links the
beginning of blackface to stage practices within the Medieval Europe miracle
or mystery plays. It was common practice in medieval Europe to use bitumen
and soot from coal to darken skin to depict corrupted souls, demons, and
devils in blackface. Louisiana State University professor Anthony Barthelemy
stated, "“In many medieval miracle plays, the souls of the damned were
represented by actors painted black or in black costumes.... In [many
versions], Lucifer and his confederate rebels, after having sinned, turn
black.”[14]
                                                                                  FLIT advertisement by Dr. Seuss
The journalist and cultural commentator John Strausbaugh places it as part
                                                                                  depicting blackface-styled
of a tradition of "displaying Blackness for the enjoyment and edification of      caricatures of Black people
white viewers" that dates back at least to 1441, when captive West Africans
were displayed in Portugal.[15] White people routinely portrayed the black
characters in the Elizabethan and Jacobean theater (see English Renaissance theatre), most famously in Othello
(1604).[16] However, Othello and other plays of this era did not involve the emulation and caricature of "such
supposed innate qualities of Blackness as inherent musicality, natural athleticism", etc. that Strausbaugh sees as
crucial to blackface.[15]

A 2023 article appearing on the National Museum of African American History and Culture website, asserts that
the birth of blackface is attributable to class warfare:

     Historian Dale Cockrell once noted that poor and working-class whites who felt “squeezed politically,
     economically, and socially from the top, but also from the bottom, invented minstrelsy” as a way of
     expressing the oppression that marked being members of the majority, but outside of the white
     norm.[17]


By objectifying formerly enslaved people through demeaning, humor-inducing stock caricatures, "comedic
performances of 'blackness' by whites in exaggerated costumes and make-up, [could not] be separated fully from
the racial derision and stereotyping at its core".[17] This process of "thingification" has been written about by
Nigerian author Chinua Achebe, "The whole idea of a stereotype is to simplify",[17] and by Aimé Césaire, "Césaire
revealed over and over again the colonizers’ sense of superiority and their sense of mission as the world’s
civilizers, a mission that depended on turning the Other into barbarians".[18]



History within the United States
Blackface was a performance tradition in the American theater for roughly 100 years beginning around 1830. It
was practiced in Britain as well, surviving longer than in the U.S.; The Black and White Minstrel Show on
television lasted until 1978.[16]

In both the United States and Britain, blackface was most commonly used in the minstrel performance tradition,
which it both predated and outlasted. Early white performers in blackface used burnt cork and later greasepaint
or shoe polish to blacken their skin and exaggerate their lips, often wearing woolly wigs, gloves, tailcoats, or
ragged clothes to complete the transformation. According to a 1901 source: "Be careful to get the black even
around the eyes and mouth. Leave the lips just as they are, they will appear red to the audience. Comedians leave

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a wide white space all around the lips. It makes the mouth appear
larger and will look red as the lips do. If you wish to represent an
old darkey, use white drop chalk, outlining the eyebrows, chin,
whisk- ers or a gray beard."[19] Later, black artists also performed in
blackface. The famous Dreadnought hoax involved the use of
blackface and costume for a group of high-profile authors to gain
access to a military vessel.[20]

Stereotypes embodied in the stock characters of blackface minstrels
not only played a significant role in cementing and proliferating
racist images, attitudes, and perceptions worldwide, but also in
popularizing black culture.[21] In some quarters, the caricatures that    The Dreadnought hoaxers in Abyssinian
were the legacy of blackface persist to the present day and are a         costume
cause of ongoing controversy. Another view is that "blackface is a
form of cross-dressing in which one puts on the insignias of a sex,
class, or race that stands in opposition to one's own".[22]

By the mid-20th century, changing attitudes about race and racism effectively ended the prominence of blackface
makeup used in performance in the U.S. and elsewhere. Blackface in contemporary art remains in relatively
limited use as a theatrical device; today, it is more commonly used as social commentary or satire. Perhaps the
most enduring effect of blackface is the precedent it established in the introduction of African-American culture
to an international audience, albeit through a distorted lens.[23][24] Blackface's appropriation,[23][24][25]
exploitation, and assimilation[23] of African-American culture – as well as the inter-ethnic artistic collaborations
that stemmed from it – were but a prologue to the lucrative packaging, marketing, and dissemination of African-
American cultural expression and its myriad derivative forms in today's world popular culture.[24][26][27]


19th century
Lewis Hallam, Jr., a white blackface actor of American Company fame,
brought blackface in this more specific sense to prominence as a theatrical
device in the United States when playing the role of "Mungo", an inebriated
black man in The Padlock, a British play that premiered in New York City at
the John Street Theatre on May 29, 1769.[28] The play attracted notice, and
other performers adopted the style. From at least the 1810s, blackface clowns
were popular in the United States.[29] British actor Charles Mathews toured
the U.S. in 1822–23, and as a result added a "black" characterization to his
repertoire of British regional types for his next show, A Trip to America,
which included Mathews singing "Possum up a Gum Tree", a popular slave
freedom song.[30] Edwin Forrest played a plantation black in 1823,[30] and
George Washington Dixon was already building his stage career around
blackface in 1828,[31] but it was another white comic actor, Thomas D. Rice,
who truly popularized blackface. Rice introduced the song "Jump Jim Crow",          The white American actor John
accompanied by a dance, in his stage act in 1828,[32] and scored stardom with       McCullough as Othello, 1878
it by 1832.[33]

    First on de heel tap, den on the toe
    Every time I wheel about I jump Jim Crow.
    I wheel about and turn about an do just so,
    And every time I wheel about I jump Jim Crow.[34]



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Rice traveled the U.S., performing under the stage name "Daddy Jim Crow". The name Jim Crow later became
attached to statutes that codified the reinstitution of segregation and discrimination after Reconstruction.[35]

In the 1830s and early 1840s, blackface performances mixed skits with comic songs and vigorous dances.
Initially, Rice and his peers performed only in relatively disreputable venues, but as blackface gained popularity
they gained opportunities to perform as entr'actes in theatrical venues of a higher class. Stereotyped blackface
characters developed: buffoonish, lazy, superstitious, cowardly, and lascivious characters, who stole, lied
pathologically, and mangled the English language. Early blackface minstrels were all male, so cross-dressing
white men also played black women who were often portrayed as unappealingly and grotesquely mannish, in the
matronly mammy mold, or as highly sexually provocative. The 1830s American stage, where blackface first rose
to prominence, featured similarly comic stereotypes of the clever Yankee and the larger-than-life
Frontiersman;[36] the late 19th- and early 20th-century American and British stage where it last prospered[37]
featured many other, mostly ethnically-based, comic stereotypes: conniving Jews;[38][39] drunken brawling
Irishmen with blarney;[39][40][41] oily Italians;[39] stodgy Germans;[39] and gullible rural people.[39]

1830s and early 1840s blackface performers performed solo or as duos, with the occasional trio; the traveling
troupes that would later characterize blackface minstrelsy arose only with the minstrel show.[42] In New York
City in 1843, Dan Emmett and his Virginia Minstrels broke blackface minstrelsy loose from its novelty act and
entr'acte status and performed the first full-blown minstrel show: an evening's entertainment composed entirely
of blackface performance. (E. P. Christy did more or less the same, apparently independently, earlier the same
year in Buffalo, New York.)[43] Their loosely structured show with the musicians sitting in a semicircle, a
tambourine player on one end and a bones player on the other, set the precedent for what would soon become the
first act of a standard three-act minstrel show.[44] By 1852, the skits that had been part of blackface performance
for decades expanded to one-act farces, often used as the show's third act.[45]

In the 1870s the actress Carrie Swain began performing in minstrel shows
alongside her husband, the acrobat and blackface performer Sam Swain. It is
possible that she was the first woman performer to appear in blackface.[46]
Theatre scholar Shirley Staples stated, "Carrie Swain may have been the first
woman to attempt the acrobatic comedy typical of male blackface work."[47]
She later portrayed the blackface role of Topsy in a musical adaptation of
Harriet Beecher Stowe anti-slavery novel Uncle Tom's Cabin by composer
Caryl Florio and dramatist H. Wayne Ellis. It premiered at the Chestnut Street
Opera House in Philadelphia on May 22, 1882.[48]

The songs of Northern composer Stephen Foster figured prominently in
blackface minstrel shows of the period. Though written in dialect and
politically incorrect by modern standards, his later songs were free of the
ridicule and blatantly racist caricatures that typified other songs of the genre.
Foster's works treated slaves and the South in general with sentimentality
                                                                                    Carrie Swain in blackface as Topsy
that appealed to audiences of the day.[49]
                                                                                    in Uncle Tom's Cabin.

White minstrel shows featured white performers pretending to be black
people, playing their versions of 'black music' and speaking ersatz black dialects. Minstrel shows dominated
popular show business in the U.S. from that time through into the 1890s, also enjoying massive popularity in the
UK and in other parts of Europe.[50] As the minstrel show went into decline, blackface returned to its novelty act
roots and became part of vaudeville.[37] Blackface featured prominently in film at least into the 1930s, and the
"aural blackface"[51] of the Amos 'n' Andy radio show lasted into the 1950s.[51] Meanwhile, amateur blackface
minstrel shows continued to be common at least into the 1950s.[52] In the UK, one such blackface popular in the
1950s was Ricardo Warley from Alston, Cumbria who toured around the North of England with a monkey called
Bilbo.[53]

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                                   As a result, the genre played an important role in shaping perceptions of and
                                   prejudices about black people generally and African Americans in particular.
                                   Some social commentators have stated that blackface provided an outlet for
                                   white peoples' fear of the unknown and the unfamiliar, and a socially
                                   acceptable way of expressing their feelings and fears about race and control.
                                   Writes Eric Lott in Love and Theft: Blackface Minstrelsy and the American
                                   Working Class: "The black mask offered a way to play with the collective fears
                                   of a degraded and threatening – and male – Other while at the same time
                                   maintaining some symbolic control over them."[54]

                                   Blackface, at least initially, could also give voice to an oppositional dynamic
                                   that was prohibited by society. As early as 1832, Thomas D. Rice was singing:
                                   "An' I caution all white dandies not to come in my way, / For if dey insult me,
                                   dey'll in de gutter lay." It also on occasion equated lower-class white and
                                   lower-class black audiences; while parodying Shakespeare, Rice sang,
                                   "Aldough I'm a black man, de white is call'd my broder."[55]
A man in blackface as minstrel,
c. 1890
                                   20th century
                                    In the early years of film, black characters
                                    were routinely played by white people in
                                    blackface. In the first filmic adaptation of
                                    Uncle Tom's Cabin (1903), all of the major
                                    black roles were white people in
                                    blackface.[56] Even the 1914 Uncle Tom
                                    starring African-American actor Sam
                                    Lucas in the title role had a white male in
                                    blackface as Topsy.[57] D. W. Griffith's The
                                    Birth of a Nation (1915) used white people
                                    in blackface to represent all of its major
                                    black characters,[58] but reaction against
                                    the film's racism largely put an end to this
                                    practice in dramatic film roles. Thereafter,
 This postcard, published c. 1908,
                                    white people in blackface would appear       Singer and actor Al Jolson wearing
 shows a white minstrel team. While
 both are wearing wigs, the man on  almost  exclusively  in  broad  comedies  or blackface in the musical film
                                    "ventriloquizing" blackness    [59] in the   Mammy (1930)
 the left is in blackface and drag.
                                    context of a vaudeville or minstrel
                                    performance within a film.[60] This stands
in contrast to made-up white people routinely playing Native Americans, Asians, Arabs, and so forth, for several
more decades.[61]

From the 1910s up until the early 1950s, many well-known entertainers of stage and screen also performed in
blackface.[62] Light-skinned people who performed in blackface in film included Al Jolson,[63] Eddie Cantor,[64]
Bing Crosby,[63] Fred Astaire, Buster Keaton, Joan Crawford, Irene Dunne, Doris Day, Milton Berle, William
Holden, Marion Davies, Myrna Loy, Betty Grable, Dennis Morgan, Laurel and Hardy, Betty Hutton, The Three
Stooges, The Marx Brothers, Mickey Rooney, Shirley Temple, Judy Garland, Donald O'Connor and Chester
Morris and George E. Stone in several of the Boston Blackie films.[64] In 1936, when Orson Welles was touring
his Voodoo Macbeth; the lead actor, Maurice Ellis, fell ill, so Welles stepped into the role, performing in
blackface.[65]



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As late as the 1940s, Warner Bros. used blackface in Yankee Doodle Dandy (1942), a minstrel show sketch in This
Is the Army (1943) and by casting Flora Robson as a Haitian maid in Saratoga Trunk (1945).[66] In The Spoilers
(1942), John Wayne appeared in blackface and bantered in a mock accent with a black maid who mistook him for
an authentic black man.

In Holiday Inn, Bing Crosby and Marjorie Reynolds sang “Abraham,” a song honoring Lincoln’s birthday, in
shoe-polish blackface. The band behind them and the waiters were also in blackface.[67]

Blackface makeup was largely eliminated even from live-action film comedy in the U.S. after the end of the 1930s,
when public sensibilities regarding race were beginning to change and blackface became increasingly associated
with racism and bigotry.[10] Still, the tradition did not end all at once. The radio program Amos 'n' Andy (1928–
1960) constituted a type of "oral blackface", in that the black characters were portrayed by white people and
conformed to stage blackface stereotypes.[68] The conventions of blackface also lived on unmodified at least into
the 1950s in animated theatrical cartoons. Strausbaugh estimates that roughly one-third of late 1940s MGM
cartoons "included a blackface, coon, or mammy figure".[69] Bugs Bunny appeared in blackface at least as late as
Southern Fried Rabbit in 1953.[70]

Singer Grace Slick was wearing blackface when her band Jefferson Airplane performed "Crown of Creation" and
"Lather" at The Smothers Brothers Comedy Hour in 1968. A clip is included in a 2004 documentary Fly
Jefferson Airplane, directed by Bob Sarles.

The 1976 action comedy Silver Streak included a farcical scene in which Gene Wilder must impersonate a black
man, as instructed by Richard Pryor. In 1980, an underground film, Forbidden Zone, was released, directed by
Richard Elfman and starring the band Oingo Boingo, which received controversy for blackface sequences.[71]

Also in 1980, the white members of UB40 appeared in blackface in their "Dream a Lie" video, while the black
members appeared in whiteface to give the opposite appearance.[72]

Trading Places (1983) is a film telling the elaborate story of a commodities banker and street hustler crossing
paths after being made part of a bet. The film features a scene between Eddie Murphy, Jamie Lee Curtis,
Denholm Elliott, and Dan Aykroyd when they must don disguises to enter a train. Aykroyd's character puts on
full blackface make-up, a dreadlocked wig and a Jamaican accent to fill the position of a Jamaican pothead. The
film, being an obvious satire, has received little criticism for its use of racial and ethnic stereotype due to it
mocking the ignorance of Aykroyd's character rather than black people as a whole, with Rotten Tomatoes citing it
as "featuring deft interplay between Eddie Murphy and Dan Aykroyd, Trading Places is an immensely appealing
social satire".[73]

Soul Man is a 1986 film featuring C. Thomas Howell as Mark Watson, a pampered rich white college graduate
who uses "tanning pills" to qualify for a scholarship to Harvard Law only available to African American students.
He expects to be treated as a fellow student and instead learns the isolation of 'being black' on campus. He later
befriends and falls in love with the original candidate of the scholarship, a single mother who works as a waitress
to support her education. He later "comes out" as white, leading to the famous defending line: "Can you blame
him for the color of his skin?" Unlike Trading Places, the film was met with heavy criticism of a white man
donning blackface to humanize white ignorance at the expense of African American viewers. Despite a large box
office intake, it has scored low on every film critic platform. "A white man donning blackface is taboo," said
Howell; "Conversation over – you can't win. But our intentions were pure: We wanted to make a funny movie
that had a message about racism."[74]




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Parades
In the early 20th century, a group of African American laborers began a marching club in the New Orleans Mardi
Gras parade, dressed as hobos and calling themselves "The Tramps". Wanting a flashier look, they renamed
themselves "Zulus" and copied their costumes from a blackface vaudeville skit performed at a local black jazz club
and cabaret.[75] The result is one of the best known and most striking krewes of Mardi Gras, the Zulu Social Aid
and Pleasure Club. Dressed in grass skirts, top hat and exaggerated makeup, the Zulus of New Orleans are
controversial as well as popular.[76] The group has, since the 1960s, argued that the black and white makeup they
continue to wear is not blackface.

The wearing of blackface was once a regular part of the annual Mummers Parade in Philadelphia. Growing
dissent from civil rights groups and the offense of the black community led to a 1964 city policy, ruling out
blackface.[77] Despite the ban on blackface, brownface was still used in the parade in 2016 to depict Mexicans,
causing outrage once again among civil rights groups.[78] Also in 1964, bowing to pressure from the interracial
group Concern, teenagers in Norfolk, Connecticut, reluctantly agreed to discontinue using blackface in their
traditional minstrel show that was a fundraiser for the March of Dimes.[79]


21st century
Commodities bearing iconic "darky" images, from tableware, soap and toy marbles to
home accessories and T-shirts, continue to be manufactured and marketed. Some are
reproductions of historical artifacts ("negrobilia"), while others are designed for
today's marketplace ("fantasy"). There is a thriving niche market for such items in
the U.S., particularly. The value of the original examples of darky iconography
(vintage negrobilia collectables) has risen steadily since the 1970s.[80]

There have been several inflammatory incidents of white college students donning
blackface. Such incidents usually escalate around Halloween, with students accused
of perpetuating racial stereotypes.[81][82][83][84]

In 1998, Harmony Korine released The Diary of Anne Frank Pt II, a 40-minute
three-screen collage featuring a man in blackface dancing and singing "My Bonnie
                                                                                           Poster for Spike Lee's
Lies over the Ocean".[85]
                                                                                           movie Bamboozled (2000)
Blackface and minstrelsy serve as the theme of African American director Spike Lee's
film Bamboozled (2000). It tells of a disgruntled black television executive who
reintroduces the old blackface style in a series concept in an attempt to get himself fired and is instead horrified
by its success.

In 2000, Jimmy Fallon performed in blackface on Saturday Night Live, imitating former cast member Chris
Rock.[86] That same year, Harmony Korine directed the short film Korine Tap for Stop For a Minute, a series of
short films commissioned by Dazed & Confused magazine and FilmFour Lab. The film featured Korine tap
dancing while wearing blackface.[87][88]

Jimmy Kimmel donned black paint and used an exaggerated, accented voice to portray NBA player Karl Malone
on The Man Show in 2003. Kimmel repeatedly impersonated the NBA player on The Man Show and even made
an appearance on Crank Yankers using his exaggerated Ebonics/African-American Vernacular English to prank
call about Beanie Babies.

In November 2005, controversy erupted when journalist Steve Gilliard posted a photograph on his blog. The
image was of African American Michael Steele, a politician, then a candidate for U.S. Senate. It had been
doctored to include bushy, white eyebrows and big, red lips. The caption read, "I's simple Sambo and I's running


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for the big house." Gilliard, also African-American, defended the image, commenting that the politically
conservative Steele has "refused to stand up for his people".[89] (See Uncle Tom § Epithet.)

In a 2006 reality television program, Black. White., white participants wore blackface makeup and black
participants wore whiteface makeup in an attempt to be better able to see the world through the perspective of
the other race.[90]

In 2007, Sarah Silverman performed in blackface for a skit from The Sarah Silverman Program.[91]

A Mighty Heart is a 2007 American film featuring Angelina Jolie playing Mariane Pearl, the wife of the
kidnapped Wall Street Journal reporter Daniel Pearl. Mariane is of multiracial descent, born from an Afro-
Chinese-Cuban mother and a Dutch Jewish father. She personally cast Jolie to play herself, defending the choice
to have Jolie "sporting a spray tan and a corkscrew wig".[92] Criticism of the film came in large part for the choice
to have Jolie portraying Mariane Pearl in this manner. Defense of the casting choice was in large part due to
Pearl's mixed racial heritage, critics claiming it would have been impossible to find an Afro-Latina actress with
the same crowd-drawing caliber of Jolie. Director Michael Winterbottom defended his casting choice in an
interview, "To try and find a French actress who's half-Cuban, quarter-Chinese, half-Dutch who speaks great
English and could do that part better - I mean, if there had been some more choices, I might have thought, 'Why
don't we use that person?'...I don't think there would have been anyone better".[93]

A 2008 imitation of Barack Obama by American comedian Fred Armisen (of German, Korean, and Venezuelan
descent) on the popular television program Saturday Night Live caused some stir, with The Guardian 's
commentator asking why SNL did not hire an additional black actor to do the sketch; the show had only one black
cast member at the time.[94]

Also in 2008, Robert Downey Jr.'s character Kirk Lazarus appeared in brownface in the Ben Stiller-directed film
Tropic Thunder. As with Trading Places, the intent was satire; specifically, blackface was ironically employed to
humorously mock one of the many foibles of Hollywood rather than black people themselves. Downey was even
nominated for an Oscar for his portrayal.[95] According to Downey, "90 per cent of my black friends were like,
'Dude, that was great.' I can't disagree with [the other 10 per cent], but I know where my heart lies."[96]

Once more in 2008, comedian Frank Caliendo, who is well known for his impressions, used blackface to do an
impression of former NBA player and sports analyst Charles Barkley. Caliendo defended his use of blackface by
comparing it positively to Ted Danson's infamous use of it in 1993 at a Friars Roast, which Caliendo said was "the
wrong thing to do".[97]

In the November 2010 episode "Dee Reynolds: Shaping America's Youth", the TV show It's Always Sunny in
Philadelphia comically explored if blackface could ever be done "right". One of the characters, Frank Reynolds
insists that Laurence Olivier's blackface performance in his 1965 production of Othello was not offensive, while
Dennis claimed it "distasteful" and "never okay". In the same episode, the gang shows their fan film, Lethal
Weapon 5, in which the character Mac appears in blackface.[98] In the season 9 episode "The Gang make Lethal
Weapon 6", Mac once again dons black make-up, along with Dee, who plays his character's daughter in the film.
Later in the series, the episode "The Gang Makes Lethal Weapon 7" addresses the topic again along with the
removal of their films from the library.

A 2012 Popchips commercial showing actor Ashton Kutcher with brown make-up on his face impersonating a
stereotypical Indian person generated controversy and was eventually pulled by the company after complaints of
racism.[99] In the TV series Mad Men, set in the 1960s in New York City, the character Roger Sterling appears in
blackface in the season 3 episode "My Old Kentucky Home". Julianne Hough attracted controversy in October
2013 when she donned blackface as part of a Halloween costume depicting the character of "Crazy Eyes" from
Orange Is the New Black.[100][101] Hough later apologized, stating on Twitter: "I realize my costume hurt and
offended people and I truly apologize."[102]

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Billy Crystal impersonated Sammy Davis Jr. in the 2012 Oscars opening montage. The scene depicts Crystal in
black face-paint wearing an oiled wave wig while talking to Justin Bieber. In the scene Crystal leaves a parting
remark to Bieber, "Have fun storming the Führer", a poor association to his famous line in The Princess Bride,
"Have fun storming the castle". The skit was remarked as poor taste, considering he was chosen as the "safer"
choice after Eddie Murphy bowed out following producer and creative partner Brett Ratner's homophobic
remarks.[103][104]

Victoria Foyt was accused of using blackface in the trailer for her young adult novel Save the Pearls: Revealing
Eden as well as in the book and its artwork.[105][106]

Performer Chuck Knipp (who is white and gay) has used drag, blackface, and broad racial caricature to portray a
character named "Shirley Q. Liquor" in his cabaret act, generally performed for all-white audiences. Knipp's
outrageously stereotypical character has drawn criticism and prompted demonstrations from Black, Gay and
transgender activists.[107]

The Metropolitan Opera, based in New York City, used blackface in productions of the opera Otello until
2015,[108][109][110] though some have argued that the practice of using dark makeup for the character did not
qualify as blackface.[111]

On February 1, 2019, images from Governor of Virginia Ralph Northam's medical school yearbook were
published on the far-right website Big League Politics.[112][113][114] The photos showed an image of Northam in
blackface and an unidentified person in a Ku Klux Klan hood on Northam's page in the yearbook.[115][116][117] A
spokesman for Eastern Virginia Medical School confirmed that the image appeared in its 1984 yearbook.[118]
Shortly after the news broke, Northam apologized for appearing in the photo.[118]

Blackface performances are not unusual within the Latino community of Miami. As Spanish-speakers from
different countries, ethnic, racial, class, and educational backgrounds settle in the United States, they have to
grapple with being re-classified vis-a-vis other American-born and immigrant groups. Blackface performances
have, for instance, tried to work through U.S. racial and ethnic classifications in conflict with national identities.
A case in point is the representation of Latino and its popular embodiment as a stereotypical Dominican man.[119]

In the wake of protests over the treatment of African-Americans following the murder of George Floyd in 2020,
episodes of popular television programs featuring characters in blackface were pulled from circulation. This
includes The Golden Girls, The Office, It's Always Sunny in Philadelphia, 30 Rock, Community, and Scrubs,
among others.[120]


Stunt doubles
White men are the main source of stunt doubles in American TV and film productions. The practice of a male
performer portraying standing-in for a female actor is known as "wigging". When the stunt performer is made up
to look like another race, the practice is called a "paint down". Stunt performers Janeshia Adams-Ginyard and
Sharon Schaffer have equated it in 2018 with blackface minstrelsy.[121]


Digital media
Digital media provide opportunities to inhabit and perform Black identity without actually painting one's face,
which, in a way, some critics have likened to blackface and minstrelsy. In 1999, Adam Clayton Powell III coined
the term "high-tech blackface" to refer to stereotypical portrayals of black characters in video games.[122] David
Leonard writes, "The desire to 'be Black' because of the stereotypical visions of strength, athleticism, power and
sexual potency all play out within the virtual reality of sports games." Leonard's argument suggests that players
perform a type of identity tourism by controlling Black avatars in sports games.[123] Phillips and Reed argue that



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this type of blackface "is not only about whites assuming Black roles, nor about exaggerated performances of
blackness for the benefit of a racist audience. Rather, it is about performing a version of blackness that constrains
it within the boundaries legible to white supremacy."[124]

In addition, writers such as Lauren Michele Jackson, Victoria Princewill and Shafiqah Hudson criticized non-
Black people sharing animated images, or GIFs, of Black people or Black-skinned emojis, calling the practice
"digital blackface".[125][126][127] Writers Amanda Hess and Shane O'Neill have elaborated on their work, pointing
out that GIFs of women of color, in particular, have been most frequently used to express user's emotions online.
Hess and O'Neill also suggest that the emoji app Bitmoji uses "black emotional reactions and verbal expressions"
and designs them to fit non-Black bodies and faces. Writer Manuel Arturo Abreu refers to this phenomenon as
"online imagined Black English", where non-Black users engage in African American Vernacular English, or
AAVE, on the internet without understanding the full context of the particular phrase being used.[128]

Following these critiques, the term "digital blackface" has since evolved with the rise of other social media and
digital media technologies. In 2020, writer Francesa Sobande wrote on the digital representations of Black
people, defining digital blackface as "encompassing online depictions and practices that echo the anti-Black
underpinnings of minstrelsy shows involving non-Black people 'dressing up' and 'performing' as though they are
Black". Sobande's argument suggests that this acts as a "digital expression of the oppression that Black people
face" outside of the internet, where they can be viewed as an objectified type of "commodity or labor tool".[129]

Since the criticisms made by these writers, instances of digital blackface have varied in type across the internet.
In 2016, a controversy emerged over social media app Snapchat's Bob Marley filter, which allowed users to
superimpose dark skin, dreadlocks, and a knitted cap over their own faces.[130][131] A number of controversies
have also emerged about students at American universities sharing images of themselves appearing to wear
blackface makeup.[132][133][134][135] In 2020, two high school students in Georgia were expelled after posting a
"racially insensitive" TikTok video that used racial slurs and stereotypes about Black people.[136][137]

Senior writer Jason Parham suggests that the social media app TikTok, and its viral trends and challenges, has
become a new medium for 21st century minstrelsy. Parham argues that "unlike Facebook and Twitter, where
instances of digital blackface are either text-based or image-based, TikTok is a video-first platform" where
"creators embody Blackness with an auteur-driven virtuosity—taking on Black rhythms, gestures, affect, slang".
Examples of these controversial trends and challenges have included "the Hot Cheeto Girl", which is said to
mimic stereotypes of Black and Latin women, the "#HowsMyForm" challenge, which plays on racist stereotypes
of Black people and other racial groups, and other perceived instances of cultural appropriation, such as
"blackfishing".[138][139][140]

In 2021, conversation around digital blackface gained further traction after Oprah Winfrey's interview with
Meghan Markle and Prince Harry, where Winfrey's reactions during the interview began to circulate the internet
in the form of memes. A widespread Instagram post by the Slow Factory Foundation, an activist group founded
by Céline Semaan Vernon, calling attention to digital blackface led to many critiques and criticisms about
whether or not it was appropriate for non-Black people to continue sharing these images of Winfrey.[141][142][143]


Universities
In 2021, music professor Bright Sheng stepped down from teaching a University of Michigan musical
composition class, where he says he had intended to show how Giuseppe Verdi adapted William Shakespeare's
play Othello into his opera Otello, after showing the 1965 British movie Othello, whose actors received 4 Oscar
nominations, but in which the white actor Laurence Olivier played Othello in blackface, which caused controversy
even at the time.[144][145][146] Sheng allegedly failed to give students any warning that the movie contained
blackface, and his two subsequent apologies failed to satisfy his critics, with the wording of the second one
causing further controversy.[144][146] There was disagreement over whether showing the blackface performance
constituted racism.[144][147] Evan Chambers, a professor of composition (as is Sheng), said "To show the film
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now, especially without substantial framing, content advisory and a focus on its inherent racism is in itself a
racist act, regardless of the professor's intentions",[144] while David Gier, dean of the School of Music, Theatre &
Dance, said: "Professor Sheng's actions do not align with our School's commitment to anti-racist action, diversity,
equity and inclusion"[146] But Robert Soave, a senior editor at Reason magazine, said that the university had
violated the principle of academic freedom, that showing the movie was neither a racist act nor approval of
racism, and that the university owed Sheng an apology for unfairly maligning him, and he compared it to Sheng's
earlier experience of surviving the Chinese Cultural Revolution.[144]


Black performers in blackface

                             19th century
                             By 1840, black performers also were performing in blackface makeup. Frederick
                             Douglass generally abhorred blackface and was one of the first people to write
                             against the institution of blackface minstrelsy, condemning it as racist in nature,
                             with inauthentic, northern, white origins.[148] Douglass did, however, maintain: "It is
                             something to be gained when the colored man in any form can appear before a white
                             audience."[149]

                              When all-black minstrel shows began to proliferate in the 1860s, they often were
                              billed as "authentic" and "the real thing". These "colored minstrels"[150] always
 A poster for the 1939        claimed to be recently freed slaves (doubtlessly many were, but most were not)[151]
 Broadway show The Hot
                              and were widely seen as authentic. This presumption of authenticity could be a bit of
 Mikado using blackface
 imagery
                              a trap, with white audiences seeing them more like "animals in a zoo"[152] than
                              skilled performers. Despite often smaller budgets and smaller venues, their public
                              appeal sometimes rivaled that of white minstrel troupes. In March 1866, Booker and
Clayton's Georgia Minstrels may have been the country's most popular troupe, and were certainly among the
most critically acclaimed.[153]

These "colored" troupes – many using the name "Georgia Minstrels"[154] – focused on "plantation" material,
rather than the more explicit social commentary (and more nastily racist stereotyping) found in portrayals of
northern black people.[155] In the execution of authentic black music and the percussive, polyrhythmic tradition
of pattin' Juba, when the only instruments performers used were their hands and feet, clapping and slapping
their bodies and shuffling and stomping their feet, black troupes particularly excelled. One of the most successful
black minstrel companies was Sam Hague's Slave Troupe of Georgia Minstrels, managed by Charles Hicks. This
company eventually was taken over by Charles Callendar. The Georgia Minstrels toured the United States and
abroad and later became Haverly's Colored Minstrels.[153]

From the mid-1870s, as white blackface minstrelsy became increasingly lavish and moved away from "Negro
subjects", black troupes took the opposite tack.[156] The popularity of the Fisk Jubilee Singers and other jubilee
singers had demonstrated northern white interest in white religious music as sung by black people, especially
spirituals. Some jubilee troupes pitched themselves as quasi-minstrels and even incorporated minstrel songs;
meanwhile, blackface troupes began to adopt first jubilee material and then a broader range of southern black
religious material. Within a few years, the word "jubilee", originally used by the Fisk Jubilee Singers to set
themselves apart from blackface minstrels and to emphasize the religious character of their music, became little
more than a synonym for "plantation" material.[157] Where the jubilee singers tried to "clean up" Southern black
religion for white consumption, blackface performers exaggerated its more exotic aspects.[158]

African-American blackface productions also contained buffoonery and comedy, by way of self-parody. In the
early days of African-American involvement in theatrical performance, black people could not perform without
blackface makeup, regardless of how dark-skinned they were. The 1860s "colored" troupes violated this
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convention for a time: the comedy-oriented endmen "corked up", but the other performers "astonished"
commentators by the diversity of their hues.[159] Still, their performances were largely in accord with established
blackface stereotypes.[160]

These black performers became stars within the broad African-American community, but were largely ignored or
condemned by the black bourgeoisie. James Monroe Trotter – a middle-class African American who had
contempt for their "disgusting caricaturing" but admired their "highly musical culture" – wrote in 1882 that "few
... who condemned black minstrels for giving 'aid and comfort to the enemy'" had ever seen them perform.[161]
Unlike white audiences, black audiences presumably always recognized blackface performance as caricature, but
took pleasure in seeing their own culture observed and reflected, much as they would half a century later in the
performances of Moms Mabley.[162]

Despite reinforcing racist stereotypes, blackface minstrelsy was a practical and often relatively lucrative
livelihood when compared to the menial labor to which most black people were relegated. Owing to the
discrimination of the day, "corking (or blacking) up" provided an often singular opportunity for African-
American musicians, actors, and dancers to practice their crafts.[163] Some minstrel shows, particularly when
performing outside the South, also managed subtly to poke fun at the racist attitudes and double standards of
white society or champion the abolitionist cause. It was through blackface performers, white and black, that the
richness and exuberance of African-American music, humor, and dance first reached mainstream, white
audiences in the U.S. and abroad.[24] It was through blackface minstrelsy that African American performers first
entered the mainstream of American show business.[164] Black performers used blackface performance to satirize
white behavior. It was also a forum for the sexual double entendre gags that were frowned upon by white
moralists. There was often a subtle message behind the outrageous vaudeville routines:

    The laughter that cascaded out of the seats was directed parenthetically toward those in America who
    allowed themselves to imagine that such 'nigger' showtime was in any way respective of the way we live
    or thought about ourselves in the real world.[165]: 5, 92–92, 1983 ed.



20th century
With the rise of vaudeville, Bahamian-born actor and comedian Bert Williams
became Florenz Ziegfeld's highest-paid star and only African American
star.[166][167]

In the Theater Owners Booking Association (TOBA), an all-black vaudeville
circuit organized in 1909, blackface acts were a popular staple. Called "Toby"
for short, performers also nicknamed it "Tough on Black Actors" (or,
variously, "Artists" or "Asses"), because earnings were so meager. Still, TOBA     Bert Williams was the only black
                                                                                   member of the Ziegfeld Follies when
headliners like Tim Moore and Johnny Hudgins could make a very good
                                                                                   he joined them in 1910. Shown here
living, and even for lesser players, TOBA provided fairly steady, more             in blackface, he was the highest-
desirable work than generally was available elsewhere. Blackface served as a       paid African American entertainer of
springboard for hundreds of artists and entertainers – black and white –           his day.[166]
many of whom later would go on to find work in other performance
traditions. For example, one of the most famous stars of Haverly's European
Minstrels was Sam Lucas, who became known as the "Grand Old Man of the Negro Stage".[168] Lucas later played
the title role in the 1914 cinematic production of Harriet Beecher Stowe's Uncle Tom's Cabin.

From the early 1930s to the late 1940s, New York City's famous Apollo Theater in Harlem featured skits in which
almost all black male performers wore the blackface makeup and huge white painted lips, despite protests that it
was degrading from the NAACP. The comics said they felt "naked" without it.[165]: 4, 1983 ed.


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The minstrel show was appropriated by the black performer from the original white shows, but only in its general
form. Black people took over the form and made it their own. The professionalism of performance came from
black theater. Some argue that the black minstrels gave the shows vitality and humor that the white shows never
had. As the black social critic LeRoi Jones has written:

    It is essential to realize that ... the idea of white men imitating, or caricaturing, what they consider
    certain generic characteristics of the black man's life in America is important if only because of the
    Negro's reaction to it. (And it is the Negro's reaction to America, first white and then black and white
    America, that I consider to have made him such a unique member of this society.)[169]


The black minstrel performer was not only poking fun at himself but in a more profound way, he was poking fun
at the white man. The cakewalk is caricaturing white customs, while white theater companies attempted to
satirize the cakewalk as a black dance. Again, as LeRoi Jones notes:

    If the cakewalk is a Negro dance caricaturing certain white customs, what is that dance when, say, a
    white theater company attempts to satirize it as a Negro dance? I find the idea of white minstrels in
    blackface satirizing a dance satirizing themselves a remarkable kind of irony – which, I suppose is the
    whole point of minstrel shows.[169]



Puerto Rico
During the 20th century, blackface was not an uncommon sight at parades in Puerto Rico.[170] In 2019, when
blackface was prominently featured at a carnival in San Sebastián, Puerto Rico, the town immediately faced
backlash and criticism.[171]



Authenticity
The degree to which blackface performance drew on authentic black culture and traditions is controversial. Black
people, including slaves, were influenced by white culture, including white musical culture. Certainly this was the
case with church music from very early times. Complicating matters further, once the blackface era began, some
blackface minstrel songs unquestionably written by New York-based professionals (Stephen Foster, for example)
made their way to the plantations in the South and merged into the body of black folk music.[172]

It seems clear, however, that American music by the early 19th century was an interwoven mixture of many
influences, and that blacks were quite aware of white musical traditions and incorporated these into their music.

    In the early years of the nineteenth century, white-to-black and black-to-white musical influences were
    widespread, a fact documented in numerous contemporary accounts.... [I]t becomes clear that the
    prevailing musical interaction and influences in nineteenth century America produced a black populace
    conversant with the music of both traditions.[173]


Early blackface minstrels often said that their material was largely or entirely authentic black culture; John
Strausbaugh, author of Black Like You, said that such claims were likely to be untrue. Well into the 20th century,
scholars took the stories at face value.[174] Constance Rourke, one of the founders of what is now known as
cultural studies, largely assumed this as late as 1931.[175] In the Civil Rights era there was a strong reaction
against this view, to the point of denying that blackface was anything other than a white racist counterfeit.[176]
Starting no later than Robert Toll's Blacking Up (1974), a "third wave" has systematically studied the origins of


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blackface, and has put forward a nuanced picture: that blackface did, indeed, draw on black culture, but that it
transformed, stereotyped, and caricatured that culture, resulting in often racist representations of black
characters.[177]

As discussed above, this picture becomes even more complicated after the Civil War, when many blacks became
blackface performers. They drew on much material of undoubted slave origins, but they also drew on a
professional performer's instincts, while working within an established genre, and with the same motivation as
white performers to make exaggerated claims of the authenticity of their own material.

Author Strausbaugh summed up as follows: "Some minstrel songs started as Negro folk songs, were adapted by
White minstrels, became widely popular, and were readopted by Blacks." "The question of whether minstrelsy
was white or black music was moot. It was a mix, a mutt – that is, it was American music."[178]



"Darky" iconography
The darky icon itself – googly-eyed, with inky skin, exaggerated white, pink or
red lips, and bright, white teeth – became a common motif in entertainment,
children's literature, mechanical banks, and other toys and games of all sorts,
cartoons and comic strips, advertisements, jewelry, textiles, postcards, sheet
music, food branding and packaging, and other consumer goods.

In 1895, the Golliwog surfaced in Great Britain, the product of children's book
                                                                                    Florence Kate Upton's "Golliwog" in
illustrator Florence Kate Upton, who modeled her rag doll character after a         1895, described as "a horrid sight,
minstrel doll from her American childhood. "Golly", as he later affectionately      the blackest gnome". Note the
came to be called, had a jet-black face, wild, woolly hair, bright, red lips, and   formal minstrel attire.
sported formal minstrel attire. The generic British golliwog later made its way
back across the Atlantic as dolls, toy tea sets, ladies' perfume, and in a myriad
of other forms. The word "golliwog" may have given rise to the ethnic slur
"wog".[180]

                                    U.S. cartoons from the 1930s and 1940s
                                    often featured characters in blackface gags
                                    as well as other racial and ethnic
                                    caricatures. The United Artists 1933
                                    release Mickey's Mellerdrammer – the
                                    name a corruption of "melodrama"
                                    thought to harken back to the earliest
                                    minstrel shows – was a film short based
                                                                                    This elaborate Art Deco Ronson
                                    on a production of Uncle Tom's Cabin by
                                                                                    tabletop cigarette lighter, made in
                                    the Disney characters. The advertising
                                                                                    1936,[179] is an example of an
                                    poster for the film shows Mickey with           everyday consumer item rendered
                                    exaggerated, orange lips; bushy, white          in classic darky iconographical style.
                                    sidewhiskers.
"Darky" iconography frequently      In the U.S., by the 1950s, the NAACP had begun calling attention to such
adorned the covers of sheet music
                                    portrayals of African Americans and mounted a campaign to put an end to
from the 1870s through the 1940s,
but virtually disappeared by the
                                    blackface performances and depictions. For decades, darky images had been
1950s.                              seen in the branding of everyday products and commodities such as
                                    Picaninny Freeze, the Coon Chicken Inn[181] restaurant chain, and Nigger



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Hair Tobacco. With the eventual successes of the modern day Civil rights
movement, such blatantly racist branding practices ended in the U.S., and
blackface became an American taboo. However, blackface-inspired
iconography continued to be used in popular media in other parts of the
world.



Notable instances outside the United States
Over time, blackface and "darky" iconography became artistic and stylistic
devices associated with Art Deco and the Jazz Age. By the 1950s and 1960s,
particularly in Europe, where it was more widely tolerated, blackface became
a kind of outré, camp convention in some artistic circles. The Black and White
Minstrel Show was a popular British musical variety show that featured
blackface performers, and remained on British television until 1978 and in
                                                                                     Grocery list pegboard with a
stage shows until 1989. Many of the songs were from the music hall, country          blackface graphic
and western, and folk traditions.[182] Actors and dancers in blackface
appeared in music videos such as Grace Jones's "Slave to the Rhythm" (1985,
also part of her touring piece A One Man Show),[183] Culture Club's "Do You
Really Want to Hurt Me" (1982)[184] and Taco's "Puttin' On the Ritz"
(1983).[185]

Darlie, a popular toothpaste brand by Hawley & Hazel and sold in parts of
Asia, used to be known as "Darkie" and used blackface imagery. In 1989, the
blackface imagery was dropped and the English branding changed to
"Darlie".[186][187]

When trade and tourism produce a confluence of cultures, bringing differing       Reproduction of a can-sign
sensibilities regarding blackface into contact with one another, the results can  advertising Picaninny Freeze, a
                                                                                  frozen treat (1922)
be jarring. When Japanese toymaker Sanrio Corporation exported a darky-
icon character doll (the doll, Bibinba, had fat, pink lips and rings in its
ears)[188] in the 1990s, the ensuing controversy prompted Sanrio to halt production.[189]

Trademark for Conguitos, a confection manufactured by the LACASA Group[190] features a tubby, little brown
character with full, red lips. It became a topic of controversy after a Manchester City player compared his black
teammate to the character.[191] In Britain, "Golly",[192] a golliwog character, fell out of favor in 2001 after almost
a century as the trademark of jam producer James Robertson & Sons, but the debate still continues whether the
golliwog should be banished in all forms from further commercial production and display, or preserved as a
treasured childhood icon. In France, the chocolate powder Banania[193] still uses a face with large red lips derived
from the Senegalese Tirailleurs as its emblem. The licorice brand Tabu, popularized by Perfetti in the middle of
the 20th century, introduced in the 1980s a cartoon minstrel mascot inspired by Al Jolson's blackface
performance in The Jazz Singer, which is still in use today.[194]

The influence of blackface on branding and advertising, as well as on perceptions and portrayals of black people,
generally, can be found worldwide.


Australia
In October 2009, a talent-search skit on Australian TV's Hey Hey It's Saturday reunion show featured a tribute
group for Michael Jackson, the "Jackson Jive", in blackface, with the Michael Jackson character in whiteface.
American performer Harry Connick, Jr. was one of the guest judges and objected to the act, stating that he

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believed it was offensive to black people, and gave the troupe a score of
zero. The show and the group later apologised to Connick, with the
troupe leader of Indian descent stating that the skit was not intended to
be offensive or racist.[195]

In 1999, Sam Newman wore blackface to impersonate legendary
Indigenous Australian Football League footballer Nicky Winmar after
Winmar did not attend a scheduled appearance on the program.[196]


Belgium and Netherlands                                                      Black and White Minstrels Coburg,
                                                                             Melbourne, Australia, November 6, 1935

Christian traditions: Sinterklaas
In the Netherlands and Belgium, people annually celebrate St. Nicolas Eve
with Sinterklaas, the Dutch version of Saint Nicholas, accompanied by
multiple helpers or "Zwarte Pieten" (Black Petes). The first is typically an
older white man similar to the American Santa, while the latter are usually
adolescent boys and girls, and men and women in make-up and attire similar
to the American blackface. The task of the Pieten is generally to entertain the
children with jokes and pranks, and to help Sinterklaas distribute presents
and dole out candy. The Pieten wear Moorish page boy costumes and partake
in parades.[197]
                                                                                   A Dutch man in Zwarte Piet costume
The Moorish Zwarte Piet character has been traced back to the middle of the
19th century when Jan Schenkman, a popular children's book author, added a
black servant to the Sinterklaas story.[198] The Dag Sinterklaas TV series
written by Hugo Matthysen in Belgium since the early 1990s provided a non-
racial explanation: Zwarte Piet is black not because of his skin, because of
sliding through the chimney to deliver presents. Twenty years later, Bart
Peeters (the main actor in the series) stated it is thanks to Matthysen that in
Belgium the Sinterklaas event has not been subject of a racism discussion as it
has been in the Netherlands, because the series explains that the figure of     Sinterklaas and his Black Petes
                                               [199]                            arrive by boat at the start of a
Zwarte Piet has nothing to do with slavery.          However, the original and
                                                                                procession in Nijmegen
archetypal Zwarte Piet is believed to be a continuation of a much older custom
                                                                                (Netherlands), 2016
in which people with blackface appeared in Winter Solstice rituals.[200] In
other parts of Western Europe and in Central Europe, black-faced and
masked people also perform the role of companions of Saint Nicholas, who is known as Nikolo in Austria,
Nikolaus in Germany and Samichlaus in Switzerland. Also on Saint Martin's Eve, black-faced men go around in
processions through Wörgl and the Lower Inn Valley, in Tyrol.[201]

Due to Zwarte Piet's strong aesthetic resemblance to the archetypal US blackface, as well as the dynamics
between the blackface servants and the white Sinterklaas,[202] there has been international condemnation of the
practice since the 1960s.[203] Some of the stereotypical elements have been toned down in recent decades as a
result of increasing protests within the nation.[204] For example, there has been a transition towards applying
only a few smears of 'soot' to the Piet's cheeks, rather than apply a full blackface.[205] The public support for
changing the character was at 5% (versus 89% opposed to such changes) in 2013,[206] which increased to 26%
(versus 68% opposed to such changes) in 2017.[207] However, in 2019, support for changing the character of
Zwarte Piet underwent a slight decline, with opposition to changes increasing.[208]




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In 2020, following the murder of George Floyd and worldwide protests against racism, the Dutch prime minister
Mark Rutte (who since 2013 had strongly supported Zwarte Piet and condemned protests against suggestions for
change) stated he had changed his mind on the matter and hoped the tradition would die out. Yet, he emphasized
not intending to impose an official ban and noted he too retains sympathy towards those who do not want to let
go of Zwarte Piet.[209][210][211]


Canada
Up until the early 2000s, white comedians sometimes used makeup to represent a black person, most often as a
parody of an actual person. Many of these segments have been aired during the annual New Year's Eve TV special
Bye Bye. For instance, the 1986 edition[212] features three such skits:

   a multi-ethnic version of the series Le temps d'une paix (fr), in which comedienne Michèle Deslauriers played
   the character Mémère Bouchard as if she hailed from Africa;
   a reference to a joint concert by Quebec rocker Marjo and U.S. diva Eartha Kitt, in which Deslauriers and
   comic Dominique Michel alluded to Kitt spilling wine on Marjo during the show's press conference;[213]
   a mock American Express commercial spoofing president Ronald Reagan's foreign policy, in which
   Deslauriers, Michel and actor Michel Côté played Middle Eastern arms buyers.
The Montreal-based satiric group Rock et Belles Oreilles did its own blackface sketches, for instance when
comedian Yves Pelletier disguised himself as comedian and show host Gregory Charles, making fun of his
energetic personality (not of his racial background) on his television game show Que le meilleur gagne.[214] RBO
also did a parody of a talk show where a stereotypical Haitian man (Pelletier again) was easily offended,[215] as
well as a group parody of the Caribbean band La Compagnie Créole[216] and a sketch about the lines of African-
American actors that were mangled in movie translations.[217] Pelletier did another parody of Gregory Charles for
the New Year's Eve TV special Le Bye Bye de RBO in 2006 (as an homage to Charles who had had a particularly
successful year[218]), along with a parody of Governor General Michaëlle Jean.[219] And in RBO's 2007 Bye Bye,
Guy A. Lepage impersonated a black Quebecer testifying during the Bouchard-Taylor hearings on cultural
differences,[220] while in another sketch, Lepage, Pelletier and Bruno Landry impersonated injured Darfur
residents.[221]

In September 2011, HEC Montréal students caused a stir when using blackface to "pay tribute" to Jamaican
sprinter Usain Bolt during Frosh Week. The story went national, and was even covered on CNN.[222] The
university students were filmed in Jamaican flag colours, chanting "smoke weed" in a chorus.[223] The university
later apologized for the lack of consciousness of its student body.[224][225]

In May 2013, comedian Mario Jean (fr) took part in the award show Le gala des Olivier, and imitated several
fellow comics, donning blackface when he came to Boucar Diouf (fr), a Senegalese-born storyteller.[226][227]
Many Quebec pundits defended the practice[228][229][230] and Diouf himself praised Jean for his open-
mindedness.[231]

In December 2013, white actor Joel Legendre (fr) performed in blackface in Bye Bye 2013, as part of yet another
parody[232] of Gregory Charles, this time as host of the variety show Le choc des générations.

In December 2014, the satirical end-of-year production by Théâtre du Rideau Vert, a mainstream theatre
company, included a blackface representation of hockey player P.K. Subban by actor Marc Saint-Martin.[233]
Despite some criticism the sketch was not withdrawn.[234]

In March 2018, comedian of the year[235] Mariana Mazza (fr), whose parents are Arab and Uruguayan, celebrated
International Women's Day by putting up a post on her Facebook page which read "Vive la diversité" (Hurray for
diversity) and was accompanied by a picture of herself surrounded by eight ethnic variations, including one in a
wig and makeup that showed what she'd look like if she were black.[236][237] She immediately received a flurry of


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hate messages and death threats, and two days later, posted another message[238] in which she apologized to
whoever had been offended, adding that she had been "naively" trying to "express her support for all these
communities".

In June 2018, theatre director Robert Lepage was accused of staging scenes that were reminiscent of
blackface[239] when he put together the show SLĀV at the Montreal Jazz Festival, notably because white
performers were dressed as slaves as they picked cotton.[240] After two initial performances, lead singer Betty
Bonifassi broke an ankle and the rest of the summer run was canceled, but later performances were nevertheless
scheduled in other venues.[241] The controversy prompted further protests about the play Kanata that Lepage
was to stage in Paris about the Canadian Indian residential school system – without resorting to any indigenous
actors.[242] The project was briefly put on hold when investors pulled out, but the production eventually resumed
as planned.[243]

In 2022, Netflix pulled episode 2 (https://www.youtube.com/watch?v=K5xZOOn5fYg) of the popular TV series
Les filles de Caleb (which takes place in the 19th century), because the main character, played by Roy Dupuis,
dons blackface makeup in order to act as magus Balthazar in a school Nativity play.[244]


Justin Trudeau blackface controversy
In 2019, Time published a photograph of the Prime Minister of Canada, Justin Trudeau, wearing brownface
makeup in the spring of 2001.[245] The photograph, which had not been previously reported, was taken at an
"Arabian Nights"-themed gala. The photograph showed Trudeau, wearing a turban and robes with his face, neck
and hands completely darkened. The photograph appeared in the 2000–2001 yearbook of the West Point Grey
Academy, where Trudeau was a teacher. A copy of the yearbook was obtained by Time earlier in the month from
Vancouver businessman Michael Adamson, who was part of the West Point Grey Academy community. Adamson
said that he first saw the photograph in July and felt it should be made public. On September 19, 2019, Global
News obtained and published a video from the early 1990s showing Trudeau in blackface.[246] The video showed
Trudeau covered in dark makeup and raising his hands in the air while laughing, sticking his tongue out and
making faces. The video showed his arms and legs covered in makeup as well as a banana in his pants, eliciting
strong negative reactions.[247] Trudeau admitted that he could not recall how many times he wore blackface after
additional footage surfaced.[248]


China
In May 2016, a global controversy broke regarding a television commercial for Qiaobi clothes washing fluid. The
commercial showed a pouch of cleaning liquid being forced into a black man's mouth before he is pushed into a
washing machine. He emerges later as an Asian man.[249]

On February 15, 2018, a comedy sketch titled "Same Joy, Same Happiness" intending to celebrate Chinese-
African ties on the CCTV New Year's Gala, which draws an audience of up to 800 million, showed a Chinese
actress in blackface makeup with a giant fake bottom playing an African mother, while a performer only exposing
black arms playing a monkey accompanied her. At the end of the skit, the actress shouted, "I love Chinese people!
I love China!" After being broadcast, the scene was widely criticized as being "disgusting", "awkward" and
"completely racist" on Twitter and Sina Weibo.[250][251] According to the street interviews by the Associated Press
in Beijing on February 16, some Chinese people believed this kind of criticism was overblown.[252] Chinese
Foreign Ministry spokesman Geng Shuang, who also watched the skit, said that China had consistently opposed
any form of racism, and added, "I want to say that if there are people who want to seize on an incident to
exaggerate matters, and sow discord in China's relations with African countries, this is a doomed futile effort" at a
daily news briefing on February 22, 2018.[253]




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In 2021 CCTV's New Year's Gala show once again featured performers in blackface wearing approximations of
African clothing. Like in 2018 it received criticism both within China and internationally. The Chinese foreign
ministry responded to criticism by saying that it was not an issue and that anyone saying otherwise must have
ulterior motives.[254]


Colombia
The television comedy Sábados Felices included a blackface character, who after a controversy changed his
makeup to look like a camouflaged soldier.[255][256]


Ecuador
In Ecuador, there's a traditional festival held in Latacunga called "La Mama
Negra" also known as La Santísima Tragedia in which a man in blackface
makeup portrays a black woman liberated from slavery holding her youngest
child.[257]


Finland
In Finland, a version of the Star boys' singing procession originating in the    The "Mama Negra" at the festival in
city of Oulu, a musical play known as Tiernapojat, has become established as     Latacunga, Ecuador
a cherished Christmas tradition nationwide. The Tiernapojat show is a staple
of Christmas festivities in schools, kindergartens, and elsewhere, and it is
broadcast every Christmas on radio and television. The Finnish version contains non-biblical elements such as
King Herod vanquishing the "king of the Moors", whose face in the play has traditionally been painted black. The
character's color of skin is also a theme in the procession's lyrics.[258]

The last installation of the Pekka and Pätkä comedy film series, Pekka ja Pätkä neekereinä (Pekka and Pätkä as
Negroes), was made in 1960. In the film a computer tells the title characters that a "negro" would be a suitable
profession for them. They blacken their faces and pretend to be American or African entertainers performing in a
night club, talking self-invented gibberish that is supposed to be English. The computer meant "negro" as a now
archaic term for a journalist, which originates from journalists' hands becoming tinted black with ink when
handling prints.[259][260] When Finland's national public broadcasting company Yle aired this film 2016, some
people on the social media disapproved of it and insisted that the film should have been censored, or at least the
name changed. A representative from Yle said that an old movie should be evaluated in the context of its own
time, and that the idea of the movie is to laugh at people being prejudiced. When the film series was aired in
2019, this particular film of the series was left unaired.[261][262]

Before the 1990s the word "neekeri" (negro) was generally considered a neutral, inoffensive word.[263]


Germany
Examples of theatrical productions include the many productions of the play Unschuld ("Innocence") by the
German writer Dea Loher. The play features two black African immigrants, but the use of black-face is not part of
the stage directions or instructions.[264] The staging of the play at the Deutsches Theater in Berlin in 2012 was
subject of protest.[265] The activist group "Bühnenwatch" (stage watch) performed a stunt in one of the stagings:
42 activists, posing as spectators, left the audience without a word and later distributed leaflets to the audience.
Fundamental of the criticism was that the use of black-face solidifies stereotypes regardless of any good
intentions and supports racist structures. The critics were invited to a discussion with the director, actors, theatre




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manager and other artists of the Deutsches Theater. As a result of the discussion, Deutsches Theater changed the
design of actor make-up. Ulrich Khuon, the theatre manager, later admitted to being surprised by the protest and
is now in a process of reflection.[266]

German productions of Herb Gardner's I'm Not Rappaport almost always cast the role of Midge Carter, the black
character, famously portrayed in the U.S. by Ossie Davis, with a white actor in black makeup. The 2012
production of the play at the Berlin Schlosspark-Theater was the subject of protest.[267][268] The director,
Thomas Schendel, in his response to critics, argued that the classical and common plays would not offer enough
roles that would justify a repertoire position for a black actor in a German theatre company. The protest grew
considerably and was followed by media reports. While advocates of the theatre indicated that in principle it
should be possible for any actor to play any character and that the play itself has an anti-racist message, the
critics noted that the letter unwittingly disclosed the general, unexpressed policy of German theatres, i.e., that
white actors are accounted to be qualified for all roles, even black ones, while black actors are suitable only for
black roles.[269] Other authors said that this problem in Germany generally exists for citizens with an immigrant
background.[270][271] The debate also received foreign media attention. The Schlosspark-Theater announced
plans to continue the performances, and the German publishing company of Rappaport stated it will continue to
grant permits for such performances.

German dramatists commented on the debate:

    Unfortunately, I do not believe that our society has come to accept a black Faust in the theatre.

        — Christian Tombeil, theater manager of Schauspiel Essen, 2012[272]

    We too have a problem to deal with issues of racism. We try to work it out by promoting tolerance, but
    tolerance is not a solution to racism. Why not? Because it does not matter whether our best friends are
    immigrants if, at the same time, we cannot cast a Black man for the part of Hamlet because then nobody
    could truly understand the "real" essence of that part. Issues of racism are primarily issues of
    representation, especially in the theatre.

        — René Pollesch, director, 2012[273]

In 2012, the American dramatist Bruce Norris cancelled a German production of his play Clybourne Park when it
was disclosed that a white actress would portray the African-American "Francine". A subsequent production
using black German actors was successfully staged.[274]


Guatemala
Guatemalan 2015 elected president, Jimmy Morales, was a comic actor. One of the characters he impersonated in
his comic show "Moralejas" was called Black Pitaya which used blackface makeup. Jimmy Morales defended his
blackface character saying he is adored by the country's black Garifuna and indigenous Mayan communities.[275]


Iran
Hajji Firuz is a character in Iranian folklore who appears in the streets by the beginning of the New Year festival
of Nowruz.[276] Additionally there is Siah-Bazi, a type of Persian theatre in Iran that involves a blackfaced
character.[277][278]




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Japan
In Japan, in the early 1960s, a toy called Dakkochan became hugely popular.
Dakkochan was a black child with large red lips and a grass skirt. There were boy and
girl dolls, with the girls being distinguished by a bow. The black skin of the dolls was
said to have been significant and in-line with the rising popularity of jazz. Novelist
Tensei Kawano went as far as to state, "We of the younger generation are outcasts from
politics and society. In a way we are like Negroes, who have a long record of oppression
and misunderstanding, and we feel akin to them."[279]

Some Japanese manga and anime have featured characters accused of being inspired by
"darky" iconography, which includes Mr. Popo from the Dragon Ball series and the
design of the Pokémon character Jynx. Both Mr. Popo and Jynx have been censored on
American broadcasting, with Mr. Popo being turned bright blue and given orange-
yellow lips instead.[280]

In Japanese hip hop, a subculture of hip-hoppers subscribe to the burapan style, and
are referred to as blackfacers.[281] The appearance of these blackfacers is evidence of the
popularity of the hip-hop movement in Japan despite what is described as racist             Hajji Firuz in Tehran,
                           [282]                                                            Iran
tendencies in the culture.       It was reported in 2006 that some Japanese hip-hop fans
found it embarrassing and ridiculous for fans to change their appearance with blackface
in attempt to embrace the culture. In some instances it could be seen as a racist act, but for many of the young
Japanese fans it was seen as an appropriate way of immersing in the hip hop culture.[283] The use of blackface is
seen by some as a way to rebel against the culture of surface images in Japan.[284]

Blackface has also been a contentious issue in the music scene outside of hip hop.[285] One Japanese R&B group,
the Gosperats, has been known to wear blackface makeup during performances.[286] In March 2015 a music
television program produced by the Fuji TV network was scheduled to show a segment featuring two Japanese
groups performing together in blackface, Rats & Star and Momoiro Clover Z. A picture was published online by
one of the Rats & Star members after the segment was recorded, which led to a campaign against broadcasting of
the segment. The program that aired on March 7 was edited by the network to remove the segment "after
considering the overall circumstances",[287] but the announcement did not acknowledge the campaign against
the segment.[288]


Mexico
In modern-day Mexico there are examples of images (usually caricatures) in blackface (e.g., Memín Pinguín).
Though there is backlash from international communities, Mexican society has not protested to have these
images changed to racially sensitive images. On the contrary, in the controversial Memín Pinguín cartoon there
has been support publicly and politically, such as from the Mexican Secretary of Foreign Affairs Luis Ernesto
Derbez.[289] Currently in Mexico only 3–4% of the population are Afro-Mexicans (this percentage includes Asian
Mexicans).


Panama
Portobelo's Carnival and Congo dance in Panama include a use of blackface as a form of celebration of African
history, an emancipatory symbol. Black men paint their faces with charcoal which represents three things. Firstly,
the blackface is used as a tool to remember their African ancestors. Secondly, the black face is representative of
the disguise or concealment on the run which slaves would have used to evade the Spanish colonizers. Lastly, the
practice of blackface is used as a way to signify the code or "secret language" which slaves would have used during



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the time of the Spanish occupation. During the celebration, for example, good morning will mean good night, and
wearing black, or in this case wearing blackface, which normally denotes a time of mourning, is instead used as a
way to represent a time of celebration.[290]


Philippines
In 2011, a television drama in the Philippines titled Nita Negrita was widely criticized in the media and by
academics.[291][292]


Portugal and Brazil
Use of black performance in impersonations was quite frequently used in the impressions show A Tua Cara não
Me É Estranha, with blackface impressions of Michael Jackson,[293][294] Siedah Garrett,[295] Tracy
Chapman,[296] Louie Armstrong,[297] Nat King Cole,[298] among others. In 2018, Eduardo Madeira dressed up as
Serena Williams,[299] adding an African accent the tennis player does not have in real life.

In Brazil, there has been at least some history of non-comedic use of blackface, using white actors for black
characters like Uncle Tom (although the practice of "racelift", or making black/mulatto characters into
mestiços/swarthy whites/caboclos, is more frequent than blackface).[300][301][302] Use of blackface in humor has
been used more rarely than in Portugal, although it also continues into this century (but it creates major uproar
among the sizeable and more politically active Afro-Brazilian community).[303]


Russia
Soviet Russian writers and illustrators sometimes inadvertently perpetuated stereotypes about other nations that
are now viewed as harmful. For example, a Soviet children's book or cartoon might innocently contain a
representation of black people that would be perceived as unquestionably offensive by the modern-day western
standards, such as bright red lips and other exaggerated features, similar to the portrayal of blacks in American
minstrel shows. Soviet artists "did not quite understand the harm of representing black people in this way, and
continued to employ this method, even in creative productions aimed specifically at critiquing American race
relations".[304]

In 1910, the ballet Sheherazade, choreographed by Michael Fokine, premiered in Russia. The story behind the
ballet was inspired by a tone poem written by Nicolai Rimsky-Korsakov. In the ballet the leading female
character, Zobeide, is seduced by a Golden Slave. The dancer who portrayed the Golden Slave, the first being
Vaslav Nijinsky, would have his face and body painted brown for the performance. This was done to show the
audience the slave was of a darker complexion. Later in 1912, Fokine choreographed the ballet Petrushka, which
centers around three puppets that come to life, Petrushka, the Ballerina, and the Moor. When the ballet
premiered, the part of the Moor, first danced by Alexander Orlov, was performed in full blackface. The Moor
puppet is first seen onstage playing with a coconut, which he attempts to open with his scimitar. His movements
are apelike. The Moor seduces the Ballerina and later savagely cuts off the head of the puppet Petrushka. When
Petrushka is performed today, the part of the Moor is still done in full blackface, or occasionally blueface. The
blackface has not been publicly criticized in the ballet community. Black and brownface appear in other ballets
today, such as La Bayadère and Othello, in the United States and Europe.[305]

The early Soviet political cartoon Black and White, created in 1932, managed to avoid the blackface style,
confronting "precisely that paternalistic model of the ever-passive black subject awaiting enlightenment from the
Comintern".[306] The cartoon integrated "an avant-garde-influenced visual aesthetic with images derived from
the many newspaper illustrations, cartoons, and posters of American racism that appeared in Soviet Russia at
this time".[306]


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Soviet theater and movie directors rarely had access to black actors, and so resorted to using black makeup when
dictated by the character's descent. Soviet actors portrayed black people mostly by darkening the skin and
occasionally adjusting the hair style, without accentuating or exaggerating their facial features. In particular,
Vladimir Vysotsky performed the role of Abram Petrovich Gannibal, an 18th-century Russian general of African
origin, in the 1976 Soviet film How Czar Peter the Great Married Off His Moor, while Larisa Dolina performed
the role of Cuban singer Clementine Fernandez in the 1983 film We Are from Jazz. The 1956 Soviet film
adaptation of Othello received the Best Director Award at the 1956 Cannes Film Festival.

On November 30, 2020, in a segment of the Russian TV show "International Sawmill", Russian television
presenter Tigran Keosayan interviewed an actress in blackface posing as former United States President Barack
Obama. In the segment, Keosayan, referring to Obama's book A Promised Land, asks the actress: "Do you
consider this book your achievement?", to which the actress in blackface replies: "Of course." Keosayan then asks:
"Because none of your relatives have written books?", after which the actress answers: "Because none of my
relatives that came before me could write." Keosayan then states "you should have become a rap musician, not
the president". The segment was widely deemed racist.[307][308]


Spain
On the eve of the Feast of the Epiphany, it is tradition in Spanish cities to hold
a colorful parade where three men are disguised as the Biblical Magi and
throw candy and presents to the children watching the parade. One of these
three men is usually in blackface to depict Balthazar, as such magus is often
depicted as a black African. Such a display in Madrid in 2014 led to
widespread discussions and to petitions calling for an end to the blackface
practice, and to have Balthazar portrayed by a person of color.[309][310]

                                                                                      A man wearing blackface to depict
South Africa                                                                          Balthazar during a parade in Cádiz.
Inspired by blackface minstrels who visited Cape Town, South Africa, in 1848,
former Javanese and Malay coolies took up the minstrel tradition, holding
emancipation celebrations which consisted of music, dancing and parades. Such celebrations eventually became
consolidated into an annual, year-end event called the "Coon Carnival" but now known as the Cape Town
Minstrel Carnival or the Kaapse Klopse.

Today, carnival minstrels are mostly Coloured ("mixed race"), Afrikaans-speaking revelers. Often in a pared-
down style of blackface which exaggerates only the lips. They parade down the streets of the city in colorful
costumes, in a celebration of Creole culture. Participants also pay homage to the carnival's African-American
roots, playing Negro spirituals and jazz featuring traditional Dixieland jazz instruments, including horns, banjos,
and tambourines.[311]

The South African actor and filmmaker Leon Schuster is well known for employing the blackface technique in his
filming to little or no controversy. But in 2013, the Advertising Standards Authority of South Africa halted the
airing of an ad wherein Schuster portrayed a stereotypically dishonest African politician in blackface.[312] The
action was in response to the following submitted complaint:

    ... the commercial is offensive as it portrays a stereotype that black politicians are liars. This technique is
    known as blackface, and is an inherently racist form of acting. The black character is depicted with
    derogatory intention, speaks with a thick accent, and recalls a stereotypical black dictator. To achieve
    the desired result of showing a corrupt official, there was no need for the man to be made out to be
    black.


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Vodacom South Africa has also been accused of using non-African actors in blackface in its advertising as
opposed to simply using African actors. Some have denounced blackface as an artefact of apartheid, accusing
broadcasters of lampooning Black people. Others continue to see it as "harmless fun".[313] In 2014, photos of two
white University of Pretoria female students donning blackface makeup in an attempt at caricaturing Black
domestic workers surfaced on Facebook. The students were said to face disciplinary action for throwing the
institution's name into disrepute.[314]


South Korea
Comedians in many Asian countries continue to occasionally use minstrel-inspired blackface, with considerable
frequency in South Korea.[315][316][317][318][319][320][321] "Acting black" has been a common phenomenon in South
Korean media for more than 30 years: in the 80s, comedians used to perform with darkened faces without
attracting criticism.[322] Although criticism has increased, use of blackface in Korean media was still occurring in
2018: a performer used blackface in a TV show, a play called "The Blacks" used blackface.[323] In 2020, The
Diplomat reported that backlash to pictures posted by students in which they posed in blackface for Halloween
was indicative of growing consciousness toward racism in the country.[324]


Taiwan
Taiwanese YouTube comedy group The Wackyboys came under fire after some of its members blackfaced for a
Dancing Pallbearers parody video. The group later apologised and deleted the video.[325]


Thailand
In Thailand, actors darken their faces to portray the Negrito of Thailand in a popular play by King Chulalongkorn
(1868–1910), Ngo Pa, which has been turned into a musical and a movie.[326]

Blackface have been used in commercials in Thailand, as with some other parts of Asia.[291] In 2012, The
Bangkok Post reported on a line of cleaning products in Thailand named "Black Man".[327]


Turkey
In Turkey, the actor Tevfik Gelenbe used blackface to portray Arab "mammy" characters throughout his career,
from the 1960s through to the 1980s.[328]


United Kingdom

Poachers and rioters
From 1723 to 1823, it was a criminal offence to blacken one's face in some circumstances, with a punishment of
death. The Black Act was passed at a time of economic downturn that led to heightened social tensions, and in
response to a series of raids by two groups of poachers who blackened their faces to prevent identification.[329]
Blackening one's face with soot, lampblack, boot polish or coal dust was a traditional form of disguise, or
masking, especially at night when poaching.

The Welsh Rebecca Rioters (1839–1843) used to blacken their faces or wear masks to prevent themselves being
identified whilst breaking down turnpike gates, sometimes disguised as women.




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Folk culture
South Western English traditional folk plays sometimes have a Turk Slaver character, probably from the Barbary
Coast Slave raids on Cornwall, Devon, Dorset and Somerset in the early 17th Century by "Sallee Rovers" (where
the English were the slaves captured and taken by force to North Africa). This character is usually played using a
black face (or brownface).

Throughout the country, the Turkish (Saracen) Knight character (probably harkening back to the crusades during
the Medieval era) in traditional English Mummers' plays was played in blackface (or brownface), though less
often in the modern era.[330]

Various forms of folk dance in England, including Morris dancing, have traditionally used blackface; its
continuing use by some troupes is controversial.[331][332][333] Some interpretations trace the original invention of
blackface back to specific morris traditions.

Molly dancers and Cornish Guise Dancers, traditionally associated with midwinter festivals, often use blacked
faces as a disguise. The Molly dancers wished to avoid being identified by the landlords and petty nobles, who
were also usually the local magistrates, when they played tricks on those who failed to be generous enough in
their gifts to the dancers. The Guise dancers (disguised dancers) also wished to avoid any punishment for their
mocking songs embarrassing the local gentry.[334]

Some traditional mummers groups perform the English folk play "St George and the Turkish Knight" with the
entire cast, including Father Christmas, and all the white, English characters in mummers' blackface.[335]

In Bacup, Lancashire, the Britannia Coconut Dancers wear black faces. Some believe the origin of this dance can
be traced back to the influx of Cornish miners to northern England, and the black face relates to the dirty
blackened faces associated with mining.

In Cornwall, several Mummer's Day celebrations are still held; these used to be sometimes known as "Darkie
Day" (a corruption of the original "Darking Day", referring to the darkening or painting of the faces) and involved
local residents dancing through the streets in blackface to musical accompaniment. As late as 2014, at least one
festival (Padstow) featured such songs as 'Old Uncle Ned', which includes the lyrics "He's gone where the good
niggers go".[336]

The traditional wedding day chimney sweep, that is considered to be good luck, sometimes has a partially blacked
up face to suggest smears of soot. This depends on the performer but it was, and still is, unusual to have a full
blackening. Though the complete covered "greyface" is known.[337]

These two traditions, of chimney sweep and folk dancing, coincide in the sometimes lost traditions of (chimney)
sweepers festivals. Medway Council supports the Sweeps' Festival, revived in 1981, now claimed to be "the largest
festival of Morris dance in the world". It takes place in Rochester around May Day and features a Jack in the
Green character. Originally the chimney sweeps were little boys, and they used the day to beg for money, until
this child labour was outlawed.[338]

On Guy Fawkes' Day 2017, participants in the Lewes Bonfire, the best known of the Sussex bonfire tradition,
decided to abandon black face paint in their depiction of Zulu warriors.[339]

On July 3, 2020, the Joint Morris Organisation announced that all three constituent bodies, representing the vast
majority of Morris Dancing in the United Kingdom, would be actively moving to eliminate the use of full-face
black makeup from their membership.[340]




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The Black and White Minstrel Show
The Black and White Minstrel Show was a British light entertainment show that ran for twenty years on BBC
prime-time television. Beginning in 1958, it was a variety show which presented traditional American minstrel
and country songs, as well as show tunes and music hall numbers, lavishly costumed. It was also a successful
stage show which ran for ten years from 1962 to 1972 at the Victoria Palace Theatre, London. This was followed
by tours of UK seaside resorts, together with Australia and New Zealand.

Due to its employment of artists wearing blackface, the show was seen by UK anti-racist groups such as the
Campaign Against Racial Discrimination, to be both racist and perpetuating ethnic stereotypes.



Legacy
Blackface minstrelsy was the conduit through which African-American and African-American-influenced music,
comedy, and dance first reached the white American mainstream.[24] It played a seminal role in the introduction
of African-American culture to world audiences.

    Though antebellum (minstrel) troupes were white, the form developed in a form of racial collaboration,
    illustrating the axiom that defined – and continues to define – American music as it developed over the
    next century and a half: African-American innovations metamorphose into American popular culture
    when white performers learn to mimic black ones.

        — Gary Giddins, jazz historian[341]

Many of country's earliest stars, such as Jimmie Rodgers and Bob Wills, were veterans of blackface
performance.[342][343][344] More recently, the American country music television show Hee Haw (1969–1993)
had the format and much of the content of a minstrel show, albeit without blackface.[345]

The immense popularity and profitability of blackface were testaments to the power, appeal, and commercial
viability of not only black music and dance, but also of black style. This led to cross-cultural collaborations, as
Giddins writes; but the often ruthless exploitation of African-American artistic genius, as well – by other, white
performers and composers; agents; promoters; publishers; and record company executives.[346][347][348][349][350]

While blackface in the literal sense has played only a minor role in entertainment in recent decades, various
writers see it as epitomizing an appropriation and imitation of black culture that continues today. As noted above,
Strausbaugh sees blackface as central to a longer tradition of "displaying Blackness".[15] "To this day," he writes,
"Whites admire, envy and seek to emulate such supposed innate qualities of Blackness as inherent musicality,
natural athleticism, the composure known as 'cool' and superior sexual endowment", a phenomenon he views as
part of the history of blackface.[15] For more than a century, when white performers have wanted to appear sexy
(like Elvis[351][352] or Mick Jagger),[353] or streetwise (like Eminem),[353][354] or hip (like Mezz Mezzrow),[355]
they often have turned to African-American performance styles, stage presence and personas.[356] Pop culture
referencing and cultural appropriation of African-American performance and stylistic traditions is a tradition
with origins in blackface minstrelsy.[346]

This "browning", à la Richard Rodriguez, of American and world popular culture began with blackface
minstrelsy.[346] It is a continuum of pervasive African-American influence which has many prominent
manifestations today, among them the ubiquity of the cool aesthetic[357][358] and hip hop culture.[359]




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See also
  Blackface and Morris dancing
  Border Morris
  Brownface
  Censored Eleven
  Coon song
  Wigger
  Little Black Sambo
  List of blackface minstrel songs
  List of blackface minstrel troupes
  List of entertainers known to have performed in blackface
  Negermusik
  Pinkface, non-gay actors playing gay characters
  Racebending
  Redface
  Stereotypes of Africa
  Stereotypes of African Americans
  Yellowface
  Whiteface
  Ralph Northam
  Jewface


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     act, regardless of the professor's intentions," said Chambers. "We need to acknowledge that as a
     community."... It is a violation of the university's cherished principles of academic freedom to punish Sheng
     for the choices he makes in the classroom. Screening a racially problematic film in an educational setting is
     neither a racist act nor an endorsement of racism. At this point, it is Sheng who is owed an apology from the
     broader university community for falsely maligning him. Imagine surviving the Cultural Revolution in
     communist China, only to reencounter it on an American university campus in 2021."
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Movies

 This article is more than 9 years old

Deride the lightning: assessing The Birth of
a Nation 100 years on
DW Griffith’s landmark film was one of the most influential
in early cinema, but as well as sophisticated cinematic
techniques it was also drenched in racism. In the week of its
centenary screening, Ashley Clark reassesses its standing




  The Birth of a Nation: ‘cinema’s toxic tide-pool, its corrupted semen’. Photograph: Hulton Archive/Getty
Images

Ashley Clark
Thu 5 Mar 2015 11.36 EST




D
          W Griffith’s The Birth of a Nation – which premiered in New York
          100 years ago this week – has a just reputation as one of cinema’s
          greatest problem pictures. Based on Thomas Dixon’s novel The
          Clansman, it chronicles the relationship of two families in Civil
War- and Reconstruction-era America over several years. It is undeniably a

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technically astounding achievement: critics have long praised its editing
techniques, shot composition and epic sense of scale, while its pioneering
aesthetic qualities are taught in schools and universities worldwide.

But – and it is a big but – The Birth of a Nation also happens to be an
egregiously racist piece of work. It is the key film that helped to calcify a set
of enduring negative stereotypes of black people on screen: from the
feckless, incompetent gadabout to the sexually ravenous buck obsessed with
debasing pristine white womanhood. It gleefully recasts the Reconstruction
period as a time of terror, with blacked-up white actors playing a barbaric
militia (supported by the conquering white northerners) preying on terrified
southern whites.

In one of its most infamous scenes, black men are depicted eating fried
chicken and swigging booze on the floor of the South Carolina state house.
The Ku Klux Klan, conversely, are portrayed as glorious heroes. In its galling
conclusion, the protagonists don hoods and lynch the blackface character
Gus after he has attempted to rape a white woman. The film’s technical
slickness and pulsating energy work in tandem with its repulsive ideology to
create a uniquely unsettling viewing experience.

                       As a telling signifier of cinema’s cultural impact, even in
its earliest days, The Birth of a Nation prompted a huge upsurge in Ku Klux
Klan membership; it was used as an effective recruitment tool up until the
1970s, when then-leader David Duke would screen it in meetings, and add
his own narration. It also boasts the dubious distinction of being the first-
ever film to be screened at the White House. President Woodrow Wilson –
who had a famously poor record on race – enthusiastically endorsed it. He is
quoted as saying of the film: “It is like writing history with lightning, and my
only regret is that it is all so terribly true.”

As well as having a negative impact on American race relations, The Birth of
a Nation also had a harmful effect on attempts to foster progressive images
of black people in cinema. Ron Magliozzi, co-curator of the revelatory
current MoMA exhibition 100 Years in Post-Production: Resurrecting a Lost
Landmark of Black Film History, argues that it was instrumental in keeping
the film at the heart of his exhibition – a sweet-natured, all-black-cast
romantic comedy from 1913 starring vaudevillian Bert Williams – from ever
being released.

“I believe Birth changed everything. The film [in our exhibition] was trying
to compete in the market of what comedy films looked like in the period, and

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to highlight how good the performances were,” he said. Instead, only the
films which featured Williams in stereotyped “coon” roles saw the light of
day. “The film they didn’t release wasn’t racist enough; the films they did
release [Fish and Natural Born Gambler, both in 1916] were,” he lamented.




   The Ku Klux Klan used the movie as a recruitment tool up until the 1970s. Photograph: Hulton
Archive/Getty Images

African Americans, however, were unprepared to take this assault on their
dignity lying down. The National Association for the Advancement of
Colored People, founded in 1909, attempted to mount a boycott of Griffith’s
film, albeit with limited success (they made little headway with white
exhibitors). Appeals to white conscience were soon replaced by demands for
censorship, although these too largely ran aground, save for a few minor cuts
made to prints screened in a handful of states. In a passionate letter dated 17
April 1915, the NAACP national secretary, Mary Childs Nerney, described the
organisation’s frustrated efforts to get local censors to remove particularly
objectionable scenes: “I am utterly disgusted with the situation in regard to
The Birth of a Nation … The harm it is doing the colored people cannot be
estimated.”

The most notable early protests came in Boston, and were largely down to
the efforts of one man: William Monroe Trotter, editor of the Boston
Guardian, and an activist once considered nearly as influential as Booker T
Washington and WEB Du Bois. Monroe had form: he once successfully
blocked a stage version of Dixon’s book from being performed, and he boldly

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led a charge against Birth in the form of editorials, speeches and rallies at
city hall.

According to Dick Lehr’s 2014 book The Birth of a Nation, Trotter arrived one
night at Boston’s Tremont Theatre with intentions to disrupt the screenings –
his presence prompted crowds outside to swell to 2,000 people. Monroe was
subsequently arrested. Unfortunately – and as is perennially the case when
outrage is attached to a cultural product – the noise effectively promoted the
work. “It is undoubtedly true that the agitation carried on by our
organization and individuals have helped to advertise Dixon’s wretched film
play,” read a June 1915 editorial in the African American newspaper Crisis.


Despite limited gains, the scale of the response ultimately extended beyond
America. “The protests spread to Canada, the Canal Zone, and would even
reach places like France,” says Cara Caddoo, author of Envisioning Freedom:
Cinema and the Building of Modern Black Life. “[The protests] were not just
a response of black Americans and black people from the diaspora to this
film, they also represented a movement toward reclaiming something that
they had been shut out of in the first place.” Here, Caddoo refers to the little-
known fact that long before the rise of Hollywood, black creatives including
the likes of Harry A Royston and William G Hynes had been producing their
own films independently.

These film-makers’ influence can be traced in the work of the most
prominent black director of the period: Illinois-born Oscar Micheaux, who
founded the Micheaux Film and Book Company of Sioux City, in Chicago.
His first project was a production of his own novel, The Homesteader, as a
feature in 1919. His follow-up, Within Our Gates (1920), was an impassioned
riposte to Griffith’s twisted vision. Within a slim running time of 79 minutes,
the film manages to sensitively tackle the hardships of blacks in Jim Crow-
era America; the promises and disappointments of black freedom; and the
emergence of the “New Negro” (a term coined by Harlem poet Alain Locke to
connote more confident, politically active black Americans).

Within Our Gates also portrays racially motivated white violence with an
appropriate level of horror. Yet, despite its nuanced view of black family life
and insightful take on race relations, Micheaux’s film – unlike Griffith’s – has
failed to establish itself as a core text on national syllabi, suggesting that
cinema pedagogy has prioritised aesthetic appreciation over tackling tricky
sociological issues. Availability may also be a factor: Within Our Gates was
considered a “lost” film until a copy was discovered in the Spanish Film
Archive in Madrid in 1990.
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   Spike Lee wrote and directed a 20-minute film called The Answer, about a rewrite of The Birth
of a Nation by a black screenwriter, while at NYU. Photograph: Lou Rocco/Getty Images


Hollywood’s depiction of African Americans in the decades following The
Birth of a Nation, despite some developments, can be fairly concisely boiled
down to the title of the classic book by historian Donald Bogle: Toms, Coons,
Mulattoes, Mammies and Bucks. Griffith’s film gnawed at a new generation
of film-makers, among them Spike Lee. For one of his first-year projects in
1980, Lee wrote and directed a 20-minute film called The Answer, about an
out-of-work black screenwriter who agrees to write a remake of The Birth of
a Nation.

The Answer incensed some NYU faculty members, who recommended Lee’s
expulsion from the programme. Lee was ultimately allowed to remain, but
the response of even the more supportive staff betrayed a level of discomfort
– a sense of irritation at a young artist contradicting the canon.

                     Eleanor Hamerow, former head of the department, told
the Guardian in 2009: “He was trying to solve a problem overnight – the
social problem with the blacks and the whites. He undertook to fix the great
film-maker who made that movie, DW Griffith.” Lee returned to The Birth of
a Nation in his minstrel satire Bamboozled (2000), including the courthouse
clip in a devastating closing montage.

Other film-makers have engaged critically with The Birth of a Nation. In
2004, Paul D Miller, also known as DJ Spooky, audio-visually remixed the
film as Rebirth of a Nation. Miller loops and splices its most offensive
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moments to create an hypnotic alternate version which challenges notions of
revisionist history and relates Griffith’s film to contemporary America. In
Justin Simien’s recent satire Dear White People, one of the central
characters, Sam (Tessa Thompson), takes a page from Spike Lee’s book and
screens her short film The Rebirth of a Nation. It features white people in
whiteface berating Barack Obama, and it frightens her classmates into
silence.

If The Birth of a Nation is as Xan Brooks described it – “cinema’s toxic tide-
pool, its corrupted semen” – then recent developments such as the release of
Selma (incidentally the most recent film to screen at the White House) are
helping to wipe up the mess. Yet stereotypes forged in the crucible of
Griffith’s film remain in play, and the Hollywood playing field is far from
level regarding diversity. Until such inequalities are erased, The Birth of a
Nation will remain a spiky, forbidding and disconcertingly compelling
obelisk planted squarely in the centre of the cultural landscape.




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How the Nazis Were Inspired by Jim
Crow
To craft legal discrimination, the Third Reich studied the United States.

BY: BECKY LITTLE
UPDATED: AUGUST 4, 2023 | ORIGINAL: AUGUST 16, 2017



In 1935, Nazi Germany passed two radically discriminatory pieces of legislation
inspired by American laws: the Reich Citizenship Law and the Law for the Protection
of German Blood and German Honor. Together, these were known as the Nuremberg
Laws, and they laid the legal groundwork for the persecution of Jewish people during
the Holocaust and World War II.

When the Nazis set out to legally disenfranchise and discriminate against Jewish
citizens, they weren’t just coming up with ideas out of thin air. They closely studied
the laws of another country. According to James Q. Whitman, author of Hitler’s
American Model, that country was the United States.

“America in the early 20th century was the leading racist jurisdiction in the world,”
says Whitman, who is a professor at Yale Law School. “Nazi lawyers, as a result, were
interested in, looked very closely at, [and] were ultimately influenced by American
race law.”


In particular, Nazis admired the Jim Crow-era laws that discriminated against Black
Americans and segregated them from white Americans, and they debated whether to
introduce similar segregation in Germany.

Yet they ultimately decided that it wouldn’t go far enough.
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“One of the most striking Nazi views was that Jim Crow was a suitable racist program
in the United States because American Blacks were already oppressed and poor,” he
says. “But then in Germany, by contrast, where the Jews (as the Nazis imagined it)
were rich and powerful, it was necessary to take more severe measures.”

Because of this, Nazis were more interested in how the U.S. had designated Native
Americans, Filipinos and other groups as non-citizens even though they lived in the
U.S. or its territories. These models influenced the citizenship portion of the
Nuremberg Laws, which stripped Jewish Germans of their citizenship and classified
them as “nationals.”

But a component of the Jim Crow era that Nazis did think they could translate into
Germany were anti-miscegenation laws, which prohibited interracial marriages in 30
of 48 states.

“America had, by a wide margin, the harshest law of this kind,” Whitman says. “In
particular, some of the state laws threatened severe criminal punishment for
interracial marriage. That was something radical Nazis were very eager to do in
Germany as well.”

The idea of banning Jewish and Aryan marriages presented the Nazis with a dilemma:
How would they tell who was Jewish and who was not? After all, race and ethnic
categories are socially constructed, and interracial relationships produce offspring
who don’t fall neatly into one box.

Again, the Nazis looked to America.

“Connected with these anti-miscegenation laws was a great deal of American
jurisprudence on how to classify who belonged to which race,” he says.

Controversial “one-drop” rules stipulated that anyone with any Black ancestry was
legally Black and could not marry a white person. Laws also defined what made a
person Asian or Native American, in order to prevent these groups from marrying
whites (notably, Virginia had a “Pocahontas Exception” for prominent white families
who claimed to be descended from Pocahontas).

The Nuremberg Laws, too, came up with a system of determining who belonged to
what group, allowing the Nazis to criminalize marriage and sex between Jewish and

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Aryan people. Rather than adopting a “one-drop rule,” the Nazis decreed that a Jewish
person was anyone who had three or more Jewish grandparents.

Which means, as Whitman notes, “that American racial classification law was much
harsher than anything the Nazis themselves were willing to introduce in Germany.”

It should come as no surprise then, that the Nazis weren’t uniformly condemned in
the U.S. before the country entered the war. In the early 1930s, American eugenicists
welcomed Nazi ideas about racial purity and republished their propaganda. American
aviator Charles Lindbergh accepted a swastika medal from the Nazi Party in 1938.

Once the United States entered the war, it took a decidedly anti-Nazi stance. But
Black American troops noticed the similarities between the two countries, and
confronted them head-on with a “Double V Campaign.” Its goal? Victory abroad
against the Axis powers—and victory at home against Jim Crow.




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